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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Vecinos para el Bienestar de la Comunidad )
Costera                                   )
                                          )
            Petitioner,                   )
                                          )               No. 23-1221
      v.                                  )
                                          )
Federal Energy Regulatory                 )
Commission,                               )
                                          )
            Respondent.                   )
                                          )
____________________________________)

                           PETITION FOR REVIEW

      Pursuant to Section 19(b) of the Natural Gas Act, 15 U.S.C. § 717r(b),

Federal Rule of Appellate Procedure 15, and Circuit Rule 15, Vecinos para el

Bienestar de la Comunidad Costera hereby petitions the United States Court of

Appeals for the District of Columbia Circuit for review of the following order of

the Federal Energy Regulatory Commission (“Commission”):

   1. Order on Remand and Amending Section 7 Certificate, Rio Grande LNG,

      LLC & Rio Bravo Pipeline Company, LLC, Docket Nos. CP16-454, CP16-

      455, CP20-481, 183 FERC ¶ 61,046 (Apr. 21, 2023).

A copy of the order is attached. This is the same order challenged in City of Port

Isabel v. FERC, Case No. 23-1174 (D.C. Cir.).
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      Petitioner was an intervenor in the Commission proceedings below.

Petitioner timely filed a request for rehearing of the Order on Remand, which was

denied by operation of law on June 22, 2023. Thus, this Court has jurisdiction to

review the Order on Remand pursuant to 15 U.S.C. § 717r(b).

      This petition for review is timely filed within 60 days of the Commission’s

denial of rehearing in accordance with 15 U.S.C. § 717r(b).

Dated: August 17, 2023

                                             Respectfully submitted,

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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Vecinos para el Bienestar de la Comunidad )
Costera                                   )
                                          )
            Petitioner,                   )
                                          )               No. _________
      v.                                  )
                                          )
Federal Energy Regulatory                 )
Commission,                               )
                                          )
            Respondent.                   )
                                          )
____________________________________)

                  PETITIONER’S RULE 26.1 STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioner makes the following disclosures:

      Vecinos para el Bienestar de la Comunidad Costera: Vecinos para el

Bienestar de la Comunidad Costera (“Vecinos”) has no parent companies, and

there are no parent companies that have a 10 percent or greater ownership interest

in Vecinos.
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      Vecinos, an association organized and existing under the laws of the State of

Texas, is an unincorporated nonprofit association dedicated to protecting and

improving the health, standard of living, and economic development of the coastal

community in the Rio Grande Valley of South Texas.

Dated: August 17, 2023

                                             Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify under penalty of perjury that on August 17, 2023, I served a

copy of the foregoing Petition for Review and Corporate Disclosure Statement by

email on the following parties, including all members of the service list in FERC

Docket Nos. CP16-454, CP16-455, and CP20-481.


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                                       183 FERC ¶ 61,046
                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

         Rio Grande LNG, LLC                                             Docket Nos. CP16-454-003
                                                                                     CP16-454-000
         Rio Bravo Pipeline Company, LLC                                             CP16-455-000
                                                                                     CP16-455-002
                                                                                     CP20-481-000

                   ORDER ON REMAND AND AMENDING SECTION 7 CERTIFICATE

                                               (Issued April 21, 2023)

                 The United States Court of Appeals for the District of Columbia Circuit (D.C.
         Circuit) has remanded1 the Commission’s orders authorizing construction and operation
         of Rio Grande LNG, LLC’s (Rio Grande) proposed liquified natural gas terminal project
         (Rio Grande LNG Terminal) and Rio Bravo Pipeline Company, LLC’s (Rio Bravo)
         proposed pipeline project (Rio Bravo Pipeline Project),2 directing the Commission to:
         (1) “explain whether 40 C.F.R. § 1502.21(c) calls for [the Commission] to apply the
         social cost of carbon protocol or some other analytical framework, as ‘generally accepted
         in the scientific community’ within the meaning of the regulation, and if not, why not”;3
         and (2) “explain why it chose to analyze the projects’ impacts only on [environmental
         justice] communities in census blocks within two miles of the project sites, or else
         analyze the projects’ impacts on [environmental justice] communities within a different


               1
                 Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
         (D.C. Cir. 2021) (Vecinos).
               2
                 Rio Grande LNG, LLC, 169 FERC ¶ 61,131 (2019) (Order Granting
         Authorizations under Sections 3 and 7 of the Natural Gas Act) (Authorization Order),
         order on reh’g, 170 FERC ¶ 61,046 (2020) (Rehearing Order). The D.C. Circuit also
         remanded, in the same opinion, the Commission’s order in Texas LNG Brownsville LLC,
         which the Commission addressed in a separate order issued concurrently. Texas LNG
         Brownsville LLC, 183 FERC ¶ 61,047 (2023).
               3
                   Vecinos, 6 F.4th at 1330.
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         Docket No. CP16-454-003, et al.                                                            -2-

         radius of each project site.”4 Further, the court directed the Commission to revisit its
         public interest determination under sections 3 and 7 of the Natural Gas Act (NGA).5

                Separately, on June 16, 2020, in Docket No. CP20-481-000, Rio Bravo filed an
         application pursuant to section 7(c) of the NGA6 and Part 157 of the Commission’s
         regulations7 to amend its certificate of public convenience and necessity issued in Order
         Granting Authorizations Under Sections 3 and 7 of the Natural Gas Act in Docket
         No. CP16-455-000, which authorized the construction and operation of the Rio Bravo
         Pipeline Project.8 As more fully described below, Rio Bravo proposes to reduce the
         number of authorized compressor stations from three to one, increase the horsepower at
         the remaining compressor station, eliminate certain measurement facilities, change the
         operating pressure of the pipelines and header system, and increase the diameter of one of
         two parallel pipelines (Amendment Project).

                This order first addresses and grants Rio Bravo’s proposed Amendment Project in
         Docket No. CP20-481-000, subject to certain conditions. Second, the order addresses the
         issues remanded to the Commission by the court in Vecinos. Specifically, on remand we
         supplement our environmental analysis of both the Rio Grande LNG Terminal and the
         Rio Bravo Pipeline Project, as amended, by: (1) addressing the argument regarding the
         social cost of carbon and 40 C.F.R. § 1502.21(c); and (2) updating our analysis of the
         projects’ environmental justice impacts consistent with the Commission’s current
         practice. We reaffirm that the Rio Grande LNG Terminal is not inconsistent with the
         public interest under NGA section 3, and the Rio Bravo Pipeline Project, as amended, is
         required by the public convenience and necessity under NGA section 7, as conditioned in
         the Authorization Order and as modified herein.

         I.     Background

               Rio Grande and Rio Bravo are Texas limited liability companies. Rio Grande is a
         wholly-owned subsidiary of NextDecade LNG, LLC, and Rio Bravo is a direct subsidiary
         of Spectra Energy Partners, LP (Spectra Energy), which is an indirect, wholly-owned


                4
                    Id. at 1331.
                5
                    Id. at 1331-32.
                6
                    15 U.S.C. § 717f(c).
                7
                    18 C.F.R. pt. 157 (2022).
                8
                Rio Bravo June 16, 2020 Application to Amend Certificate of Public
         Convenience and Necessity (Amendment Application).
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         Docket No. CP16-454-003, et al.                                                      -3-

         subsidiary of Enbridge Inc.9 Upon commencing operations of its Rio Bravo Pipeline
         Project, Rio Bravo will become a natural gas company within the meaning of section 2(6)
         of the NGA.10 As its operations will not be in interstate commerce, Rio Grande will not
         be a natural gas company as defined in section 2(6) of the NGA, although it will be
         subject to the Commission’s jurisdiction under NGA section 3.

               A.       2019 Authorization Order

                On November 22, 2019, the Commission authorized, under section 3 of the NGA,
         Rio Grande to construct and operate a new liquified natural gas (LNG) terminal designed
         to produce a nominal capacity of up to 27 million metric tonnes per annum (MTPA) of
         LNG for export (Authorization Order).11 The project facilities will occupy 750.4 acres of
         land on a 984.2-acre parcel on the northern embankment of the Brownsville Ship Channel
         in Cameron County, Texas12 and include five natural gas liquefaction trains, each with a
         nominal capacity of 5.4 MTPA;13 four full-containment LNG storage tanks, each with a

               9
                  At the time the Authorization Order issued granting Rio Bravo its requested
         certificate, Rio Bravo was a wholly-owned subsidiary of NextDecade LNG, LLC. On
         March 2, 2020, Spectra Energy acquired Rio Bravo.
               10
                    15 U.S.C. § 717a(6).
               11
                  Authorization Order, 169 FERC ¶ 61,131 at P 5. In August 2016, Rio Grande
         received authorization from the Department of Energy, Office of Fossil Energy (DOE) to
         export the project’s full capacity, which is equivalent to 1,318 billion cubic feet (Bcf)
         annually (approximately 3.6 Bcf per day (Bcf/d)) equivalent of natural gas in the form of
         LNG to countries with which the United States has a Free Trade Agreement (FTA).
         Rio Grande LNG, LLC, DOE/FE Docket No. 15-190-LNG, Order No. 3869 (2016).
         Assuming a gas density of 0.7 kg/m3, 3.6 Bcf/d is 26.1 MTPA, which is roughly
         equivalent to the authorized 27 MTPA. On February 10, 2020, DOE issued an order
         authorizing Rio Grande to export LNG to non-FTA nations, but with which the U.S. still
         permits such trade. Rio Grande LNG, LLC, DOE/FE Docket No. 15-190-LNG, Order
         No. 4492 (2020).
               12
                  The parcel is owned by the Brownsville Navigational District, a political
         subdivision of Texas that operates the Port of Brownsville. Rio Grande’s parent
         company, NextDecade, executed an Option to Lease the acreage from the Brownsville
         Navigational District. Authorization Order, 169 FERC ¶ 61,131 at P 7 n.12.
               13
                  On April 15, 2020, Rio Grande requested that the Commission approve a design
         change in its implementation plan for the Rio Grande LNG Terminal to reduce the
         Rio Grande LNG Terminal’s number of liquefaction trains from six to five and to
         optimize parts of the liquefaction design to increase the liquefaction capacity of the
         five remaining trains from 4.5 million metric tons per annum (MTPA) to 5.4 MTPA each,
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         net capacity of approximately 180,000 cubic meters (m³); two LNG carrier loading
         berths; one 1,500-foot-diameter turning basin; LNG truck loading and unloading facilities
         with four loading bays; two natural gas liquids truck loading bays; and other facilities
         such as administrative buildings, a central control building, a workshop, a warehouse,
         electrical equipment enclosures, a communication system, and other support structures.14

                The Authorization Order also issued a certificate of public convenience and
         necessity (certificate), under section 7 of the NGA, to Rio Bravo to construct and operate
         a new interstate natural gas pipeline system designed to provide up to 4.5 billion cubic
         feet per day (Bcf/d)15 of firm natural gas transportation capacity from several
         interconnects in the vicinity of the Agua Dulce Hub in Nueces County, Texas, to Rio
         Grande’s liquefied LNG export terminal on the Brownsville Ship Channel in Cameron
         County. As approved in the Authorization Order, the Rio Bravo Pipeline comprises: a
         2.4-mile-long header system, 135.5 miles of parallel 42-inch-diameter pipelines (referred
         to as Pipelines 1 and 2); three compressor stations; four metering sites along the header
         system; two interconnect booster compressor stations, each with a metering site; and
         other appurtenant facilities.16 The pipeline project will be constructed in two phases,17




         while keeping the total export capacity at 27 MTPA. The Commission granted that
         request, but we note that the 2019 authorization, as reviewed by the D.C. Circuit in
         Vecinos, authorized and considered the impacts associated with six natural gas
         liquefaction trains. See Rio Grande LNG, LLC, 174 FERC ¶ 61,048, at P 4 (2021)
         (rehearing order affirming design changes authorized by Commission staff’s August 13,
         2020 Letter Order).
               14
                 Authorization Order, 169 FERC ¶ 61,131 at PP 6-7. On November 17, 2021,
        Rio Grande filed an application pursuant to section 3 of the NGA to amend its
        authorization to incorporate carbon capture and sequestration (CCS) systems into the
        approved site and design of the terminal. Rio Grande LNG, LLC, Application for
        Limited Amendment to Section 3 Authorization, Docket No. CP22-17-000 (Nov. 17,
        2021). This application is pending before the Commission.
               15
                  4.5 Bcf/d is the equivalent of 4,500,000 dekatherms (Dth) per day assuming
         one Dth equals one Mcf of gas.
               16
                    Authorization Order, 169 FERC ¶ 61,131 at PP 1, 9.
               17
                  Pursuant to the Authorization Order, Rio Bravo’s project is required to be made
         available for service by November 22, 2026. Construction has not commenced for the
         pipeline project and Rio Bravo has not sought an extension of time.
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         with the in-service date of Phase 1 coinciding with the commencement of the Rio Grande
         LNG Terminal operations.18

                The Commission determined, based on the findings in the final Environmental
         Impact Statement (EIS) for the projects,19 that the projects’ direct and indirect impacts on
         environmental resources would be temporary or reduced to less-than-significant levels by
         the implementation of appropriate mitigation measures.20 As relevant to this proceeding,
         the Commission concluded that it could not determine the projects’ impacts on the
         environment caused by GHG emissions nor could it determine the significance of the
         projects’ contribution to climate change.21 The Commission also found that neither the
         construction nor operation of the projects would result in disproportionately high or
         adverse environmental and human health impacts on environmental justice
         communities.22 The Commission agreed with the conclusions presented in the final EIS
         and found that the projects, if constructed and operated as described in the final EIS, are
         environmentally acceptable actions.23

                B.       Rehearing Order

                On December 23, 2019, Sierra Club and eight other petitioners jointly (Sierra
         Club) sought rehearing of the Authorization Order. Sierra Club raised numerous
         concerns, including air quality impacts, environmental justice impacts, mitigation
         measures, greenhouse gas emissions, and the Commission’s public interest determination.
         Specifically, Sierra Club stated that the Commission violated NEPA by failing to take a

                18
                  On March 6, 2020, Commission staff issued a notice to proceed for limited site
         preparation activities for the Rio Grande LNG facilities. Additionally, on October 14,
         2022, in docket number CP16-454-004, the Commission granted Rio Grande a two-year
         extension of time, to November 22, 2028, to construct and make available for service the
         Rio Grande LNG Terminal. Rio Grande LNG, LLC, 181 FERC ¶ 61,032 (2022), order
         on reh’g, 182 FERC ¶ 61,027 (2023).
                19
                  The projects’ final EIS was issued on April 26, 2019. See Commission staff,
         Rio Grande LNG Project Final EIS, Docket Nos. CP16-454-000 and CP16-455-000
         (issued Apr. 26, 2019) (Final EIS).
                20
                     Authorization Order, 169 FERC ¶ 61,131 at P 22.
                21
                     Id. P 109. See also Final EIS at 4-479 – 4-482.
                22
                  Authorization Order, 169 FERC ¶ 61,131 at P 98. See also Final EIS
         at 4-233 – 4-238; 4-468 – 4-469.
                23
                     Authorization Order, 169 FERC ¶ 61,131 at P 133.
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         hard look at whether environmental justice communities will bear a disproportionate
         share of the negative environmental consequences from the projects.24 Sierra Club also
         asserted that the Commission’s conclusions regarding its inability to determine whether
         the projects’ GHG emissions and contribution to climate change were significant, and its
         reasoning as to why it would not use the social cost of carbon protocol to assess the
         impacts from the projects’ GHG emissions were arbitrary.25

                On January 23, 2020, the Commission denied rehearing. The Commission
         affirmed the Authorization Order’s decision to not calculate or apply the social cost of
         carbon protocol.26 The Commission concluded that the final EIS adequately identified
         and addressed impacts on environmental justice communities,27 and reaffirmed the
         conclusion from the final EIS and Authorization Order that there would not be any
         disproportionately high or adverse environmental and human health impacts on those
         communities.28 Subsequently, Sierra Club petitioned for review of the Authorization and
         Rehearing Orders in the D.C. Circuit.

               C.        The Court’s Remand Order

                On August 3, 2021, the D.C. Circuit remanded the Authorization and Rehearing
         Orders, holding that the Commission’s NEPA analyses of the projects’ impacts on
         climate change and environmental justice communities were deficient under the
         Administrative Procedure Act (APA), and thus, the Commission “must also revisit its
         determinations of public interest and convenience under Sections 3 and 7 of the NGA.”29
         Specifically, the court held that the Commission failed to address the petitioners’
         argument concerning the applicability of the Council on Environmental Quality’s (CEQ)
         regulations with respect to whether the social cost of carbon protocol is a “generally
         accepted” analytical tool for assessing the significance of GHG impacts, thereby

               24
                    Sierra Club Request for Rehearing and Stay at 5, 34.
               25
                    Id. at 6.
               26
                    Rehearing Order, 170 FERC ¶ 61,046 at P 103.
               27
                  The Rehearing Order stated that “Commission staff concluded that within the
         census block groups intersected by a two-mile radius around the pipeline facilities and
         LNG terminal site, the minority population percentages in 24 of the 25 affected tracts
         exceed the EPA’s categorical thresholds to be minority populations or low-income
         populations, or in most cases both.” Id. P 64.
               28
                    Id. P 98.
               29
                    Vecinos, 6 F.4th at 1331.
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         rendering the analysis of the projects’ GHG emissions deficient.30 The court directed the
         Commission on remand to: “explain whether 40 C.F.R. § 1502.21(c) calls for [the
         Commission] to apply the social cost of carbon protocol or some other analytical
         framework, as ‘generally accepted in the scientific community’ within the meaning of the
         regulation, and if not, why not.”31

                 The court also held that the Commission’s decision to limit its environmental
         justice analysis of the projects’ impacts to those affecting communities in census blocks
         within two miles of the project sites was arbitrary,32 given that the EIS determined that
         certain environmental effects of the projects would extend beyond that radius (e.g., the
         court noted that air quality impacts could occur within a radius of 31 miles).33 The court
         directed the Commission on remand to explain why it chose to analyze the projects’
         impacts only on communities within a two-mile radius, or, in the alternative, to analyze
         the projects’ impacts on communities within a different radius from each project site, and
         to determine whether the Commission’s environmental justice conclusion still holds.34

                Additionally, because the Commission’s analyses of the projects’ impacts on
         climate change and environmental justice communities were deficient, the court directed
         the Commission to revisit its public interest and public convenience and necessity
         determinations.35

               D.         2020 Rio Bravo Pipeline Amendment Project Proposal

              On June 16, 2020, in Docket No. CP20-481-000, Rio Bravo filed an application to
         amend the Rio Bravo Pipeline certificate to: (1) reduce the number of authorized

               30
                    Id. at 1329.
               31
                   Id. at 1329-30. 40 C.F.R. § 1502.21(c) (2022) provides that “[i]f . . .
         information relevant to reasonably foreseeable significant adverse impacts cannot be
         obtained because . . . the means to obtain it are not known, the agency shall include
         within the environmental impact statement . . . [t]he agency’s evaluation of such impacts
         based upon theoretical approaches or research methods generally accepted in the
         scientific community.” In its 2020 rulemaking, CEQ redesignated § 1502.22,
         “[i]ncomplete or unavailable information” as § 1502.21 in the final rule.
               32
                    Vecinos, 6 F.4th at 1331.
               33
                    Id. at 1330.
               34
                    Id. at 1331.
               35
                    Id.
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         compressor stations from three to one; (2) increase the horsepower at the remaining
         compressor station; (3) eliminate certain measurement facilities; (4) change the maximum
         allowable operating pressure of the pipelines and header system; and (5) increase the
         diameter of one of the two authorized parallel pipelines. Specifically, Rio Bravo
         proposes to:

                       increase the diameter of Pipeline 1 from 42-inches to 48-inches;

                       extend both Pipeline 1 and Pipeline 2 by 0.2 miles, increasing the length of
                        each pipeline from 135.5 miles to 135.7 miles;

                       increase the horsepower (hp) of Compressor Station 1 in Kleberg County,
                        Texas, from 180,000 hp to 282,000 hp by replacing the six 30,000-hp
                        natural gas turbine compressor units currently approved with
                        four 43,000-hp natural gas turbine compressor units and two 55,000-hp
                        electric-driven compressor units;

                       eliminate a meter station at Compressor Station 1;

                       eliminate the 180,000-hp Compressor Station 2, in Kenedy County, Texas,
                        including all related facilities;

                       eliminate the 180,000-hp Compressor Station 3 in Cameron County, Texas,
                        including all related facilities except the gas custody transfer meter and pig
                        receivers; and

                       eliminate the two interconnect booster stations, and related meter site, in
                        Kenedy County, Texas.

                 The proposed Amendment Project facility modifications described above will
         increase the capacity associated with Phase 1 (consisting of Pipeline 1, the header system,
         Compressor Station 1, and related aboveground facilities, including meter stations) from
         2.25 Bcf/d to 2.6 Bcf/d, and will decrease the capacity associated with Phase 2
         (consisting of Pipeline 2 and the remaining facilities) from 2.25 Bcf/d to 1.9 Bcf/d. The
         total design capacity of the project will remain 4.5 Bcf/d, as certificated in the
         Authorization Order.36 Rio Bravo also proposes to increase the maximum allowable
         operating pressure (MAOP) of each pipeline from 1,480 pounds per square inch gauge
         (psig) to 1,825 psig, and to decrease the header system’s MAOP from 1,480 psig to
         1,200 psig. Other than the 0.2-mile extensions,37 Rio Bravo does not propose in its
                36
                     Authorization Order, 169 FERC ¶ 61,131 at P 9.
                37
                 The 0.2-mile extensions of Pipelines 1 and 2 would be constructed within the
         boundary of the Rio Grande LNG Terminal in workspace formerly designated for
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        Amendment Project application any changes to the pipeline route approved in the
        Authorization Order.38

                  Rio Bravo also requests approval to revise the project rates and its pro forma tariff
         records to: (1) reflect an increase in the overall estimated cost of constructing the project
         facilities; (2) establish initial recourse rates for Phase 1 service; and (3) establish revised
         initial recourse rates for the entire project following the Phase 2 in-service date.39 In
         addition, in order to reflect the addition of electric-driven turbine compressor units at
         reconfigured Compressor Station 1, Rio Bravo proposes to apply initial electric power
         charges and an electric power charge tracker and true-up mechanism upon the in-service
         date of Phase 2. Rio Bravo further proposes to revise the fuel rate percentages to reflect
         the modified project design.

                Rio Bravo estimates that the total cost of the Rio Bravo Pipeline Project, as
         amended, is approximately $2.435 billion, an increase of approximately $260 million
         from its original cost estimate.

         II.    Rio Bravo Amendment Project

                A.     Procedural Issues: Notice, Interventions, and Comments

              On June 25, 2020, the Commission issued public notice of Rio Bravo’s
         amendment application, establishing a deadline of July 16, 2020, for filing interventions

        Compressor Station 3, which Rio Bravo now proposes to eliminate. Therefore, the
        proposed extension of the pipeline system would not impact new landowners or result in
        new resource impacts beyond those previously analyzed as part of the Authorization
        Order.
                38
                   As noted in the Rehearing Order, Rio Bravo is required by the October 2, 2019
        Biological Opinion issued by the U.S. Fish and Wildlife Service (FWS) to revise the
        pipeline route to reduce direct impacts to ocelot habitat. Rehearing Order, 170 FERC
        ¶ 61,046 at P 32. Specifically, Rio Bravo must re-route the pipelines between milepost
        (MP) 69.9 to MP 79.2, to avoid 62.6 acres of habitat. Accordingly, Rio Bravo is required
        to, prior to receiving authorization to commence construction of the pipeline project,
        submit for Commission approval either a variance request or an amendment, as
        appropriate, for the route realignment it agreed to with FWS. Rehearing Order,
        170 FERC ¶ 61,046 at P 32. Rio Bravo has not yet submitted a variance request or
        amendment application to address the Biological Opinion.
                39
                   Although the Authorization Order granted Rio Bravo’s proposal to construct and
         place its pipeline project into service in phases, phased rates were not initially proposed
         or considered.
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        and comments. Notice of the application was published in the Federal Register on
        July 1, 2020.40

                John Young; Mary Branch; Maria Galasso; Rio Grande LNG Gas Supply, LLC
         and Rio Grande; and Sierra Club, Vecinos para el Bienestar de la Comunidad Costera,
         Shrimpers and Fishermen of the RGV, the Carrizo Comecrudo Tribe of Texas, and Save
         RGV from LNG (collectively, Sierra Club) filed timely, unopposed motions to
         intervene.41

                Sierra Club protests the Amendment Project on several grounds: (1) that the
         Commission lacks jurisdiction to modify the Authorization Order because petitions for
         review of the Commission’s original authorization of the Rio Bravo Pipeline Project,
         together with the Rio Grande LNG Terminal, are pending before the D.C. Circuit;42
         (2) that Rio Bravo has not justified, nor addressed the environmental impacts of, its
         requests to increase the diameter of Pipeline 1 and to increase the MAOP of both
         pipelines;43 and (3) that the proposed design modifications “set the stage for” future
         expansions, the impacts of which must also be considered.44

                In response to the notice of application for the Amendment Project, we received
         numerous comments primarily addressing issues related to the Commission’s prior
         approval of the Rio Grande LNG Terminal and the Rio Bravo Pipeline Project, which are
         outside the scope of the amendment proceeding.45 Any comments that relate to the issues
         pending on remand are addressed below.



               40
                    85 Fed. Reg. 39,554 (July 1, 2020).
               41
                Timely, unopposed motions to intervene are granted by operation of Rule 214 of
         the Commission’s Rules of Practice and Procedure. 18 C.F.R. § 385.214(c)(1) (2022).
               42
                   Sierra Club July 16, 2020 Protest and Motion to Intervene at 9-10 (Sierra Club
         Protest). We note that this issue is now moot and, thus, will not be discussed further in
         this order, as the D.C. Circuit remanded the Authorization Order on August 3, 2021. See
         Vecinos, 6 F.4th 1321.
               43
                    Sierra Club Protest at 10-12.
               44
                    Id. at 12-13.
               45
                 For example, numerous commenters expressed general opposition to LNG
         development. Others questioned the environmental analysis or public interest and need
         determinations underlying the Commission’s prior approval of the projects in Docket
         Nos. CP16-454-000 and CP16-455-000. See also Commission staff December 21, 2020
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                Intervenors John Young, Mary Branch, and Maria Galasso generally take issue
         with Enbridge’s acquisition, through its subsidiary, of the Rio Bravo Pipeline Project
         from NextDecade.46 Enbridge’s subsidiary Spectra Energy acquired Rio Bravo in
         March 2020, three months prior to Rio Bravo’s filing of its Amendment Project
         application.47 The intervenors suggest this change in ownership warrants a full
         re-examination of the certificate of public convenience and necessity issued for the
         Rio Bravo Pipeline. We disagree. Here, there was no change to the certificate holder
         (Rio Bravo), who remains subject to the Commission’s jurisdiction and is responsible for
         all requirements of its certificate. A change to a certificate holder’s parent company is
         not germane to this proceeding nor would it cause us to reevaluate the Commission’s
         previous determination that authorizing the Rio Bravo Pipeline Project was in the public
         interest.48 Similarly, the same intervenors note that the Commission authorized the
         projects in the same order and assert that Rio Bravo’s ownership change should compel
         the Commission to reconsider and separately issue the project authorizations.49 We find
         no reason to do so. Though a single order addressed the LNG terminal and associated
         pipeline system, the two projects were assigned separate, unconsolidated dockets and
         received separate authorizations under the NGA (a section 7 certificate for the pipeline




         Environmental Assessment (Amendment Project EA) at 5-6 (tbl. 2) (identifying issues
         and comments outside scope of Amendment Project EA).
                46
               See, e.g., Maria Galasso July 16, 2020 Comments; John Young July 10, 2020
         Comments; Mary Branch July 9, and July 13, 2020 Comments.
                47
                     See supra note 9; Amendment Application at 6.
                48
                   See, e.g., Wyckoff Gas Storage Co. LLC, 127 FERC ¶ 61,107, at P 10 (2009)
         (finding, in part, that a company seeking an amendment of its certificate to authorize the
         transfer of passive ownership interest in certain facilities would not change any of the
         findings from the certificate order).
                49
               See Maria Galasso July 16, 2020 Comments; John Young July 10, 2020
         Comments; Mary Branch July 9, and July 13, 2020 Comments.
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        project50 and a section 3 authorization for the LNG terminal),51 each subject to a
        particularized set of mandatory conditions.52

                 On July 31, 2020, Rio Bravo submitted an answer responding to Sierra Club’s
         protest and various individuals’ comments.53 Specifically, Rio Bravo provided additional
         information regarding: (1) the scope of the Amendment Project proceeding, including
         future expansions; (2) the proposed pipeline modifications in relation to the analysis
         included in the final EIS, including safety and alternatives analyses; and (3) the
         Commission’s jurisdiction to act on the Amendment Project application. Although the
         Commission’s rules do not permit answers to protests,54 our rules provide that we may
         waive this provision for good cause.55 We will accept Rio Bravo’s answer here because
         it has provided information that assisted us in our decision making. The concerns raised
         by Sierra Club’s protest, Rio Bravo’s answer, and all substantive comments concerning
         the Amendment Project are addressed in Commission staff’s December 21, 2020
         Environmental Assessment (EA) and, as appropriate, below.

                 Sierra Club requested a trial-type hearing on Rio Bravo’s amendment
         application.56 Commission practice generally is not to hold an evidentiary, trial-type
         hearing where, as here, there are no material issues of fact in dispute that cannot be
         resolved on the basis of the written record.57 As demonstrated by the discussion in this
         order, the existing written record is extensive and provides a sufficient basis to resolve
         the issues and comments in this proceeding. The Commission has satisfied the hearing
         requirement by giving all interested parties a full and complete opportunity to participate


                50
                   John Young commented that FERC should ensure the public and interested
         parties are aware that the Amendment Project is a modification of the projects’ final EIS.
         This was explained in the Amendment Project EA.
                51
                     Authorization Order, 169 FERC ¶ 61,131 at ordering paras. (A), (C).
                52
                     Id. at app. (Environmental Conditions).
                53
                     Rio Bravo July 31, 2020 Answer (Rio Bravo Answer).
                54
                     18 C.F.R. § 385.213(a)(2) (2022).
                55
                     18 C.F.R. § 385.101(e) (2022).
                56
                     See Sierra Club July 16, 2020 Protest and Motion to Intervene at 13.
                57
                See, e.g., S. Union Gas Co. v. FERC, 840 F.2d 964, 970 (D.C. Cir. 1988);
         Dominion Transmission, Inc., 141 FERC ¶ 61,183, at P 15 (2012).
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        through evidentiary submission in written form.58 We therefore decline to grant the
        request for a trial-type hearing.

                B.       Pipeline Amendment Project Discussion

                Because the pipeline facilities will be used to transport natural gas in interstate
        commerce subject to the jurisdiction of the Commission, and relocating the approved
        facilities requires amending the certificate issued in the Authorization Order, Rio Bravo’s
        request is subject to the requirements of subsections (c) and (e) of section 7 of the
        NGA.59

                          1.     Certificate Policy Statement

                 The 1999 Certificate Policy Statement provides guidance for evaluating proposals
         to certificate new construction.60 The 1999 Certificate Policy Statement establishes
         criteria for determining whether there is a need for a proposed project and whether the
         proposed project will serve the public interest. It explains that, in deciding whether to
         authorize the construction of new pipeline facilities, the Commission balances the public
         benefits against the potential adverse consequences. The Commission’s goal is to
         appropriately consider the enhancement of competitive transportation alternatives, the
         possibility of overbuilding, subsidization by existing customers, the applicant’s
         responsibility for unsubscribed capacity, the avoidance of unnecessary disruptions of the
         environment, and the unneeded exercise of eminent domain in evaluating new pipeline
         construction.

                 Under this policy, the threshold requirement for applicants proposing new projects
         is that the applicant must be prepared to financially support the project without relying on
         subsidization from its existing customers. The next step is to determine whether the
         applicant has made efforts to eliminate or minimize any adverse effects the project might
         have on the applicant’s existing customers, existing pipelines in the market and their
         captive customers, and landowners and communities affected by the route of the new
         pipeline facilities. If residual adverse effects on these interest groups are identified after

                58
                     See Moreau v. FERC, 982 F.2d 556, 568 (D.C. Cir. 1993).
                59
                     15 U.S.C. § 717f(c), (e).
                60
                  Certification of New Interstate Nat. Gas Pipeline Facilities, 88 FERC ¶ 61,227
         (1999), clarified, 90 FERC ¶ 61,128, further clarified, 92 FERC ¶ 61,094 (2000)
         (1999 Certificate Policy Statement). On March 24, 2022, the Commission issued an
         order converting the policy statements issued in February 2022 to draft policy statements.
         See Certification of New Interstate Nat. Gas Facilities, 178 FERC ¶ 61,197 (2022)
         (Order on Draft Policy Statements).
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        efforts have been made to minimize them, the Commission will evaluate the project by
        balancing the evidence of public benefits to be achieved against the residual adverse
        effects. This is essentially an economic test. Only when the benefits outweigh the
        adverse effects on economic interests will the Commission proceed to complete the
        environmental analysis where other interests are considered.

               In the Authorization Order, the Commission applied the Certificate Policy
         Statement and found that the Rio Bravo Pipeline Project was required by the public
         convenience and necessity.61 Because Rio Bravo had no existing customers, the
         Commission found that there was no potential for subsidization by existing customers, or
         degradation of service to existing customers, as a result of the project.62 The proposed
         Amendment Project does not alter this finding.

                The Amendment Project proposes facility modifications that will improve the
         hydraulic efficiency of the Rio Bravo Pipeline Project. The modified project design will
         provide Rio Bravo additional flexibility in meeting the needs of its shipper, Rio Grande
         LNG Gas Supply LLC (formerly RioGas Marketing, LLC), for supplying natural gas to
         the Rio Grande LNG Terminal. No other pipelines, or their captive customers, have filed
         adverse comments regarding Rio Bravo’s proposal to amend the Rio Bravo Pipeline
         Project. Thus, we find that Rio Bravo’s proposed amendment will not adversely affect its
         other pipelines and their captive customers.

               We are satisfied that Rio Bravo has taken appropriate steps to minimize adverse
         impacts on landowners affected by the Amendment Project. The Amendment Project
         proposes to eliminate from the project’s original design two compressor stations and
         two booster stations. By decreasing the project’s aboveground footprint, the project
         modifications proposed here further reduce impacts to landowners and surrounding
         communities.

               Accordingly, we find that with the proposed amendment Rio Bravo will not have
         adverse economic impacts on existing shippers or other pipelines and their existing
         customers, and that the project’s benefits will continue to outweigh any adverse
         economic effects on landowners and surrounding communities. Therefore, we conclude




               61
                    Authorization Order, 169 FERC ¶ 61,131 at P 32.
               62
                    Id. P 29.
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        that the Amendment Project is consistent with the criteria set forth in the Certificate
        Policy Statement and analyze the environmental impacts of the proposal below.63

                           2.     Rates

                                 a.       Initial Recourse Rates

                 In the Authorization Order, the Commission approved Rio Bravo’s proposed
         initial maximum monthly reservation charge of $6.2927 per Dth for firm transportation
         service under Rate Schedule FTS and a usage charge of $0.2069 per Dth for interruptible
         transportation service and parking and loan service under Rate Schedules ITS and PALS,
         respectively.64 Due to the increased costs from the Amendment Project, Rio Bravo
         proposes to revise its initial rates and establish separate initial Phase 1 and Phase 2
         recourse reservation and usage charges for firm service under Rate Schedule FTS,
         interruptible service under Rate Schedule ITS, and park and loan service under Rate
         Schedule PALS. Rio Bravo states that its revised rates are designed on the same basis as
         the rates the Commission approved in the Authorization Order,65 including a capital
         structure of 50% debt and 50% equity, a cost of debt of 6.85%, a return on equity of 14%,
         and a depreciation rate of 2.50%.66

                Subsequently, in its August 20, 2020 response to a staff data request, Rio Bravo
         provided a revised cost of service and recalculated its proposed initial recourse rates for
         the Rio Bravo Pipeline Project, as amended, to correct its accumulated deferred income
         taxes calculation.67 We use those revised cost of service and rates for the purposes of
         establishing the initial recourse rates below.

                For Phase 1, Rio Bravo proposes a monthly reservation charge of $7.4290 per Dth
         and a usage charge of $0.0026 per Dth for service under Rate Schedule FTS. For service
         under Rate Schedules ITS and PALS, Rio Bravo proposes a rate of $0.2468 per Dth

                63
                 See Certificate Policy Statement, 88 FERC at 61,745-46 (explaining that only
         when the project benefits outweigh the adverse effects on the economic interests will the
         Commission then complete the environmental analysis).
                64
                  Authorization Order, 169 FERC ¶ 61,131 at P 38. The Authorization Order
         accepted the initial rates subject to Rio Bravo recalculating its initial recourse rates in its
         compliance filing consistent with a straight-fixed variable rate design.
                65
                     Amendment Application at 17.
                66
                     Id. Ex. P at 9.
                67
                     Rio Bravo August 20, 2020 Data Response.
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        based on a 100% load factor equivalent of the Rate Schedule FTS rate.68 The Phase 1
        rates are based on a cost of service of approximately $240 million and a design capacity
        of 32,313,600 Dth.69

                 For Phase 2, which includes the cost of the Phase 1 facilities, Rio Bravo proposes
         a monthly reservation charge of $7.5051 per Dth and a usage charge of $0.0021 per Dth
         for service under Rate Schedule FTS. For service under Rate Schedules ITS and PALS,
         Rio Bravo proposes a rate of $0.2489 per Dth based on a 100% load factor equivalent of
         the Rate Schedule FTS rate. The Phase 2 rates are based on a cost of service of
         approximately $413 million and a design capacity of 55,080,000 Dth.70 Once the Phase 2
         facilities are placed in service, Rio Bravo’s Phase 2 rates would become effective, and its
         Phase 1 rates would no longer apply.

                We have reviewed Rio Bravo’s proposed revised cost of service and initial rates
         and find that they are consistent with current Commission policy.

                                 b.      Fuel and Electric Power Cost Charge

                  In the Authorization Order, the Commission approved Rio Bravo’s proposed
         initial fuel retainage percentage of 3.00%.71 For Phase 1, Rio Bravo proposes to revise its
         initial system fuel retainage percentage to 1.11%, which reflects a lower estimated initial
         fuel retainage in light of the Amendment Project’s proposed design modifications.
         Following the in-service date of the Phase 2 facilities, Rio Bravo proposes a system fuel
         retainage percentage of 0.88%, which reflects the addition of two electric-driven
         compressor units for the additional 1.9 Bcf/d of capacity in Phase 2.

                Rio Bravo states it has revised section 23 of the General Terms and Conditions
         (GT&C) of its tariff to include an incremental Electric Power Cost (EPC) charge to
         recover costs associated with the two electric-driven compressor units, including
         reservation and usage charges for applicable services. Rio Bravo proposes an annual
         true-up mechanism to determine the EPC adjustment to the reservation and usage
         charges, and to reconcile the EPC charge against the electric power costs incurred by
         Rio Bravo, as further detailed in GT&C section 23. Effective as of the Phase 2 in-service
         date, Rio Bravo proposes a maximum EPC reservation charge of $0.2284 per Dth and a
         maximum EPC usage charge of $0.0072 per Dth for Rate Schedule FTS and a maximum

                68
                     Id. Ex. P at 1.
                69
                     Id.
                70
                     Id.
                71
                     Authorization Order, 169 FERC ¶ 61,131 at P 39.
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        EPC usage charge of $0.0147 per Dth for Rate Schedules ITS and PALS. Rio Bravo also
        proposes a minimum EPC charge of $0.0072 per Dth for Rate Schedules FTS, ITS, and
        PALS.72

                 We accept Rio Bravo’s revised initial system fuel retainage percentage and initial
         incremental EPC surcharges. In addition, while the Authorization Order directed
         Rio Bravo to file actual tariff records not less than 60 days prior to the commencement of
         interstate service, we revise that requirement and require Rio Bravo to file actual tariff
         records at least 30 days but not more than 60 days prior to the commencement of
         interstate service.

                                c.     Tariff

                As part of its Amendment Project application, Rio Bravo filed revisions to
         its pro forma open-access tariff applicable to services provided on its proposed
         pipeline. Rio Bravo proposes revisions to reflect its initial recourse rates for Phase 1 and
         2. Rio Bravo also proposes to establish initial EPC charges that will apply upon the
         in-service date of Phase 2 and an EPC charge tracker and true-up mechanism. We
         approve the revised pro forma tariff as consistent with Commission policies.

                                d.     Three Year Filing Requirement

                 As required by the Authorization Order,73 Rio Bravo must file a cost and revenue
         study no later than three months after its first three years of actual operations of the full
         project facilities (i.e., Phase 1 and Phase 2 facilities) to justify its existing cost-based firm
         and interruptible recourse rates.74 If, after two years from the in-service date of Phase 1,
         Rio Bravo has not begun construction of the Phase 2 facilities, Rio Bravo is directed to
         file the cost and revenue study three months after the first three years of actual operations
         of the Phase 1 facilities. Under either scenario, in that filing the projected units of service
         should be no lower than those upon which Rio Bravo’s approved initial rates are based.
         The filing must include a cost and revenue study in the form specified in section 154.313
         of the Commission’s regulations to update cost of service data.75 Rio Bravo’s cost and
         revenue study should be filed through the eTariff portal using a Type of Filing Code 580.

                72
                     Amendment Application, Ex. P at 1.
                73
                     Authorization Order, 169 FERC ¶ 61,131 at P 41.
                74
                   Fla. Se. Connection, LLC, 154 FERC ¶ 61,080, at P 139 (2016); Bison Pipeline,
         LLC, 131 FERC ¶ 61,013, at P 29 (2010); Ruby Pipeline, L.L.C., 128 FERC ¶ 61,224,
         at P 57 (2009); MarkWest Pioneer, L.L.C., 125 FERC ¶ 61,165, at P 34 (2008).
                75
                     18 C.F.R. § 154.313 (2022).
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        In addition, Rio Bravo is advised to include as part of the eFiling description a reference
        to Docket Nos. CP16-455-000 and CP20-481-000 and the cost and revenue study.76
        After reviewing the data, the Commission will determine whether to exercise its authority
        under NGA section 5 to investigate whether the rates remain just and reasonable. In the
        alternative, in lieu of that filing, Rio Bravo may make an NGA general section 4 rate
        filing to propose alternative rates to be effective no later than three years after the
        in-service date for its proposed facilities.

                         3.     Environmental Analysis

                 On July 27, 2020, the Commission issued a Notice of Intent to Prepare an
         Environmental Assessment for the Proposed Rio Bravo Pipeline Project Amendment, and
         Request for Comments on Environmental Issues (NOI). The NOI was published in the
         Federal Register77 and mailed to interested parties, including federal, state, and local
         officials; agency representatives; environmental and public interest groups; Native
         American tribes; local libraries and newspapers; and affected property owners. We
         received approximately 960 comment letters in response to the Notice of Application and
         during the scoping period from interested individuals and affected landowners; the City
         of South Padre Island; Texas Parks and Wildlife Department; U.S. Fish and Wildlife
         Service (FWS); U.S. Environmental Protection Agency, Region 6; Texas State Historic
         Preservation Office; as well as non-governmental groups including Sierra Club, Vecinos
         para el Bienestar de la Comunidad Costera, Shrimpers and Fishermen of the RGV,
         Carrizo Comecrudo Tribe of Texas, Save RGV (formerly Save RGV from LNG),
         Frontera Audubon Society, and Defenders of Wildlife.

                The primary issues raised during scoping included safety-related impacts from a
         larger diameter pipeline and increased pipeline pressure; wetland and wildlife impacts
         along the pipeline route; impact on Tribal lands; socioeconomic impacts; air quality
         impacts, greenhouse gas emissions and climate change; and systems alternatives. Several
         commenters asked the Commission to hold public meetings to engage the public on the
         scope of the pipeline project and allow residents to express their concern and comment
         about the Rio Bravo Pipeline Project.78 Public scoping meetings were not held given the
         limited scope of the Amendment Project. The interested members of the public and local
         non-governmental groups provided comments in response to the Notice of Application



               76
                    Electr. Tariff Filings, 130 FERC ¶ 61,047, at P 17 (2010).
               77
                    85 Fed. Reg. 46,616 (Aug. 3, 2020).
               78
                 See, e.g., Rebekah Hinojosa August 27, 2020 Comment; Molly Smith
         August 27, 2020 Comment; Jim Chapman August 2, 2020 Comment.
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        and the NOI that largely related to the previously authorized projects.79 The
        Environmental Assessment (EA) prepared for the Amendment Project and issued on
        December 21, 2020, correctly explained that the scope of Amendment Project is limited
        to the proposed modifications to the Rio Bravo Pipeline Project, the environmental
        impacts related to the already authorized projects are outside the scope of the
        environmental analysis for the proposed amendment.80

               The U.S. Army Corps of Engineers (Army Corps) participated as a cooperating
        agency in preparation of the EA because the project requires issuance of a dredge and fill
        permit from the Corps under section 404 of the Clean Water Act (CWA). The U.S.
        Department of Transportation’s Pipeline and Hazardous Materials Safety Administration
        (PHMSA) also participated as a cooperating agency due to its pipeline safety and design
        requirement expertise. The analysis in the EA addresses geology, soils, water resources,
        wetlands, vegetation, fisheries, wildlife, threatened and endangered species, land use,
        recreation, visual resources, cultural resources, air quality, noise, safety, socioeconomics,
        cumulative impacts, and alternatives. All substantive comments raised during the
        scoping process and applicable to the Amendment Project were addressed in the EA.

               The EA was issued for a 30-day comment period and placed into the public record
         on December 21, 2020. In response to the EA, we received nearly 400 comments


               79
                    See supra note 2.
               80
                    The environmental impacts of the already authorized projects were evaluated in
         the final EIS issued on April 26, 2019. The Commission will not consider arguments that
         relitigate the Authorization Order, including whether the Commission properly found the
         Rio Bravo Pipeline Project to be in the public convenience and necessity, except to the
         extent such arguments are within the scope of the remand proceeding. Concerns within
         the scope of the remand proceeding, including project impacts on environmental justice
         communities, are addressed below in Section III: Vecinos Remand Proceeding. Further,
         in addressing the Amendment Project, we will not consider arguments about whether the
         Commission properly analyzed the environmental impacts associated with the previously
         approved projects. Such excluded arguments raised by commenters include: wetland
         and upland vegetation loss; cumulative impacts of the projects; social cost, economic
         cost, environment, climate change impacts associated with LNG exports; impacts on
         ecotourism (fishing and birding) near the authorized Rio Grande LNG Terminal; visual
         resource, construction-related air quality, light, and noise impacts along the Rio Bravo
         Pipeline Project; environmental and health impacts on the shrimping and fishing
         industries at the end of the projects; environmental impacts of additional gas production
         facilitated by the pipeline and LNG facilities; and concerns related to SpaceX facility
         near the Rio Grande LNG Terminal. These are improper collateral attacks on the
         Authorization Order and need not be considered further.
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        primarily addressing issues related to our prior approval of the projects, which are outside
        the scope of the amendment proceeding. We also received comments on the EA from
        seven individuals,81 Sierra Club, and Healthy Gulf, raising environmental and procedural
        concerns associated with the Amendment Project. In addition, Rio Bravo filed clarifying
        comments on the EA,82 and responded to the public comments.83

                         4.     General NEPA Issues

                               a.     NEPA Regulations Followed

                Sierra Club contends that the EA fails to identify whether the environmental
        analysis was conducted according to the CEQ’s 2020 amended NEPA regulations.84
        Because Rio Bravo filed its Amendment Project application before CEQ’s regulations
        took effect on September 14, 2020, coupled with the fact that staff commenced its
        environmental review under NEPA before the effective date of CEQ’s new regulations,
        staff followed the 1978 CEQ regulations85 and the Commission’s regulations
        implementing NEPA.86

                               b.     Insufficient Comment Period and Request for Public
                                      Comment Sessions

                Maria Galasso, John Young, and other commenters requested that the comment
         period on the EA be extended, particularly in light of the comment period’s concurrent
         timing with certain federal holidays and the presidential inauguration, as well as the
         COVID pandemic. Several commenters also assert that the Commission should have




               81
                   Mary Branch filed three separate comments on January 20, 2021. Hereinafter,
         they are referred to as Mary Branch EA Comments 1, Mary Branch EA Comments 2, and
         Mary Branch EA Comments 3.
               82
                    Rio Bravo January 21, 2021 EA Comments.
               83
                 Rio Bravo February 4, 2021 Response to EA Comments; Rio Bravo April 27,
         2021 Response to Request for Supplemental EA/EIS (Rio Bravo April 27 Comments).
               84
                    Sierra Club January 21, 2021 EA Comments at 1 (Sierra Club EA Comments).
               85
                 Accordingly, when referencing CEQ’s regulations, this order includes citations
         to CEQ’s regulations as they existed before CEQ’s new regulations took effect.
               86
                    18 C.F.R. pt. 380 (2022).
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        held public comment sessions to further enable impacted communities and landowners to
        comment on the Amendment Project.87

                 The EA was issued with a 30-day comment period. Nevertheless, as is our
         practice, we address all comments received on the EA, including late-filed comments,
         that raise issues within the scope of this proceeding.

                              c.     Scope of Environmental Review

                                     i.    Request for Full or Supplemental EIS

                Sierra Club and other commenters contend that the Commission is required to
         prepare an EIS, rather than an EA, for the Amendment Project.88 Instead of assessing
         whether the incremental impact of Rio Bravo’s proposed amendment will be significant,
         Sierra Club asserts that the scope of the Amendment Project’s environmental review
         should address the impacts of the Rio Bravo Pipeline Project as a whole.89 Sierra Club
         suggests that the Amendment Project constitutes significant new information and that the
         Commission must reexamine and supplement the final EIS.90 Sierra Club states that it
         disagrees with the final EIS’s conclusions regarding the Rio Bravo Pipeline Project’s
         impact on wetlands and points to the suspension of the projects’ “section 404/10 permit,”
         a permit issued by the Army Corps pursuant to section 404 of the CWA and section 10 of
         the Rivers and Harbors Act (Corps permit).91 Sierra Club notes that a modified permit
         may require further mitigation of the wetland impacts associated with the Rio Bravo
         Pipeline Project.

                The final EIS fully analyzed the environmental impacts of the Rio Grande LNG
         Terminal and the original Rio Bravo Pipeline Project. As noted above, the EA correctly
         explained that the scope of Amendment Project is limited to the proposed modifications

               87
                   See, e.g., Healthy Gulf January 21, 2021 Comments at 3, 5 (Healthy Gulf EA
         Comments); January 21, 2021 Comments submitted on behalf of 293 individuals. Many
         of the form letters submitted between January 21 and February 24, 2021 included similar
         requests.
               88
                    See Sierra Club EA Comments at 2.
               89
                    Id.
               90
                    Id.
               91
                See Sierra Club EA Comments at 2; see also Commission Staff November 5,
         2020 Memorandum (appending Army Corps’ August 6, 2020 Notice of Suspension of the
         Army Permit SWG-2015-00114).
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        to the Rio Bravo Pipeline Project.92 Because the Commission already considered the
        impacts of the project as a whole in issuing the Authorization Order, it was appropriate
        for staff to limit the analysis in the EA to only those aspects of the Rio Bravo Pipeline
        Project that would be changed by the Amendment Project.

                As to wetland impacts, the EA explained that the Amendment Project would not
         permanently affect any additional wetlands, beyond the impacts described in the final
         EIS.93 Nevertheless, as detailed in the EA, the proposed diameter increase of Pipeline 1
         could result in additional temporary impacts of the wetlands crossed by the project due to
         the increased trench depth.94 Rio Bravo and Rio Grande filed with the Army Corps a
         request to suspend the projects’ section 404 permit, followed by a subsequent request for
         a permit modification to account for, among other things, the reduction of wetlands
         impacts within the Rio Grande LNG Terminal that would result from the elimination of
         Compressor Station 3.95 As stated in both the Authorization Order and the EA,
         Rio Bravo will not be permitted to begin construction until it has obtained all necessary
         federal permits, including a valid section 404 permit.96 In fact, on September 22, 2021,
         Rio Bravo received its updated Army Corps section 404 permit;97 thus, the requirements
         under the CWA have been satisfied for the terminal, pipeline, and amendment.98
         Rio Bravo must comply with any additional mitigation or stipulations imposed by this or
         any future modified section 404 permit issued by the Army Corps. Accordingly, the EA
         concluded, and we agree, that any additional impacts on wetlands resulting from the
         Amendment Project would not be significant.99

               Section 102(2)(C) of NEPA requires federal agencies to prepare a detailed
         statement for “major federal actions significantly affecting the quality of the human




                92
                     Amendment Project EA at 2-3.
                93
                     Id. at 14.
                94
                     Id.
                95
                     Id.
                96
                     Id. at 15.
                97
                     See Rio Grande September 27, 2021 Filing.
                98
                     See Rio Bravo June 1, 2022 Filing at Attachment 2-1.
                99
                     Id.
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        environment.”100 Here, the EA analyzed the Amendment Project’s environmental effects
        and concluded that they would not be significant.101 Sierra Club has provided no
        substantial evidence to the contrary. Thus, preparation of an EIS is not required.102

                                      ii.       Future Expansion of LNG Terminal

                 Sierra Club asserts that the Commission must address potential future expansions
         at the Rio Grande LNG Terminal, including the addition of a sixth liquefaction train.103
         To support this claim, Sierra Club states that Rio Grande has discussed this possibility in
         corporate presentations and filings to the U.S. Securities and Exchange Commission.104
         Sierra Club argues that the Commission cannot authorize the Amendment Project without
         first addressing how Rio Grande and Rio Bravo will supply feed gas for a hypothetical
         sixth liquefaction train.105

                As an initial matter, Sierra Club’s assertions regarding a hypothetical future
         expansion of the Rio Grande LNG Terminal are outside the scope of this proceeding,
         which is limited to the proposed design modifications to the authorized, but
         unconstructed, Rio Bravo Pipeline Project. In any event, Rio Grande has not proposed to
         produce more than the authorized 27 million metric tons of LNG per year, the amount
         authorized for export by the U.S. Department of Energy’s Office of Fossil Energy (DOE).
         The Commission has explained, and Rio Grande has acknowledged, that any expansion
         of export capacity at the Rio Grande LNG Terminal would require Rio Grande to seek
         and receive additional authorization from DOE, the Commission, and other applicable
         federal and state agencies.106 Any incremental environmental impacts related to a future
         request for authorization to expand the LNG terminal’s export capacity would be




                100
                      42 U.S.C. § 4332(2)(C).
                101
                      Amendment Project EA at 50.
                102
                   See 18 C.F.R. § 380.6 (2022) (describing actions that normally require
         preparation of an EIS).
                103
                      Sierra Club EA Comments at 3.
                104
                      Id.
                105
                      Id.
                106
                      Rehearing Order, 170 FERC ¶ 61,046 at P 27.
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        analyzed at that time.107 Because no such request is proposed, nothing further is required
        here.108

                            5.   Aquatic Resources

                Molly Smith takes issue with the EA’s conclusion that the Amendment Project’s
         proposal to increase the diameter of Pipeline 1, requiring an eight-foot-deep ditch rather
         than a seven-foot ditch, would not change the impacts on soil, groundwater, and
         wetlands.109 In particular, Ms. Smith asserts that the EA erred in concluding that aquatic
         resources would not be impacted by the proposed deeper trench.

                As indicated in the EA, the final EIS described the existing aquatic resources, as
         well as the impacts and mitigation of the Rio Bravo pipeline system.110 The Amendment
         Project does not impact any waterbodies not previously considered in final EIS.111
         Therefore, the EA concluded, and we agree, that Rio Bravo’s proposed amendment
         would not impact aquatic resources.112 To the extent there are any additional impacts to
         aquatic resources as a result of the one-foot deeper trench, they are expected to be minor
         and would be mitigated by Rio Bravo’s implementation of the measures in its 404 permit
         and 401 water quality certification. Moreover, the mitigation measures for resource
         impacts, including soils and groundwater, identified in the final EIS113 and subsequently
         adopted as required conditions of the Commission’s authorization for these projects,
         would apply to the Amendment Project. We find that these mitigation measures will

                107
                 Id. (collecting examples where additional environmental analysis preceded
         Commission action authorizing increased LNG production capacity).
                108
                   NEPA “does not require agencies to commence NEPA reviews of projects not
         actually proposed.” Del. Riverkeeper Network v. FERC, 753 F.3d 1304, 1318 (D.C. Cir.
         2014) (citation omitted); see also Weinberger v. Catholic Action of Haw., 454 U.S. 139,
         146 (1981) (“an EIS need not be prepared simply because a project is contemplated, but
         only when the project is proposed”) (emphasis in the original).
                109
                      Molly Smith January 20, 2021 Comments.
                110
                      Amendment Project EA at 15; see also Final EIS at § 4.6.2.
                111
                      Amendment Project EA at 15.
                112
                      Id.
                113
                   Id. Mitigation measures include crossing all waterbodies with perceptible flow
         between November 1 and January 31, unless further approval by Texas Parks and
         Wildlife Department. Final EIS at 4-118.
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        ensure that the aquatic, soils, and groundwater resources impacted by the Rio Bravo
        Pipeline Project will be adequately protected.

                         6.     Threatened and Endangered Species

                Various commenters, pointing to the FWS’s November 9, 2020 listing of the
         eastern black rail as federally threatened, requested that the Amendment Project’s
         impacts on this species be disclosed and suggested that further consultation with the FWS
         was needed.114

                 The final EIS for the projects discussed the eastern black rail, which at the time
         was proposed for listing as threatened, and provided a detailed analysis of the project’s
         effects on this species.115 By letter filed January 26, 2021, the FWS concurred with
         Commission staff’s determination that the projects may affect but are not likely to
         adversely affect the eastern black rail.116 Given the Amendment Project would not result
         in additional ground-disturbing activities, vegetation removal, or otherwise impact listed
         species or their habitats beyond what was described for the Rio Bravo Pipeline Project,
         Commission staff determined there would be no effect on the eastern black rail as a result
         of the implementation of the Amendment Project.117 Moreover, by letter filed August 24,
         2020, the FWS determined that no amendment to the October 1, 2019 Biological Opinion
         for the Rio Bravo Pipeline Project was required based on the proposed Amendment
         Project.118 This completes our consultation requirements for federally listed species
         under the Endangered Species Act.

                         7.     Pipeline Safety

                 Molly Smith comments that the EA did not adequately address the pipeline’s
         proximity to human activity, stating that the pipeline will pass under the heavily
         trafficked Highway 48 in the vicinity of Zapata Memorial Boat Ramp, a popular fishing




               114
                See, e.g., John Young January 21, 2021 Comments at 6; Mary Branch EA
         Comments 2; Save RGV January 20, 2021 Comments at 2.
               115
                     See Final EIS at 4-143 to 4-145.
               116
                   FWS, Comments, Docket Nos. CP16-454-000 and CP16-455-000 (filed
         Jan. 26, 2021).
               117
                     See Amendment Project EA at 16-17.
               118
                     FWS August 24, 2020 Comments at 2.
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        area.119 Ms. Smith also states that the EA failed to consider the increased corrosive
        nature of saltwater compared to freshwater.

                The EA appropriately examined the safety implications of the Amendment Project
         and thoroughly described the federal regulatory program that oversees pipeline safety and
         design.120 As noted above, PHMSA participated as a cooperating agency in the
         preparation of the EA for the Amendment Project due to the agency’s pipeline safety and
         design expertise. PHMSA administers the national regulatory program to ensure the safe
         transportation of natural gas and other hazardous materials by pipeline,121 including
         pipelines that traverse coastal, salt marsh, and other more caustic regions and those
         within the vicinity of populated areas. As further described in the EA, PHMSA defines
         area classifications based on population density in the vicinity of the pipeline; class
         locations that represent more populated areas require higher safety factors in pipeline
         design, testing, and operation.122 Rio Bravo completed additional analysis for the
         Amendment Project, which confirmed that the entire pipeline system would be located
         within Class 1 locations,123 the least populated area classification. Pipelines 1 and 2
         would be designed for an MAOP of 1,825 psig and tested to a minimum of 2,293 psig for
         Class 1 locations.124 If the Class 1 designation changes, Rio Bravo would test the
         pipelines to ensure they conform to the higher pressure standards required for any Class 2
         and 3 locations along the route.125 Thus, we find that the EA adequately addressed these
         concerns.




               119
                     Molly Smith January 20, 2021 Comments.
               120
                     See Amendment Project EA at 31-41.
               121
                     Id. at 31.
               122
                     Id. at 33-34.
               123
                 PHMSA defines Class 1 as a location with 10 or fewer building intended for
         human occupancy. Id. at 33.
               124
                     Id. at 34.
               125
                   Id. In more populated areas, block valve location, pipe wall thickness and
         pipeline design pressures, hydrostatic test pressures, MAOP, inspection and testing of
         welds, and frequency of pipeline patrols and leak surveys must conform to higher
         standards. Id.
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                           8.   GHG Emissions

                The EA analyzed potential GHG emissions attributable due to the Amendment
         Project. With respect to GHG emissions from the construction associated with the
         Amendment Project, the EA concluded that the increase in the diameter of pipeline 1
         would not result in additional construction emissions beyond the emission detailed in
         final EIS.126 Construction emissions for the modified Compressor Station 1 are estimated
         to remain unchanged from the estimates presented in the final EIS, while construction
         emissions associated with Compressor Stations 2 and 3 and Booster Stations 1 and 2
         would be avoided as the Amendment Project would eliminate these facilities.127

                 With respect to the operational emissions associated with pipelines,128 the EA
         noted that although the Amendment Project would slightly increase the length of the
         pipelines,129 the emissions estimate from pipeline operation would remain the same as
         detailed in the final EIS.130 The originally estimated operational GHG emissions
         attributable to Compressor Stations 2 and 3 (761,764 and 552 tpy of carbon dioxide
         equivalents [CO2e], respectively)131 would be avoided because those stations would not
         be built. The GHG emissions associated with operation of the modified Compressor
         Station 1132 are marginally less than the GHG emissions reported for the station as

               126
                     Amendment Project EA at 25.
               127
                     Id.
               128
                  Fugitive emissions in the form of minor leaks from flanges, valves, and
         connectors could occur along the length of the pipeline route during operation.
               129
                    The 0.2-mile-extension of each pipeline from 135.5 miles to 135.7 miles
         represents a 0.15% increase in length. This proportional increase is well within the
         margin of error for the construction emissions presented in the EA. Additionally,
         Compressor Stations 2 and 3, Booster Stations 1 and 2, and associated meter stations,
         authorized in the Authorization Order, are eliminated as part of the Amendment Project;
         therefore, emissions estimated in the final EIS to result from construction of these
         facilities will no longer occur.
               130
                     Amendment Project EA at 26.
               131
                    See Final EIS at 4-275, tbl. 4.11.1-16 (table of emissions from Compressor
         Station 2) and 4-263, tbl. 4.11.1-7 (table of emissions from Compressor Station 3).
               132
                   Compressor Station 1 as originally authorized would have contained
         six 30,000-hp natural gas-driven turbines, two natural gas-fired backup generators, and
         other ancillary facilities. The modified Compressor Station 1 proposed in the
         Amendment Project would consist of four 43,000-hp natural gas-driven turbines,
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        originally authorized.133 Overall, there would be a net reduction in the GHG emissions
        associated with the Rio Bravo Pipeline Project as a result of the Amendment Project,
        which reduction is attributable to the elimination of Compressor Stations 2 and 3, where
        the emissions associated with the construction and operation of the facilities being
        modified by the Amendment Project, i.e., Pipeline 1 and Compressor Station 1, remain
        the same.134

                           9.     Cumulative Impacts

                 Healthy Gulf takes issue with the scope of the Amendment Project EA’s
         cumulative impacts analysis, stating that the EA should address the impacts from both the
         Rio Bravo Pipeline Project and the Rio Grande LNG Terminal.135 Specifically, Healthy
         Gulf asserts that the cumulative impacts analysis for the Amendment Project did not
         include emissions from modified Compressor Station 1.136 Healthy Gulf also suggests
         that the Commission must complete a programmatic EIS “to take into account the
         cumulative effects of all fossil gas, fossil fuel and petrochemical facilities in operation
         and in planning, that will affect the communities and the environment” of the region in
         which the Amendment Project is proposed.137


        two 55,000-hp electric motor-driven compressor units, one natural gas-driven fuel heater,
        and two natural gas-fired backup generators, and other ancillary facilities. The station as
        modified would have approximately the same amount of horsepower from natural-gas
        driven compressor units. Electric motor-driven compressors would not have any
        associated emissions and, thus, are not a source of GHG emissions.
                133
                  Amendment Project EA at 27, tbl. 5 (reporting 760,402 tons per year of CO2e)
         as compared to Final EIS at 4-275, tbl. 4.11.1-16 (reporting 761,764 tons per year of
         CO2e).
                134
                  The EA at page 46 states that: “construction and operation of the Project
        Amendment [facilities] would increase the atmospheric concentration of GHGs.” That
        statement addressed the potential climate impacts from the GHG emissions associated
        with the construction and operation of the relevant pipeline segments and Compressor
        Station 1 on a stand-alone basis. It did not consider the net effect on GHG emissions of
        the Amendment Project as compared to the authorized project (i.e., the fact that the
        Amendment Project eliminated emitting facilities).
                135
                      See Healthy Gulf EA Comments at 1-3.
                136
                      Id. at 2.
                137
                      Id. at 1.
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                The scope of the cumulative impacts analysis is focused on the air quality impacts
         of the Amendment Project when added to other past, present, and reasonably foreseeable
         future actions,138 and the EA’s cumulative impacts analysis did consider the proposed
         modifications to Compressor Station 1. The EA assessed the air emissions associated
         with both construction and operation of modified Compressor Station 1 in combination
         with any past, present, and reasonably foreseeable future projects in the geographic scope
         of emissions for modified Compressor Station 1.139 The EA concluded that only
         one known project—the City of Alice’s trench burner project—could be constructed
         concurrently with modified Compressor Station 1, but given the intermittent and
         short-term nature of construction, that project would have a minor cumulative air
         emissions impact when considered with proposed modified Compressor Station 1.140 As
         to operational emissions, the EA determined that although concurrent operation of
         modified Compressor Station 1 and the other projects identified in the geographic scope
         could result in a cumulative increase in combustion and fugitive emissions, concurrent
         operations are not expected to result in an exceedance of the National Ambient Air
         Quality Standards (NAAQS) for those emissions.141

                Contrary to Healthy Gulf’s assertion, the Commission is not required to complete
         a programmatic EIS “to take into account the cumulative effects of all fossil gas, fossil
         fuel and petrochemical facilities in operation and in planning, that will affect the
         communities and the environment” in the vicinity of the Amendment Project.142 As the
         Supreme Court held in Kleppe v. Sierra Club,143 a programmatic EIS is not required to
         evaluate the regional development of a resource by private industry if the development is



                138
                    See id.; Amendment Project EA at 42 (explaining that cumulative impacts
         related to resource areas other than air quality were not evaluated due to there being no
         additional impacts—or, in many cases, fewer impacts—associated with the Amendment
         Project when compared to the impacts analyzed in the final EIS).
                139
                    See Amendment Project EA at 42-44. The EA applied a resource-specific
         geographic boundary for air quality of 0.5 mile of the proposed modified Compressor
         Station 1 for construction-related cumulative impacts and within 31 miles (or
         50 kilometers) of the modified station for operation-related cumulative impacts. Id. at 42.
                140
                      Id. at 44.
                141
                      Id.
                142
                      Healthy Gulf EA Comments at 1.
                143
                      427 U.S. 390 (1976).
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        not part of, or responsive to, a federal plan or program in that region.144 We have
        explained that there is no Commission plan, policy, or program for the development of
        natural gas infrastructure.145 Rather, the Commission acts on individual applications filed
        by entities proposing to construct interstate natural gas pipelines.146 While the
        Commission’s practice is to consider each natural gas infrastructure project application
        on its own merits, we may, however, choose to prepare a multi-project environmental
        document regarding projects that are closely related in time or geography, where that is
        the most efficient way to review project proposals,147 and the Commission’s NEPA
        documents do consider the cumulative impacts of other jurisdictional and
        non-jurisdictional projects in the same geographic and temporal scope as the proposal
        under consideration. The final EIS for the projects included a comprehensive cumulative
        impacts assessment of all past, present, and reasonably foreseeable actions in the area of
        the projects.148

                 In the Amendment Project EA, Commission staff determined that Rio Bravo’s
         proposal would not result in additional resource impacts beyond what was described in
         the final EIS for the underlying authorization, with the exception of air quality impacts
         due to modified Compressor Station 1.149 Therefore, the Amendment Project EA’s
         cumulative impacts analysis was appropriately limited in scope to cumulative impacts on
         local and/or regional air quality.150 Additionally, we find that we do not need to do a
         programmatic EIS.




               144
                     Id. at 401-02.
               145
                 See, e.g., Tex. E. Transmission, LP, 149 FERC ¶ 61,259, at PP 38-47 (2014);
         Dominion Transmission, Inc., 152 FERC ¶ 61,138, at P 30 (2015).
               146
                     E.g., Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042, at P 281 (2017).
               147
                   See 40 C.F.R. § 1508.25 (2022); see also, e.g., EA for the Monroe to Cornwell
         Project and the Utica Access Project, Docket Nos. CP15-7-000 & CP15-87-000 (issued
         Aug. 19, 2015); Final Multi-Project Environmental Impact Statement for Hydropower
         Licenses: Susquehanna River Hydroelectric Projects, Project Nos. 1888-030, 2355-018,
         and 405-106 (issued Mar. 11, 2015).
               148
                     Final EIS at 4-392 to 4-495.
               149
                     See Amendment Project EA at 41.
               150
                     See id. at 41-44.
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                          10.    Alternatives

                 In its comments on the EA, Sierra Club asserts that the Commission must consider
         as a viable alternative the possibility that some of the natural gas needed at the
         Rio Grande LNG Terminal could be supplied by the Valley Crossing Pipeline, an existing
         intrastate pipeline owned by Valley Crossing Pipeline, LLC, an Enbridge affiliate.151
         Sierra Club also faults the EA for not discussing a higher capacity single pipeline
         alternative in combination with available capacity on the Valley Crossing Pipeline.152
         Specifically, Sierra Club claims that some combination of increasing the throughput of a
         single 48-inch-diameter pipeline (beyond the Amendment Project’s proposed 2.6 Bcf/d
         capacity for Pipeline 1) and supplemental gas deliveries from the Valley Crossing
         Pipeline could provide the necessary feed gas to the Rio Grande LNG Terminal.153

                In addition, on March 25, 2021, Sierra Club filed a request for supplemental
         environmental analysis exploring whether and how the cancellation of the Annova LNG
         Brownsville Project (Annova Project) impacts the feasibility of a single-pipeline
         alternative to the Rio Bravo Pipeline Project.154 The cancellation of the Annova Project,
         Sierra Club argues, frees up capacity on the Valley Crossing Pipeline that could be used
         to transport gas for use at the Rio Grande LNG Terminal.155 Sierra Club concedes that

               151
                     Sierra Club EA Comments at 4-5.
               152
                     Id. at 6.
               153
                     See id. To the extent Sierra Club suggests that the Commission has not
         demonstrated a need for the Rio Bravo Pipeline Project’s original proposal—i.e., the
         delivery of 4.5 Bcf/d of natural gas to the Rio Grande LNG Terminal—this argument is
         an improper collateral attack on the Authorization Order and need not be considered
         further. See Sierra Club EA Comments at 4. The Commission previously confirmed that
         the Rio Bravo Pipeline Project did not “represent an overbuild,” evaluated its adequacy,
         reliability, safety, and environmental impacts, and considered alternatives that would
         achieve the original proposal’s purpose of delivering 4.5 Bcf/d of natural gas to the
         Rio Grande LNG Terminal. See Rehearing Order, 170 FERC ¶ 61,046 at PP 25-26.
               154
                   Sierra Club March 25, 2021 Request for Supplemental EA/EIS at 1 (citing
         Annova LNG Common Infrastructure, LLC (Annova), Request to Vacate Section 3
         Authorization, Docket No. CP16-480-000 (filed March 22, 2021)) (Sierra Club March 25
         Comments). On April 15, 2021, the Commission issued an order vacating the NGA
         section 3 authorization granted to Annova on November 22, 2019, in Docket
         No. CP16-480-000. Annova LNG Common Infrastructure, LLC, 175 FERC ¶ 61,030
         (2021).
               155
                 The amount of additional capacity is disputed. Sierra Club argues that the
         Annova Project cancellation frees up 1.2 Bcf/d of capacity on the Valley Crossing
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        modifications to the Valley Crossing Pipeline, such as installing additional compression,
        would have been necessary to provide Annova with the firm transportation service it had
        contracted for, but argues that such modifications would result in significantly less
        impact than construction of a second Rio Bravo pipeline.156 Sierra Club again claims that
        the remaining quantity of gas needed to meet the Rio Grande LNG Terminal’s needs
        could be delivered by a single Rio Bravo pipeline, rather than a dual pipeline system.157
        Essentially, Sierra Club suggests that the Annova Project’s cancellation and the
        possibility of available capacity on the Valley Crossing Pipeline constitute “significant
        new circumstances or information relevant to environmental concerns and bearing on the
        proposed action” that require supplemental analysis under NEPA.158

                 For a number of reasons, Rio Bravo disputes Sierra Club’s suggestion that
         supplemental NEPA analysis is required, and asserts that, even if “significant new
         circumstances or information” were present, the potential future expansion of the Valley
         Crossing Pipeline is not a reasonable alternative that would merit further analysis.159
         Specifically, Rio Bravo argues that: (1) its proposed action remains unchanged and
         Sierra Club has failed to identify any new impacts that have not already been
         addressed;160 (2) Sierra Club’s suggested alternative is not reasonable as it fails to meet
         the Amendment Project’s purpose of providing Rio Bravo with additional operational
         flexibility in meeting the requirements of the project shipper;161 and (3) the alternative is


         Pipeline, pointing to a statement in the Commission’s authorization order that states that
         the “Annova LNG Brownsville Project will receive . . . up to 1.2 [Bcf/d] of natural gas
         from the existing intrastate system of Valley Crossing Pipeline, LLC.” Sierra Club
         March 25 Comments at 1-2 (citing Annova Common Infrastructure, LLC, 169 FERC
         ¶ 61,132, at P 9 (2019)). Rio Bravo challenges Sierra Club’s estimate of Annova’s
         contracted volume on the Valley Crossing Pipeline, asserting instead that the now
         cancelled project was designed to receive 0.9 Bcf/d of feed gas from the Valley Crossing
         Pipeline. See Rio Bravo April 27 Comments at 5.
                156
                      Sierra Club March 25 Comments at 1-2.
                157
                      See id. at 2.
                158
                      Id. at 2 (citing 40 C.F.R. § 1502.9(c)(1)(ii) (2019); id. § 1502.9(d)(1)(ii)
         (2020)).
                159
                      See generally Rio Bravo April 27 Comments.
                160
                      See id. at 2-4.
                161
                      See id. at 4-6.
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        further not reasonable because it is infeasible,162 impractical,163 and relies on the
        speculative actions of third parties.164

                John Young also requested that the Commission provide an alternatives analysis
         that compares several pipeline route alternatives in terms of public health and safety and
         impacts;165 and Mary Branch requested that the Commission consider alternative
         pathways to avoid 95.2% environmental justice communities cited in Rio Bravo’s
         documentation.166

                 We find that the EA properly considered alternatives to the Amendment Project.
         The applicant’s statement of purpose and need informs the choice of alternatives.167 As
         stated in the EA, the purpose of the Amendment Project is “to provide flexibility and
         efficiency in satisfying the requirements of the natural gas shipper supplying natural gas
         to the Rio Grande LNG Terminal.”168 The EA examined three alternatives to the
         Amendment Project: (1) a no-action alternative; (2) a system alternative using the Valley

                162
                  See id. at 7-9 (describing engineering and design considerations that would be
         impaired by eliminating the second Rio Bravo pipeline in favor of capacity on the Valley
         Crossing Pipeline).
                163
                    See id. at 9-10 (describing timing and cost considerations, such as the need for
         Valley Crossing Pipeline to design and build a second pipeline and the need for Rio
         Bravo to redesign and add compression to its own pipeline system to accommodate a
         significant increase in capacity on a single pipeline, that would “render the alternative
         logistically impractical”).
                164
                      See id. at 11-13.
                165
                      John Young October 20, 2022 Comments at 5.
                166
                      Mary Branch October 21, 2022 Comments at 1.
                167
                   CEQ advises that “a reasonable range of alternatives depends on the nature of
         the proposal and the facts in each case.” CEQ, Forty Most Asked Questions Concerning
         CEQ’s National Environmental Policy Act Regulations, 46 Fed. Reg. 18,026, 18,027
         (1981). An agency need only consider alternatives that will bring about the ends of the
         proposed action, and the evaluation is “shaped by the application at issue and by the
         function that the agency plays in the decisional process.” Citizens Against Burlington,
         Inc. v. Busey, 938 F.2d 190, 195, 199 (D.C. Cir. 1991). Courts have upheld agencies’ use
         of applicants’ project purpose and need as the basis for evaluating alternatives. See, e.g.,
         City of Grapevine, Tex. v. Dept. of Transp., 17 F.3d 1502, 1506 (D.C. Cir. 1994).
                168
                      Amendment Project EA at 2.
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        Crossing Pipeline; and (3) a single 60-inch-diameter pipeline.169 The EA stated that
        under the no-action alternative, the environmental impacts associated with the Rio Bravo
        Pipeline Project would still occur because at that time, Rio Bravo had received
        authorization for the project as originally designed, pursuant to the terms and conditions
        of the Authorization Order.170 Because the no-action alternative would not meet the
        Amendment Project’s objectives and would result in greater environmental impacts,
        Commission staff did not recommend it.171 The EA also concluded that a single
        60-inch-diameter pipeline, an alternative previously considered in the final EIS, remained
        infeasible due to safety and constructability issues, as well as operational inferiorities.172

               John Young’s and Mary Branch’s request to consider alternative routes in terms of
        public health and safety impacts and avoidance of environmental justice communities,
        appears directed at the entire length of the authorized pipelines. We find their comments
        to be outside the scope of this proceeding because, with respect to the route of the dual
        pipeline, the Amendment Project only involves 0.2-mile extension of the pipelines to
        interconnect the pipelines with the LNG Terminal,173 all within the already approved
        footprint of the LNG Terminal.

                With respect to the configuration of the already approved dual pipeline, the
        Amendment Project is limited in scope as it only involves a 6-inch diameter increase for
        Pipeline 1, and a 0.2-mile extension and operating pressure change for Pipeline 1 and
        Pipeline 2; however, commenters propose the Valley Crossing Pipeline as a system
        alternative. As discussed in the EA, the Valley Crossing Pipeline is an intrastate pipeline
        that is fully subscribed by end users in Mexico.174 The pipeline system would have had




                169
                      Id. at 48-49.
                170
                      Id. at 48.
                171
                      Id.
                172
                  Id. at 49 (dismissing this alternative in part because a single pipeline, unlike
         Rio Bravo’s dual pipeline system, could require shutting down or limiting gas delivery
         during maintenance and inspection activities).
                173
                   The pipeline originally would have interconnected and ended at the
         Compressor Station 3, which was sited entirely within the footprint of the approved LNG
         terminal. See id. at 9.
                174
                      Id. at 49.
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        to been expanded to accommodate service to the Annova Project.175 There is no evidence
        that, given the cancellation of the Annova Project, there has been any expansion of that
        system resulting in available firm capacity. Thus, as explained in the EA, any
        transportation service that could be obtained on the Valley Crossing Pipeline to supply
        the Rio Grande LNG Terminal would be on an interruptible basis only.176 Additionally,
        there is no evidence that Valley Crossing Pipeline, LLC, an entity not subject to our
        jurisdiction, is either willing or able to modify its facilities in a way that would create
        enough additional firm capacity to eliminate the need for Rio Bravo’s Pipeline 2.
        Therefore, we agree with the EA’s conclusion that the Valley Crossing Pipeline is not a
        feasible alternative to the Amendment Project.177

                As we have previously explained, the Commission does not independently design
         systems for pipeline companies; rather, the Commission ensures that any proposed
         project it approves is or will be required by the public convenience and necessity.178
         Sierra Club has not shown that the cancellation of an unrelated LNG terminal constitutes
         “substantial changes in the proposed action that are relevant to environmental concerns”
         or “significant new circumstances or information relevant to environmental concerns and
         bearing on the proposed action or its impacts” that merit supplemental analysis under
         NEPA.179

                           11.   Environmental Justice

                With respect to the proposed Amendment Project, the EA explains that the project
         involves elimination and modifications to the facilities authorized under the Rio Bravo
         Pipeline Project.180 Sierra Club and Mr. John Young requested that the Commission
         consider the impacts of the proposed modifications at Compressor Station 1 on minority




               175
                   See Rio Bravo April 27 Comments at 11-12 (explaining that, prior to project
         cancellation, Annova had a contract with the Valley Crossing Pipeline “that would have
         been made available only through future expansions of that pipeline.”).
               176
                     Amendment Project EA at 49.
               177
                     Id.
               178
                     Rehearing Order, 170 FERC 61,046 at P 25.
               179
                     40 C.F.R. § 1502.9(c)(1).
               180
                     Amendment Project EA at 19.
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        and low-income populations. Impacts on environmental justice communities within a
        50-kilometer radius around Compressor Station 1 are discussed below.181

                 Staff finds that there would be no substantial change to wetlands, surface water,
         tourism, recreational and subsistence fishing, visual, socioeconomics, traffic, air quality,
         or noise impacts on environmental justice communities associated with the project
         modifications from the Amendment Project, as compared to the original previously
         authorized Rio Bravo Pipeline Project. Additionally, environmental justice concerns are
         not present for Amendment Project facilities for other resource areas such as geology,
         soils, groundwater, fisheries, wildlife, or cultural impacts due to the de minimis impact
         the project would have on these resources.

                 Commission staff provides an updated analysis of impacts on environmental
         justice communities in conjunction with its supplemental environmental review of the
         Rio Bravo Pipeline Project on remand from the court. As detailed below, for the Rio
         Bravo Pipeline Project, as amended, Commission staff identified 106 environmental
         justice community block groups impacted by the pipeline project facilities,182 and
         concluded that impacts from construction and operation of Meter Station HS4 and Meter
         Station at the LNG Terminal, Contractor Yards 1, 2, and 3, and a majority of the
         135-mile-long pipelines, would be disproportionately high and adverse, as impacts would
         be predominately borne by environmental justice communities, but that impacts from
         these facilities would be less than significant.183 Staff concludes that impacts from
         construction and operation of Compressor Station 1 would not be disproportionately high
         and adverse as impacts would not be predominately borne by environmental justice
         communities; additionally, impacts from Compressor Station 1 would be less than
         significant.184 We agree.


                181
                      See infra P 165.
                182
                   See infra PP 165-168, 179. Fourteen environmental justice community block
         groups will be crossed by the pipeline; 87 environmental justice communities are within a
         50-kilometer radius of Compressor Station 1; one environmental justice community block
         group is within a one-mile radius of a new meter station; one meter station is located
         within an environmental justice community; and each of the three
         contractor yards are located within an environmental justice community.
                183
                      See infra P 206.
               184
                   See infra P 173. Operations emissions associated with Compressor Station 1
         would not cause an exceedance of the NAAQS. In addition, the radius of impact for
         Compressor Station 1 is approximately 0.6 mile (1 kilometer) for this facility. Outside
         this radius, Commission staff determined that the project would not contribute to adverse
         ambient air quality impacts. Therefore, based on Commission staff’s updated
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                          12.    Rio Bravo’s EA Comments

                Rio Bravo submitted comments on the EA to clarify certain permitting and
         consultation details.185 First, as noted above, Rio Bravo has received its modified CWA
         section 404 permit from the Army Corps186 and its section 401 water quality certification
         from the Texas Railroad Commission.187

                Second, Rio Bravo notes that the EA’s discussion of consultation under
         section 106 of the National Historic Preservation Act is accurate,188 but clarifies that an
         entry in Table 3 should be updated to reflect that the National Park Service’s section 106
         consultation is complete.189 These clarifications are noted, but do not change the EA
         conclusion or warrant further clarification from the Commission.

                          13.    Environmental Conclusion

                Regarding the Amendment Project, based on the analysis in the EA, as
         supplemented herein, we conclude that if constructed and operated in accordance with
         Rio Bravo’s application and supplements, and in compliance with the environmental
         conditions in Appendix A to this order, our approval of the Amendment Project proposal
         would not constitute a major federal action significantly affecting the quality of the
         human environment.




         environmental justice analysis, we conclude that operation emissions associated with
         Compressor Station 1 would not result in a significant impact on air quality in
         environmental justice communities.
                185
                      Rio Bravo January 21, 2020 Comments (Rio Bravo EA Comments).
                186
                      See Rio Bravo October 7, 2021 Filing.
                187
                   Rio Bravo stated that the Texas Railroad Commission confirmed on August 31,
         2021, that the section 401 water quality certification issued on February 14, 2020,
         continued to be valid in light of the section 404 permit modifications. Rio Bravo May 20,
         2022 Response to Commission staff’s May 2, 2022 Environmental Information Request
         at Response 1.
                188
                      Amendment Project EA at 18.
                189
                    Compare Rio Bravo EA Comments at 2 with Amendment Project EA at 11
         (tbl. 3) (describing section 106 consultation with National Park Service as ongoing).
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                C.     Pipeline Amendment Project Conclusion

                  Based on the discussion above, we find under NGA section 7 that the public
         convenience and necessity requires approval of Rio Bravo’s request that the Commission
         amend the NGA section 7 certificate authorization issued by the Authorization Order to
         authorize it to construct and operate the project with the proposed Amendment Project
         facility modifications. Accordingly, Rio Bravo’s NGA section 7 certificate authorization
         to construct and operate those facilities is amended as requested, subject to the conditions
         in this order and in the Authorization Order.

         III.   Vecinos Remand Proceeding

                 As discussed above, the D.C. Circuit remanded the Commission’s authorization
         for the Rio Grande LNG Terminal and Rio Bravo Pipeline Project and directed the
         Commission to address deficiencies in its NEPA analyses of the projects’ impacts on
         climate change and environmental justice communities. With respect to those two issues,
         we revise our environmental analysis below.

                A.     Remand Proceeding Procedural Issues

                        1.     Commission’s September 30, 2022 Notice and Comment Period

                 On February 3, August 16, and August 31, 2022, and on January 6 and
         February 10, 2023, Commission staff issued environmental information requests to
         Rio Grande regarding environmental justice communities, visual impacts, air quality
         modeling, and emergency planning, in order to address deficiencies noted in the
         D.C. Circuit’s decision. Rio Grande responded to Commission staff’s information
         requests on March 3, August 22, September 15, and November 2, 2022, and on
         January 20, January 27, February 13, and February 14, 2023. Similarly on May 2,
         May 10, and December 9, 2022, and on January 9 and February 15, 2023, Commission
         staff issued information requests to Rio Bravo, to which Rio Bravo provided responses on
         June 1 and December 29, 2022, and January 1 and February 21, 2023.

               On September 30, 2022, the Commission issued a notice seeking public comments
         on Rio Grande and Rio Bravo’s responses. The notice stipulated that initial comments
         were due no later than October 21, 2022, and reply comments no later than November 4,
         2022. Numerous comments were filed during the initial comment period,190 including:



                190
                    See, e.g., John Young October 24, 2022 Comments; Nancy McNab et al.
         October 21, 2022 Comments; Dee Ruiz et al. October 21, 2022 Comments; Damian
         Blattler et al. October 21, 2022 Comments; Amelia Odegaard et al. October 21, 2022
         Comments; Theresa Flanagan et al. October 21, 2022 Comments; Juan B. Mancias et al.
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        (1) statements in general opposition to the projects; (2) assertions of deficiencies in
        Rio Grande and Rio Bravo’s responses, including the revised air modeling for the
        Rio Grande LNG Terminal; (3) concerns with project impacts on environmental justice
        communities, including the air quality impacts of volatile organic compounds (VOC) and
        particulate matter on those communities, inadequate outreach to environmental justice
        communities, and insufficient information provided on the impacts of offsite parking
        locations and Rio Grande’s Emergency Response Plan; (4) concerns regarding climate
        change and GHGs; and (5) requests for public meetings in a town hall format with
        Spanish language translation and for all permit documents to be translated into the
        Spanish language. These comments are addressed below.

               As noted, commenters requested that the Commission hold public meetings in a
        town hall format.191 Commenters also requested that the Commission provide greater
        access to Spanish-speaking communities by providing Spanish language translation at
        any public meetings and provide a translated version of the Commission’s requests for
        information and the comments and responses to the information requests from Rio
        Grande and Rio Bravo.192

                In this proceeding, and consistent with how the Commission has processed other
         remand orders,193 we reviewed the record to determine whether the deficiencies identified
         by the court could be redressed and what, if any, additional information would be helpful.
         This order addresses the particular issues identified by the court on remand.194 Although
         the public had opportunities for involvement during the prefiling and environmental
         review processes associated with the Commission’s original consideration of the

         October 21, 2022 Comments; Center for LNG October 21, 2022 Comments; and Sierra
         Club et al. October 19, 2022 Comments.
               191
                    See Sierra Club et al. October 19, 2022 Comments; see also Nancy McNab
         et al. October 21, 2022 Comments.
               192
                     See Sierra Club et al. October 19, 2022 Comments.
               193
                   See Spire STL Pipeline LLC, 181 FERC ¶ 61,232, at PP 18-20 (2022)
         (determining the record was sufficient to allow the Commission to address the issues on
         remand without additional requested briefing); on reh’g Spire STL Pipeline LLC,
         183 FERC ¶ 61,048 (2023); NEXUS Gas Transmission, LLC, 172 FERC ¶ 61,199 (2020)
         (reviewing the record and the court’s instructions on remand to issue a certificate of
         convenience and public necessity without soliciting additional comments).
               194
                   See, e.g., SFPP, L.P. v. FERC, 967 F.3d 788, 797 (D.C. Cir. 2020), cert.
         dismissed, 141 S. Ct. 2170 (2021) (finding that on remand it is up to the Commission to
         determine if the record should be reopened).
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        projects,195 during this remand proceeding the Commission provided additional
        opportunities for the public to comment and respond to information filed by Rio Grande
        and Rio Bravo related to the issues before us on remand. As stated above, on
        September 30, 2022, we explicitly solicited comments on the responses provided by
        Rio Grande and Rio Bravo to Commission staff’s information requests and received over
        150 comments. We have considered and responded to all comments within the scope of
        this remand proceeding and, therefore, because the record is sufficient for us to address
        the issues identified by the court, we decline to hold additional public meetings on the
        remanded issues. As for requests related to Spanish translation of documents, while we
        are not providing such translations in this proceeding, the Commission continues to
        consider how we can provide greater accessibility to our processes for non-English
        speaking populations.

                On November 4, 2022, Rio Grande, American Petroleum Institute, and Rio Bravo
         separately submitted comments requesting prompt rulings on the remanded issues and the
         pipeline amendment. As we are issuing this order, the requests are moot.

                On December 2, 2022, Vecinos para el Bienestar de la Comunidad Costera and
         Sierra Club filed a joint comment letter pointing out discrepancies between Rio Grande
         and Texas LNG Brownsville LLC’s (Texas LNG) air modeling data provided in response
         to Commission staff’s information requests and arguing that the companies must explain
         these discrepancies so that the Commission can properly analyze the impacts of the
         projects on the surrounding environment and communities.196 Rio Grande’s November 2,
         2022 data response to Commission staff’s August 16, 2022 environmental information
         request included updated refined air quality modeling, and on January 20 and 27, 2023,
         Rio Grande submitted additional information regarding the air modeling discrepancies,
         which is discussed below.197


               195
                   See Final EIS at 4-468. As the final EIS notes, the applicant provided materials
         regarding the project in both English and Spanish and Spanish-speaking representatives
         were present at both the public scoping and comment meetings held in Port Isabel.
               196
                    Commenters also allege that the Commission improperly used significant
         impact levels to “determine whether a project causes or contributes to exceedances of the
         National Ambient Air Quality Standards and the emissions from the facility will have
         disproportionately high and adverse impacts on Environmental Justice communities,” and
         recommend using other modeling approaches for determining impacts on such
         communities. Vecinos para el Bienestar de la Comunidad Costera and Sierra Club
         December 2, 2022 Comments at 4. These comments are discussed in the environmental
         justice section below.
               197
                     See infra PP 138-151.
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                       2.      Comments Outside the Scope of this Order

                Commenters raised issues that, except with respect to comments on potential
         impacts to environmental justice communities, are outside the scope of the court’s
         mandate. These comments generally fall within the following categories: (1) opposition
         to the Rio Grande LNG Terminal and Rio Bravo Pipeline Project and the Commission’s
         approval of both projects; (2) general comments in support of the projects and requests
         for regulatory clarity;198 (3) cultural resource concerns, including concerns relating to
         consultation with Tribes; (4) biological resource concerns, including impacts on
         endangered species, wetlands, and permits under the Clean Water Act; (5) upstream
         impacts; (6) market need and general public interest concerns; and (7) various opinions
         regarding the Commission, LNG, and energy infrastructure. The Commission will not
         address these arguments because the Commission considered them in the Authorization
         and Rehearing Orders199 and the court’s remand was limited to two issues—whether the
         social cost of GHGs or similar protocol should be used and the scope of the
         Commission’s environmental justice analysis—and thus all other issues are collateral
         attacks on those orders and need not be considered further.200




                198
                   See, e.g., State Representative Erin Elizabeth Gamez March 17, 2023
         Comments; Port of Brownsville Chairman Esteban Guerra March 16, 2023 Comments;
         Los Fresnos Chamber of Commerce Executive Director Val Champion March 16, 2023
         Comments; Valley Regional Medical Center Chief Executive Officer David Irizarry
         March 15, 2023 Comments; Mayor Alejandro Flores (City of Los Fresnos, Texas)
         March 15, 2023 Comments; Cameron County Commissioner Sofia C. Benavides
         March 14, 2023 Comments; U.S. Representatives Dan Crenshaw & Michael C. Burgess
         August 23, 2022 Comments; U.S. Representative Mayra Flores August 15, 2022
         Comments; U.S. Senator John Cornyn et al. July 7 & June 28, 2022 Comments;
         U.S. Representative Bill Johnson June 13, 2022 Comments; and U.S. Representative
         Jake Ellzey May 25, 2022 Comments.
                199
                    See Rehearing Order, 170 FERC ¶ 61,046 at PP 10-20 (discussing market need
         and public interest); id. at PP 33, 84-89 (discussing threatened and endangered species);
         id. at P 83 (discussing wetlands); Authorization Order, 169 FERC ¶ 61,131 at PP 100-102
         (addressing cultural resources); id. at PP 83-91 (discussing threatened and endangered
         species); id. at PP 75-76 (discussing wetlands); id. at PP 75, 77, & 128 (addressing CWA
         permit concerns); id. at P 59 (discussing upstream impacts). See also Final EIS at 4-55 to
         4-68 (discussing wetlands); id. at 4-133 to 4-163 (discussing threatened and endangered
         species); id. at 4-238 to 4-242 (discussing cultural resources).
                200
                   See, e.g., Fla. Se. Connection, 162 FERC ¶ 61,233, at P 16 (2018) (declining to
         consider issues that fell outside the scope of the court’s mandate); Arlington Storage Co.,
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                B.       Remand Discussion

                As discussed above, the D.C. Circuit remanded the Commission’s orders
         authorizing the Rio Grande LNG Terminal and the Rio Bravo Pipeline Project and
         directed the Commission to: (1) address the argument that it must, under CEQ’s
         regulations, apply the social cost of carbon protocol to analyze the projects’ impacts on
         climate change; and (2) explain the decision to limit the scope of its environmental justice
         analysis of the projects’ impacts to those communities within two miles of the project or
         else analyze the project’s impacts within a different radius. In response to the court’s
         directive, we address the argument regarding the social cost of carbon and 40 C.F.R.
         § 1502.21(c) as well as update our analysis of the projects’ environmental justice impacts
         consistent with the Commission’s current practice and with CEQ201 and the U.S.
         Environmental Protection Agency (EPA)202 guidance.

                          1.     Greenhouse Gas Emissions and Climate Change

                The court directed the Commission, on remand, to explain whether
         section 1502.21(c) of CEQ’s NEPA-implementing regulations requires the Commission
         to “apply the social cost of carbon protocol or some other analytical framework, as
         ‘generally accepted in the scientific community’ within the meaning of the regulation,
         and if not, why not.”203 Sierra Club asserts that, in lieu of comparing the GHG emissions
         of a project to the overall emission reduction targets of a state or national goals, the
         Commission could use the social cost of carbon tool to help it assess significance.204




         LLC, 149 FERC ¶ 61,158 (2015) (rejecting a request for rehearing of a notice to proceed
         with construction as a collateral attack on the underlying orders).
                201
                   CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
         EJGuidance.pdf.
                202
                   See generally EPA, Promising Practices for EJ Methodologies in NEPA
         Reviews (Mar. 2016) (Promising
         Practices), https://www.epa.gov/sites/default/files/2016-
         08/documents/nepa_promising_practices_document_2016.pdf.
                203
                      Vecinos, 6 F.4th at 1330 (quoting 40 C.F.R.§ 1502.21(c)).
                204
                      Sierra Club April 27, 2022 Motion to Intervene at 20.
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               Section 1502.21(c) of CEQ’s regulations requires that,

                      [i]f the information relevant to reasonably foreseeable
                      significant adverse impacts cannot be obtained because the
                      overall costs of obtaining it are unreasonable or the means to
                      obtain it are not known, the agency shall include within the
                      environmental impact statement:

                      (1) A statement that such information is incomplete or
                      unavailable;

                      (2) A statement of the relevance of the incomplete or
                      unavailable information to evaluating reasonably foreseeable
                      significant adverse impacts on the human environment;

                      (3) A summary of existing credible scientific evidence that is
                      relevant to evaluating the reasonably foreseeable significant
                      adverse impacts on the human environment; and

                      (4) The agency’s evaluation of such impacts based upon
                      theoretical approaches or research methods generally
                      accepted in the scientific community.205

                The social cost of carbon protocol, now updated to calculate the social cost of
         specific GHGs,206 is an administrative tool intended to quantify, in dollars, estimates of
         long-term damage that may result from future emissions of carbon dioxide, nitrous oxide,
         and methane. Accordingly, although we are including the social cost of GHG figures for
         informational purposes, we find that because the social cost of GHGs tool was not
         developed for project level review and, as discussed below, does not enable the
         Commission to credibly determine whether the GHG emissions are significant,
         section 1502.21 of the CEQ regulations does not require its use in this proceeding.




               205
                    40 C.F.R. § 1502.21(c). We note that at the time the Final EIS was prepared,
         this regulation was codified at 40 C.F.R. § 1502.22(b).
               206
                   The IWG published its first estimates of the social cost of carbon in 2010,
         which calculated the cost of the damages created by one extra ton of carbon dioxide
         emissions. In 2016, the IWG published a technical update that included the social costs
         of methane (social cost of CH4) and nitrous oxide (social cost of N2O) thus creating the
         social cost of GHGs nomenclature.
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                 While we have recognized in some past orders that social cost of GHGs may have
         utility in certain contexts such as rulemakings,207 we have also found that calculating the
         social cost of GHGs does not enable the Commission to determine credibly whether the
         reasonably foreseeable GHG emissions associated with a project are significant or not
         significant in terms of their impact on global climate change.208 Currently, however,
         there are no criteria to identify what monetized values are significant for NEPA purposes,
         and we are currently unable to identify any such appropriate criteria.209 Nor are we aware
         of any other currently scientifically accepted method that would enable the Commission
         to determine the significance of reasonably foreseeable GHG emissions.210 The D.C.
         Circuit has repeatedly upheld the Commission’s decisions not to use the social cost of
         GHGs, including to assess significance.211



                207
                      Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
                208
                    See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, (2017), aff’d
         sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.
         Riverkeeper v. FERC, 45 F.th 104, 111 (D.C. Cir. 2022). The social cost of GHGs tool
         merely converts GHG emissions estimates into a range of dollar-denominated figures; it
         does not, in itself, provide a mechanism or standard for judging “significance.”
                209
                    Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051 at P 37; see also Mountain
         Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g, 163 FERC ¶ 61,197,
         at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, No. 17-1271, 2019 WL
         847199, at 2 (D.C. Cir. Feb. 19, 2019) (unpublished) (“[The Commission] gave several
         reasons why it believed petitioners’ preferred metric, the Social Cost of Carbon tool, is
         not an appropriate measure of project-level climate change impacts and their significance
         under NEPA or the Natural Gas Act. That is all that is required for NEPA
         purposes.”); EarthReports v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016) (accepting the
         Commission’s explanation why the social cost of carbon tool would not be appropriate or
         informative for project-specific review, including because “there are no established
         criteria identifying the monetized values that are to be considered significant for NEPA
         purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75 (2022); See,
         e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023); Columbia Gulf Transmission,
         LLC, 180 FERC ¶ 61,206 at P 91.
                210
                     See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (“there are currently no
         criteria to identify what monetized values are significant for NEPA purposes, and we are
         currently unable to identify any such appropriate criteria”).
                211
                    See, e.g., EarthReports, 848 F.3d at 956 (upholding the Commission’s decision
         not to use the social cost of carbon tool due to a lack of standardized criteria or
         methodologies, among other things); Del. Riverkeeper v. FERC, 45 F.4th 104 (also
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                For informational purposes, we are disclosing Commission staff’s estimate of the
         social cost of GHGs associated with the reasonably foreseeable emissions from the
         projects, i.e., the emissions from the construction and operation of the projects.212

                Commission staff calculated the social cost of GHGs based on methods and values
         contained in the Interagency Working Group on the Social Cost of Greenhouse Gases
         (IWG)’s current draft guidance but note that different values will result from the use of
         other methods.213

                For this proposed action, the reasonably foreseeable and causally connected GHG
         emissions are those associated with the projects’ construction and operation. Rio Grande
         estimated that construction of the Rio Grande LNG Terminal would result in
         2,659,332 tons of CO2e emissions (equivalent to 2,412,505 metric tons of CO2e) over the
         eight years of construction, inclusive of terminal, barge, and commissioning emissions.214
         GHG emissions, from the operation of the Rio Grande LNG Terminal would result in
         annual CO2e emissions of about 6,451,324 tons per year (tpy) (equivalent to




         upholding the Commission’s decision not to use the social cost of carbon); Appalachian
         Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019) (same).
               212
                     See Vecinos, 6 F.4th at 1329-30.
               213
                   Technical Support Document: Social Cost of Carbon, Methane, and Nitrous
         Oxide Interim Estimates under Executive Order 13990, Interagency Working Group on
         Social Cost of Greenhouse Gases, United States Government, (Feb. 2021),
         https://www.whitehouse.gov/wp-
         content/uploads/2021/02/TechnicalSupportDocument_SocialCostofCarbonMethaneNitro
         usOxide.pdf (IWG Interim Estimates Technical Support Document).
               214
                  As part of the remand proceeding, Commission staff issued data requests to
         Rio Grande to provide updated construction and operational emission estimates for the
         Rio Grande LNG Terminal. Staff uses the company’s updated emissions numbers here.
         See Rio Grande January 27, 2023 Response to Commission staff January 6, 2023
         Environmental Information Request; Rio Grande August 22, 2022 Response to
         Commission staff August 16, 2022 Environmental Information Request.
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        5,852,543 metric tpy),215 which calculation assumes 100% utilization; i.e., it is assumed
        that the facilities are operated at maximum capacity for 365 days/year, 24 hours/day.216

                Rio Bravo estimated the construction of the Rio Bravo Pipeline Project, as
         amended,217 would result in 948,629 tons of CO2e emissions (equivalent to
         860,582 metric tons of CO2e) over the five years of construction.218 GHG emissions
         from the operation of the Rio Bravo Pipeline Project would result in annual CO2e
         emissions of about 761,655 tons per year (tpy) (equivalent to 690,962 metric tpy), which
         calculation assumes 100% utilization; i.e., it is assumed that the facilities are operated at
         maximum capacity for 365 days/year, 24 hours/day.219

               Commission staff calculated the social cost of carbon dioxide, nitrous oxide, and
         methane for the construction and operation of the Rio Grande LNG Terminal and
         Rio Bravo Pipeline Project.220 For the calculations, staff assumed discount rates of


                215
                   Id. As Rio Grande brings the trains online in phases, the operational emission
         estimates would be 1,632,275 tons of CO2e emissions (equivalent to 1,480,775 metric
         tons of CO2e) in 2026, 3,881,164 tons of CO2e emissions (equivalent to 3,520,933 metric
         tons of CO2e) in 2027, and 5,166,246 tons of CO2e emissions (equivalent to
         4,686,739 metric tons of CO2e) in 2028. Id.
                216
                    Id. The estimate also includes fugitive emissions. We note that this calculation
         is an overestimate because facilities likely operate at full capacity during, what are
         typically, limited periods of full demand.
                217
                   As discussed above, the Amendment Project (Docket No. CP20-481-000)
        will eliminate Compressor Stations 2 and 3, Booster Stations 1 and 2 and related meter
        stations and modify Compressor Station 1 by increasing the horsepower of the station
        from 180,000 to 282,000 hp by replacing the six 30,000-hp natural gas turbine
        compressor units currently approved with four 43,000-hp natural gas turbine compressor
        units and two 55,000-hp electric-driven compressor units.
                218
                  As part of the remand proceeding, Commission staff issued data requests to
         Rio Bravo to provide updated construction and operational emission estimates for the
         Rio Bravo Pipeline Project. Staff uses the company’s updated emissions numbers here.
         See Rio Bravo February 24, 2023 Response to Commission staff’s February 15, 2023
         Environmental Information Request.
                219
                      Id. The estimate also includes fugitive emissions.
                220
                    As noted above, Rio Grande and Rio Bravo provided updated emission
         estimates as part of the remand proceedings, which Commission staff used to calculate
         the social cost of GHGs. We note that this calculation is likely an overestimate because
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        five percent, three percent, and 2.5%,221 the projects would begin construction activities
        in 2025, and that once construction activities are complete, emissions would transition to
        operational emissions. Noting these assumptions, the emissions from construction and
        operation of the Rio Grande LNG Terminal are calculated to result in a total social cost of
        GHGs equal to $1,521,398,883, $5,917,433,636, and $8,996,451,667, respectively (all in
        2020 dollars).222 Based on the 95th percentile of the social cost of GHGs and the
        three percent discount rate,223 the total social cost of GHGs from the project is calculated
        to be $18,044,727,663 (in 2020 dollars).

                Applying the same assumptions, the emissions from construction and operation of
         the Rio Bravo Pipeline Project are calculated to result in a total social cost of GHGs equal
         to $178,691,926, $679,418,079, and $1,027,470,669, respectively (all in 2020 dollars).224
         Based on the 95th percentile of the social cost of GHGs and the three percent discount




         pipelines only operate at full capacity during, what are typically, limited periods of full
         demand.
                221
                    IWG Interim Estimates Technical Support Document at 24. To quantify the
         potential damages associated with estimated emissions, the IWG methodology applies
         consumption discount rates to estimated emissions costs. The IWG’s discount rates are a
         function of the rate of economic growth where higher growth scenarios lead to higher
         discount rates. For example, IWG’s method includes the 2.5% discount rate to address
         the concern that interest rates are highly uncertain over time; the 3% value to be
         consistent with Office of Management and Budget Circular A-4 (2003) and the real rate
         of return on 10-year Treasury Securities from the prior 30 years (1973 through 2002); and
         the five percent discount rate to represent the possibility that climate-related damages
         may be positively correlated with market returns. Thus, higher discount rates further
         discount future impacts based on estimated economic growth. Values based on lower
         discount rates are consistent with studies of discounting approaches relevant for
         intergenerational analysis. Id. at 18-19, 23-24.
                222
                      The IWG draft guidance identifies costs in 2020 dollars. Id. at 5 (tbl. ES-I).
                223
                    This value represents “higher-than-expected economic impacts from climate
         change further out in the tails of the [social cost of CO2] distribution.” Id. at 11. In other
         words, it represents a higher impact scenario with a lower probability of occurring.
                224
                      The IWG draft guidance identifies costs in 2020 dollars. Id. at 5 (tbl. ES-I).
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        rate,225 the total social cost of GHGs from the project is calculated to be $2,058,083,922
        (in 2020 dollars).

                 Although Sierra Club recommends we articulate our own criteria for assessing the
         significance of the projected costs of the projects’ greenhouse gas emission,226 Sierra
         Club does not propose how the Commission might identify which social cost of GHG
         costs would be significant for purposes of NEPA.

                The Commission has disclosed the projects’ reasonably foreseeable GHG
         emissions. By adopting the analysis in the final EIS and Amendment Project EA, we
         recognize that the projects’ contributions to GHG emissions globally contribute
         incrementally to future climate change impacts,227 including impacts in the project
         region.228 We note that there currently are no accepted tools or methods for the
         Commission to use to determine significance, therefore the Commission is not herein
         characterizing these emissions as significant or insignificant.229 Accordingly, we have
         taken the required “hard look” and have satisfied our obligations under NEPA.

                          2.    Environmental Justice

                 The court found the Commission’s analysis of environmental justice impacts to be
         deficient, directing the Commission on remand to either explain why it chose to analyze
         the projects’ impacts only on communities within a two-mile-radius area of review, or, in
         the alternative, to analyze the projects’ impacts on communities in an area of review with
         a different radius from each project site, and determine whether the Commission’s


                225
                    This value represents “higher-than-expected economic impacts from climate
         change further out in the tails of the [social cost of CO2] distribution.” Id. at 11. In other
         words, it represents a higher impact scenario with a lower probability of occurring.
                226
                   Rehearing Order, 170 FERC ¶ 61,046 at PP 100-11; see also Sierra Club
         April 27, 2022 Motion to Intervene at 19-20.
                227
                      See Final EIS at 4-481; Amendment Project EA at 44-47.
                228
                 See Final EIS at 4-480 – 4-481 (discussing observations from the Fourth
         Assessment Report); Amendment Project EA at 45-46 (same).
                229
                  The February 18, 2022 Interim GHG Policy Statement, Consideration of
         Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
         (2022) which proposed to establish a NEPA significance threshold of 100,000 tons per
         year of CO2e as a matter of policy, has been suspended, and opened to further public
         comment. Order on Draft Policy Statements, 178 FERC ¶ 61,197, at P 2 (2022).
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        environmental justice conclusion still holds.230 Accordingly, on remand, Commission
        staff conducted a new environmental justice analysis using our current methods for
        determining an area of review, consistent with CEQ231 and EPA232 guidance and
        recommendations, and analyzed the projects’ impacts on environmental justice
        communities within those areas. Below, Commission staff has identified the presence of
        impacted environmental justice communities and has analyzed associated impacts from
        the Rio Grande LNG Terminal and Rio Bravo Pipeline Project, as amended in
        Docket No. CP20-481-000.233
                In conducting NEPA reviews of proposed natural gas projects, the Commission
         follows Executive Order 12898, which directs federal agencies to identify and address
         “disproportionately high and adverse human health or environmental effects” of their
         actions on minority and low-income populations (i.e., environmental justice
         communities).234 Executive Order 14008 also directs agencies to develop “programs,
         policies, and activities to address the disproportionately high and adverse human health,
         environmental, climate-related and other cumulative impacts on disadvantaged


                230
                      Vecinos, 6 F.4th at 1331.
                231
                   CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
         EJGuidance.pdf.
                232
                      See generally Promising Practices.
                233
                    All references to the Rio Bravo Pipeline Project throughout this section are to
         the project as amended in this order. Thus, for purposes of staff’s environmental justice
         analysis the original pipeline project facilities that were eliminated by the Pipeline
         Amendment, e.g., Compressor Stations 2 and 3, one meter station at Compressor
         Station 1; and two interconnect booster stations in Kenedy County, Texas, are not
         analyzed herein.
                234
                    Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 11, 1994). While the
         Commission is not one of the specified agencies in Executive Order 12898, the
         Commission nonetheless addresses environmental justice in its analysis, in accordance
         with our governing regulations and guidance, and statutory duties. See 15 U.S.C. § 717b;
         see also 18 C.F.R. § 380.12(g) (requiring applicants for projects involving significant
         aboveground facilities to submit information about the socioeconomic impact area of a
         project for the Commission’s consideration during NEPA review); FERC Guidance
         Manual for Environmental Report Preparation, at 4-76 to 4-80 (Feb. 2017),
         https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.
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        communities, as well as the accompanying economic challenges of such impacts.”235
        Environmental justice is “the fair treatment and meaningful involvement of all people
        regardless of race, color, national origin, or income with respect to the development,
        implementation, and enforcement of environmental laws, regulations, and policies.”236
                Consistent with CEQ and EPA guidance and recommendations, the Commission’s
         methodology for assessing environmental justice impacts considers: (1) whether
         environmental justice communities (e.g., minority or low-income populations)237 exist in
         the project area; (2) whether impacts on environmental justice communities are
         disproportionately high and adverse; and (3) possible mitigation measures.238 Consistent



               235
                    Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Jan. 27, 2021). The term
         “environmental justice community” includes disadvantaged communities that have been
         historically marginalized and overburdened by pollution. Id. at 7629. The term also
         includes, but may not be limited to minority populations, low-income populations, or
         indigenous peoples. See EPA, EJ 2020 Glossary (Aug. 18, 2022),
         https://www.epa.gov/environmentaljustice/ej-2020-glossary.
               236
                   EPA, Learn About Environmental Justice,
         https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Sep. 6,
         2022). Fair treatment means that no group of people should bear a disproportionate share
         of the negative environmental consequences resulting from industrial, governmental, and
         commercial operations or policies. Id. Meaningful involvement of potentially affected
         environmental justice community residents means: (1) people have an appropriate
         opportunity to participate in decisions about a proposed activity that may affect their
         environment and/or health; (2) the public’s contributions can influence the regulatory
         agency’s decision; (3) community concerns will be considered in the decision-making
         process; and (4) decision makers will seek out and facilitate the involvement of those
         potentially affected. Id.
               237
                    See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629. Minority
         populations are those groups that include: American Indian or Alaskan Native; Asian or
         Pacific Islander; Black, not of Hispanic origin; or Hispanic.
               238
                    CEQ offers recommendations on how federal agencies can provide
         opportunities for effective community participation in the NEPA process, including
         identifying potential effects and mitigation measures in consultation with affected
         communities and improving the accessibility of public meetings, crucial documents, and
         notices. There were opportunities for public involvement during the Commission’s
         prefiling and environmental review processes during the original authorization
         proceeding. Final EIS at 1-11 to 1-13, and 4-236. As part of the remand proceeding, the
         Commission requested public comments and reply comments on Rio Grande’s and
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        with the Commission’s current methodology for identification of environmental justice
        communities, staff reviewed 2020 U.S. Census Bureau American Community survey data
        for the impact area surrounding the Rio Grande LNG Terminal and Rio Bravo Pipeline
        Project. As recommended in Promising Practices, the Commission uses the 50% and the
        meaningfully greater analysis methods to identify minority populations.239 Specifically, a
        minority population is present where either: (1) the aggregate minority population of the
        block groups in the affected area exceeds 50% ; or (2) the aggregate minority population
        in the block group affected is 10% higher than the aggregate minority population
        percentage in the county.240

                 CEQ’s Environmental Justice Guidance also directs low-income populations to be
         identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.
         Using Promising Practices’ low-income threshold criteria method, low-income
         populations are identified as block groups where the percent of a low-income population
         in the identified block group is equal to or greater than that of the county.241

                 To identify potential environmental justice communities, Commission staff used
         2020 U.S. Census American Community Survey data242 for the race, ethnicity, and
         poverty data at the state, county, and block group level. Additionally, in accordance with
         Promising Practices, staff used EJScreen, EPA’s environmental justice mapping and
         screening tool, as an initial step to gather information regarding minority and low-income
         populations, potential environmental quality issues, environmental and demographic
         indicators, and other important factors. Appendix B provides current environmental
         justice community data for the areas affected by the projects, including data for the


         Rio Bravo’s responses to earlier information requests. September 30, 2022 Notice
         Seeking Public Comment on Responses to Information Requests.
               239
                     See Promising Practices at 21-25.
               240
                   Here, Commission staff selected Cameron, Jim Wells, Kleberg, Nueces, and
         Willacy Counties, Texas as the comparable reference communities to ensure that affected
         environmental justice communities are properly identified. A reference community may
         vary according to the characteristics of the particular project and the surrounding
         communities.
               241
                     Tables 1, 2, and 3 of Appendix B present this data.
               242
                   U.S. Census Bureau, American Community Survey 2020 ACS 5-Year
         Estimates Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by
         Household Type by Age of Householder, https://data.census.gov/cedsci/table?q=B17017;
         File #B03002 Hispanic or Latino Origin By Race.
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        affected block groups, state, and county, and maps detailing the affected block groups in
        relation to the Rio Grande LNG Terminal and Rio Bravo Pipeline Project facilities.
                 Commission staff collected the block group level data, as discussed in further
         detail below, and conducted an impacts analysis for the identified environmental justice
         communities and evaluated health and environmental hazards, the natural physical
         environment, and associated social, economic, and cultural factors to determine whether
         impacts would be disproportionately high and adverse on environmental justice
         communities and also whether those impacts would be significant.243 Commission staff
         assessed whether impacts on an environmental justice community are disproportionately
         high and adverse, consistent with EPA’s recommendations in Promising Practices.244
                 As discussed above, the court’s opinion explained that an agency’s environmental
         justice analysis must have an area of review for impacts on environmental justice
         communities that is reasonable and adequately explained, with a rational connection
         between the facts and the decision made.245 In response, Commission staff has
         reanalyzed the projects’ impacts on environmental justice communities within an area of
         review based on the measured distance of the furthest estimated direct impact for each
         project site.246
               Project facilities located within environmental justice communities include the
         Rio Grande LNG Terminal, and the following Rio Bravo Pipeline Project facilities: a



               243
                   See Promising Practices at 33 (stating that “an agency may determine that
         impacts are disproportionately high and adverse, but not significant within the meaning
         of NEPA” and in other circumstances “an agency may determine that an impact is both
         disproportionately high and adverse and significant within the meaning of NEPA”).
               244
                    Id. at 44-46 (explaining that there are various approaches to determining
         whether an action will cause a disproportionately high and adverse impact, and that one
         recommended approach is to consider whether an impact would be “predominantly borne
         by minority populations or low-income populations”). We recognize that EPA and CEQ
         are in the process of updating their guidance regarding environmental justice and we will
         review and incorporate that anticipated guidance in our future analysis, as appropriate.
               245
                     Vecinos, 6 F.4th at 1330.
               246
                     Mr. John Young requested that the Commission incorporate in the comparison
         maps exhibiting the authorized project path and minority and low-income population
         instead of the modified project path and minority and low-income populations. Mapping
         of all facilities in relation to minority and low-income communities is included in
         Appendix B. App. B Fig. 1 to 23.
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        majority of the 135.7-mile,247 48-inch-diameter natural gas pipelines (Pipelines 1 and 2);
        two meter stations (Meter Station HS4 and the Meter Station located at the LNG
        terminal); Contractor Yards 1, 2, and 3; and portions of the 2.4-mile-long pipeline header
        system. Rio Bravo’s Meter Station HS3 is not located within an environmental justice
        block group; however, there is an environmental justice block group within a 1-mile
        radius of the facility. Rio Bravo’s Compressor Station 1 is not located within an
        environmental justice community; however, there are environmental justice communities
        within the 50-kilometer geographic scope of analysis. Rio Bravo’s Meter Stations HS1
        and HS2 are not located within an environmental justice community, and there are no
        environmental justice communities within a one-mile radius of the facilities.
                 Sierra Club comments that the Commission must perform an adequate
         environmental justice analysis incorporating relevant changes in environmental justice
         data since the Commission’s initial analysis. We agree and confirm that, herein,
         Commission staff have conducted an updated analysis of impacts on environmental
         justice communities using both updated data and an expanded area of review radius. For
         this analysis, Commission staff determined that potential impacts on the identified
         environmental justice communities may relate to wetlands, recreational and subsistence
         fishing, tourism, socioeconomics, road and marine traffic, noise, safety, air quality, and
         visual resources. Environmental justice concerns are not present for other resource areas
         such as geology, groundwater, wildlife, land use, surface water,248 or cultural resources,

                247
                    As noted above in footnote 37, Rio Bravo must further modify – for
         Commission review through either the variance or amendment process – an
         approximately 6.7 portion of its pipeline in in compliance with FWS’s October 2, 2019
         Biological Opinion (the BO reroute). In its December 29, 2022 response to a
         Commission staff data request, Rio Bravo provided information regarding three possible
         pipeline reroutes that it plans to propose to the Commission either as a variance request,
         if applicable, or an amendment: the approximately 6.7 mile BO reroute and two other
         landowner-driven reroutes, which are approximately 0.6 and 0.8 miles long, referred to as
         the North Floodway and Arroyo Colorado Route Adjustment, respectively. Based on the
         information provided, Commission staff confirmed that the three pipeline reroutes are
         entirely within the same environmental justice census block groups as the original
         pipeline route. Thus, the pipeline reroutes will not alter our analysis of the project
         impacts on environmental justice communities in this order.
                248
                   The final EIS determined that increased vessel traffic along the Brownsville
         Ship Channel would result in a significant cumulative impact on surface water resources
         during operations from increases in turbidity and shoreline erosion. See Final EIS
         at 4-427. Impacts on environmental justice communities associated with turbidity are
         discussed below under Tourism. Impacts on environmental justice communities
         associated with shoreline erosion are discussed below under Marine Traffic.
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        due to the minimal overall impact the project would have on environmental justice
        communities. Sierra Club requests that the Commission analyze “whether [proposed]
        mitigation measures will be effective at blunting any disproportionate impacts that will be
        experienced by environmental justice communities.”249 A discussion of applicable
        mitigation measures is included for each impact topic.
                                a.       Rio Grande LNG Terminal Project

                                         i.   Brownsville and Port Isabel Offsite Parking and
                                              Storage Areas

                Rio Grande has identified two locations in Cameron County that will be used for
         temporary offsite parking and storage. For the Brownsville offsite parking/storage
         location, Commission staff identified two environmental justice community block groups
         within a one-mile radius of the site. Of those block groups, both have a minority
         population and a low-income population that exceed the respective thresholds. For the
         Port Isabel offsite parking/storage location, Commission staff identified four
         environmental justice community block groups within a one-mile radius of the site. Of
         those block groups, one has a minority population that exceeds 50%, one has a
         low-income population that is equal to or greater than its respective county, and two have
         both a minority population and a low-income population that exceed the respective
         thresholds.250
                 Commission staff finds that a one-mile radius around the Brownsville and Port
         Isabel sites is the appropriate unit of geographic analysis for assessing the facilities’
         impacts on environmental justice communities given the likely concentration of air
         quality, noise, visual, and traffic impacts. Sierra Club contends that FERC must analyze
         offsite parking and storage impacts to environmental justice communities “within a
         rationally determined geographic radius.”251 Commission staff has determined that the
         temporary impacts related to noise, visual, traffic, and air emissions from the offsite
         parking locations would be localized such that a radius greater than one mile is not
         warranted. A one-mile radius for each of the two offsite parking locations represents a
         conservative estimate of the extent of impacts on environmental justice communities, the
         furthest of which would be associated with traffic impacts. Based on an updated traffic
         impact analysis,252 the roadway level of service would remain unchanged at all locations

               249
                     Sierra Club et al. October 19, 2022 Comments at 16.
               250
                     App. B at tbl. 3.
               251
                     Sierra Club et al. October 19, 2022 Comments at 15.
               252
                     Rio Grande March 13, 2019 Filing (Traffic Impact Analysis Update).
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        on SH48 within one mile of the parking facilities;253 therefore, a one-mile radius is
        sufficient for analysis of impacts.
                Rio Grande has indicated that it does not plan to use the Brownsville and
        Port Isabel offsite parking/storage locations until use of its onsite parking and storage
        areas become limited, which it anticipates to occur near the start of construction of
        Liquefaction Train 4.254 At this point, Rio Grande states that personnel will use the
        Brownsville offsite parking location and be bused to the LNG terminal, resulting in a
        maximum of 150 bus roundtrips (7.1 miles each way).255 The nearest residence to this
        offsite location is over three miles away (southwest of the offsite location).256 Traffic to
        and from this offsite location to the LNG terminal would use SH-48 and not pass any
        residences.257
                 When onsite storage areas become limited, approximately 50 of the 150 bus
         roundtrips per day are expected from the Port Isabel location.258 In addition, when onsite
         storage areas become limited, approximately 50 material truck roundtrips per day are
         expected from this offsite location.259 Sierra Club contends that impacts on
         environmental justice communities related to increased traffic must be analyzed
         regardless of the current use of the land and potential impacts must be accurately
         identified.260 The nearest residence within an environmental justice community is located
         approximately 0.3 miles northwest of this offsite location.261 Additionally, Rio Grande’s
         use of this offsite location is not inconsistent with current traffic, as it is located within an
         industrial area of Port Isabel and large material trucks regularly transit in and out of the

                253
                 Rio Grande August 22, 2022 Response to Commission staff’s August 16, 2022
         Environmental Information Request at 24.
                254
                      Id. at 22.
                255
                      Id.
                256
                 Rio Grande August 22, 2022 Response to Commission staff’s August 16, 2022
         Environmental Information Request at 17.
                257
                      Id.
                258
                      Id.
                259
                      Id.
                260
                      Sierra Club et al. October 19, 2022 Comments at 15.
                261
                 Rio Grande August 22, 2022 Response to Commission staff’s August 16, 2022
         Environmental Information Request at 17.
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        area.262 While travelers along SH-48 from offsite locations to the LNG terminal may
        experience additional adverse impacts associated with traffic delays, traffic levels would
        maintain a Level of Service263 C or better and, accordingly, we conclude that those
        impacts will be less than significant.264

                The Brownsville and Port Isabel storage areas would be located in areas of heavy
         industry.265 As such, visual receptors in the vicinity of these storage areas would include
         workers and visitors at nearby industrial/commercial facilities and motorist on nearby
         roadways.266 Based on Commission staff’s updated environmental justice analysis, and
         given the location of the storage areas at existing industrial sites, we conclude that
         impacts on visual receptors, including any individuals from environmental justice
         communities, would be less than significant.267

                As a result of the use of the Brownsville and Port Isabel offsite locations,
         individuals from environmental justice communities may experience increases in
         vehicle-associated noise (loud engines and horns). Based on Commission staff’s updated
         environmental justice analysis, and given the distance to residential areas (three miles
         from the Brownsville site and 0.3 mile from the Port Isabel site), we conclude that
         impacts on local residents, including any individuals from environmental justice
         communities, would be less than significant.

                As a result of the use of the Brownsville and Port Isabel offsite locations,
         individuals from environmental justice communities may experience a slight increase in
         air emissions from vehicles and buses accessing the office site locations. Based on
         Commission staff’s updated environmental justice analysis, and given the distance to
         residential areas (three miles from the Brownsville site and 0.3 mile from the Port Isabel


                262
                      Id.
                263
                   Level of Service is a qualitative measure of traffic flow. There are six levels of
         service ranging from A to F. LOS A represents the best conditions and LOS F represents
         the worst conditions. LOS “A” to “C” is considered acceptable. See Rio Grande
         March 13, 2019 Filing at 4.
                264
                 Rio Grande August 22, 2022 Response to Commission staff’s August 16, 2022
         Environmental Information Request at 24.
                265
                      Final EIS at 4-199.
                266
                      Id.
                267
                      Id.
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        site), we conclude that impacts on local residents, including any individuals from
        environmental justice communities, would be less than significant.

                                         ii.   Rio Grande LNG Terminal

                For the Rio Grande LNG Terminal, Commission staff determined that a
        50-kilometer radius around the approved Rio Grande LNG Terminal site is the
        appropriate unit of geographic analysis for assessing project impacts on environmental
        justice communities. This radius for the LNG terminal represents a conservative estimate
        of the furthest possible extent of impacts, the most distant of which would be associated
        with air quality impacts.268 With respect to the Rio Grande LNG Terminal, the air
        modeling indicates that the radius of impact (i.e., the distance at which a criteria pollutant
        falls below the defined significant impact level269) is approximately 12.8 kilometers.270
                Commission staff identified 286 environmental justice community block groups
        (out of 293 total block groups) within a 50-kilometer radius of the LNG facility site. Of
        those 286 block groups, 131 have a minority population that either exceeds 50% or is
        meaningfully greater than their respective counties, two have a low-income population
        that is equal to or greater than their respective counties, and 153 have both a minority
        population and a low-income population that exceed the respective thresholds.271
        Commission staff’s following updated analysis of potential LNG terminal impacts
        associated on the identified environmental justice communities addresses wetlands,
        recreational fishing, tourism, socioeconomics, traffic, noise, safety, air quality,
        greenhouse gases, and visual resources.


               268
                    Fifty kilometers is the distance used by the EPA for cumulative air modeling
         for major stationary sources under its Prevention of Significant Deterioration (PSD) air
         permitting requirements. 40 C.F.R. § 51, app. W (2022), and is generally considered to
         be the maximum distance that can be accommodated by the assumptions inherent in
         refined steady-state Gaussian plume air modeling applications.
               269
                    A modeled result predicting that a proposed source’s maximum impact will be
         below the corresponding significant impact level value may generally be considered to be
         a sufficient demonstration that the proposed source will not cause or contribute to a
         violation of the applicable National Ambient Air Quality Standard or Prevention of
         Significant Deterioration increment.
               270
                   Rio Grande January 27, 2023 Environmental Information Request Response
         at 26. Predicted impacts below the significant impact level are not considered by the
         EPA to have an adverse effect on ambient air quality.
               271
                     App. B at tbl. 1.
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                                             (a)   Wetlands

                 Related to wetlands, the final EIS finds that the total impacted wetland area for the
         Rio Grande LNG Terminal (182.4 acres) represents about 0.28% of the approximately
         65,495 acres of wetlands contained within the HUC 12272 watershed, in which the project
         is located.273 The loss of wetland habitat, and the subsequent decrease in wetland
         benefits (i.e., shoreline and habitat protection for a variety of plant and animal species
         that can be used for recreation and/or sustenance, and education opportunities), could
         affect environmental justice communities near the project, particularly the communities
         located near the LNG terminal in Census Tract 142.02, Block Group 2 and Census
         Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census
         Tract 123.05, Block Group 1.274 We note that Rio Grande is required to obtain applicable
         Army Corps permits for permanent loss of wetland habitat and implement any mitigation
         measures required by the Army Corps for that loss.275 All wetlands mitigation for the
         LNG terminal facilities would take place in the same watershed as the project,276 located
         within the Miradores Mitigation site (approximately 11 miles north of the terminal) and
         the Loma Ecological Preserve (one mile south of the terminal).277 Based on Commission
         staff’s updated environmental justice analysis for the LNG terminal, we conclude that
         with the implementation of the mitigation measures discussed in the final EIS and in the
         Authorization Order, impacts on wetlands would be minimized and mitigated and would
         not have a significant impact on environmental justice communities.

                Environmental justice communities in the study area would experience cumulative
         impacts on wetlands due to impacts previously discussed, along with additional impacts
         from the project within the cumulative geographic scope for wetlands;278 however, all
         impacts will be appropriately mitigated and cumulative impacts with the addition of the



                272
                      Bahia Grande-BSC Hydrologic Unit Code (HUC) 12 Watershed.
                273
                      Final EIS at 4-429.
                274
                      App. B Fig. 1 to 23.
                275
                      Final EIS at 4-61.
                276
                      Rio Grande September 27, 2021 Filing.
                277
                      Final EIS at 4-68.
                278
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
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        project would be less than significant.279 Because all impacts would be appropriately
        mitigated, we further conclude that the overall cumulative wetland impacts on
        environmental justice communities would be less than significant.

                                               (b)   Recreational and Subsistence Fishing

                 As stated in the final EIS, recreational fishing activities could be affected by
         construction and operation of the LNG terminal due to increased noise, restrictions on
         fishing in the immediate vicinity of the LNG terminal, and LNG and barge vessel
         traffic.280 Given that a majority of the communities within the study area are considered
         environmental justice communities, recreational and subsistence fishing users of the area
         waterbodies, likely include individuals from environmental justice communities,
         particularly the communities located nearby in Census Tract 142.02, Block Group 2 and
         Census Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census
         Tract 123.05, Block Group 1. About 1.5 miles of the 17-mile-long shoreline of the
         channel would be developed for the LNG terminal site.281 Construction activities at the
         LNG terminal would not restrict fishing access to bays in the project area or the Gulf of
         Mexico. Fishing along the eastern bank of the Bahia Grande Channel on the LNG
         terminal site would be prohibited during construction.282 Nevertheless, fishing
         opportunities would still exist along the remainder of the undeveloped channel shoreline,
         as well as in nearby public areas, including the south end of Bahia Grande.283 Permanent
         impacts on recreational and subsistence fishing by individuals from environmental justice
         communities may occur due to the loss of available fishing areas from operation of the
         marine facilities and LNG carrier traffic. Based on Commission staff’s updated
         environmental justice analysis, we conclude that recreational and subsistence fishing
         impacts on environmental justice communities associated with construction and operation
         of the LNG terminal would occur, but due to the overall size of the waterway and
         additional available recreational and subsistence fishing opportunities in the area, impacts
         would not be significant.

                Environmental justice communities in the study area would experience cumulative
         impacts on fishing, including recreational and subsistence fishing due to delays for
         fishing vessels from the project operation and LNG vessel traffic along with additional

                279
                      Final EIS at 4-430.
                280
                      Id. at 4-219 to 4-220.
                281
                      Id. at 4-237.
                282
                      Id. at 4-219.
                283
                      Id. at 4-237.
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        impacts from the project within the cumulative geographic scope for recreational and
        subsistence fishing;284 however, impacts with the addition of the project would be less
        than significant. Due to the overall size of the waterway and additional available
        recreational and subsistence fishing opportunities in the area, we further conclude that the
        cumulative recreational and subsistence fishing impacts on environmental justice
        communities would be less than significant.

                                               (c)   Tourism

                 Overall, the final EIS found that construction and operation of the projects could
         impact local tourism relating to beach and water-front activities; visiting state, local, and
         national parks; or wildlife viewing. For the Rio Grande LNG Terminal, the final EIS
         found that construction and operation of the site would impact local tourism through an
         increase in noise, changes in the visual landscape (including additional vessels and
         increased sedimentation in the Brownsville Ship Channel), and heavier traffic along
         SH-48.285 Although some visual and noise impacts may be experienced by beachgoers,
         bird-watchers, tour-operators, and other visitors, those impacts are expected to occur only
         in the immediate vicinity of the LNG terminal site.286 Given the extent of tourism areas
         (including birding watching areas, National Wildlife Refuges, National Historic
         Landmarks, and beaches) and the distance between the recreational portions of the areas
         and the LNG terminal site, we do not expect that either construction or operation would
         significantly impact tourism at these locations.287 Waterborne tourism (e.g., fishing,
         charter, and tour boats), in portions of South Bay, the Zapata boat launch, and within the
         Bahia Grande would likely experience moderate increases in ambient noise during certain
         construction activities at the LNG terminal. Although changes to the visitation patterns
         immediately adjacent to the LNG terminal could occur, they would not likely change the
         total number of visits to the general project area. In addition, boaters may experience
         minor impacts resulting from potential delays in launching fishing, charter, and tour boats
         during periods of LNG carrier transit.288

                Given the number of tourism opportunities in the project area, tourists may go to
         other sites so that visitation patterns may change, but the number of visits to the project

                284
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
                285
                      Final EIS at 4-216.
                286
                      Id.
                287
                      Id. at 4-214 to 4-219.
                288
                      Id. at 4-216.
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        area would likely not change. Given the availability of recreational opportunities further
        from the facility sites, the final EIS concluded that a decrease in visits was not
        anticipated;289 therefore, based on Commission staff’s updated environmental justice
        analysis, we conclude that impacts on environmental justice communities associated with
        tourism (e.g., loss of revenue or jobs related to tourism) would not be significant.

                Environmental justice communities in the study area would experience cumulative
         impacts on tourism from the LNG terminal project,290 as previously described, along with
         additional impacts from the projects within the cumulative geographic scope for
         tourism;291 however, tourism impacts with the addition of the project would be less than
         significant. Given the availability of recreational opportunities further from the LNG
         terminal facility site, we further conclude that the overall cumulative tourism impacts on
         environmental justice communities would be less than significant.

                                              (d)   Socioeconomics

               As stated in the final EIS, construction of the Rio Grande LNG Terminal would
        require an average monthly construction workforce of 2,950 workers (peak of
        5,225 workers) over the seven year construction period; Rio Grande anticipates that a
        portion of these workers would be hired locally and the remainder would be non-local.292
        Rio Grande anticipates that 108 non-local workers would be employed at the LNG
        terminal during operation. This addition of 108 families would represent a negligible
        increase in the local population.293

                During construction and operation, the temporary influx of workers/contractors
         into the area could increase the demand for community services, such as schools, police
         enforcement, and medical care, as well as housing.294 As stated in the final EIS, impacts
         on community services would be less than significant.295 In addition, an adequate

               289
                     Id. at 4-218 to 4-219.
               290
                     Id. at 4-467.
               291
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
               292
                     Final EIS at 4-207 to 4-208.
               293
                     Id. at 4-227.
               294
                     Id. at 4-226 to 227.
               295
                     Id. at 4-227.
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        number of housing units are available in the affected area; therefore, impacts on the local
        housing market would be less than significant.296 Based on Commission staff’s updated
        environmental justice analysis, we conclude that the socioeconomic impacts on
        environmental justice communities, due to an increased demand for community services
        and housing, would be less than significant.

                 Environmental justice communities in the study area would experience cumulative
         impacts on socioeconomic resources from the LNG terminal project, as previously
         described, along with additional impacts from the projects within the cumulative
         geographic scope for socioeconomic resources;297 however, socioeconomic impacts with
         the addition of the project would be less than significant.298 Given that community
         facilities would continue to operate adequately and the availability of housing units in the
         affected area, we further conclude that the cumulative socioeconomic impacts on
         environmental justice communities would be less than significant.

                                             (e)   Road Traffic

                The final EIS finds that area residents may be affected by traffic delays during
         construction of the Rio Grande LNG Terminal.299 As all but seven block groups are
         considered environmental justice communities, these traffic impacts would fall on
         individuals from environmental justice communities. Up to 5,225 workers would be
         present onsite during construction of the LNG terminal; Rio Grande has estimated that
         4,600 roundtrips (9,200 individual transits) would occur between the LNG terminal site
         and worker housing/parking areas.300 Vehicular traffic associated with these workers
         would result in considerable increases in local traffic, specifically along SH-48.301 These
         impacts would most likely affect environmental justice communities near the LNG
         terminal site, such as Census Tract 142.02, Block Group 2 and Census Tract 127, Block
         Group 2, Census Tract 123.04, Block Group 4, and Census Tract 123.05, Block Group 1.



                296
                      Id. at 4-225.
                297
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
                298
                      Final EIS at 4-463.
                299
                      Id. at 4-237.
                300
                      Id. at 4-228.
                301
                      Id.
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        Nevertheless, traffic levels would remain well within the capacity of the SH-48
        roadway.302

                 Rio Grande’s proposed use of the Port of Brownsville Temporary Storage/Parking
         Area (Census Tract 142.02, Block Group 2) and Port Isabel Temporary Storage Area
         (Census Tract 123.04, Block Group 4) would reduce traffic to the LNG terminal, and
         traffic levels would continue to remain well within the capacity of SH-48.303 In addition,
         Rio Grande has coordinated with the Texas Department of Transportation and agreed to
         implement the following mitigation measures: add an additional left-turn lane on
         westbound SH-48 at its intersections with SH-100 and at each LNG terminal driveway;
         optimize traffic signal timing at the intersection of SH-48 and SH-100; provide an
         acceleration and deceleration lane at each LNG terminal driveway intersection; provide
         temporary traffic signals at each LNG terminal driveway; create median openings across
         from LNG terminal driveway 1; create a temporary median opening on SH-48 across
         from any temporary offsite parking site, including the proposed Port of Brownsville
         temporary storage/parking area, and install a temporary traffic signal; schedule deliveries
         of construction materials to avoid the expected arrival and departure of the workforce;
         and stagger shifts to avoid all workers arriving and leaving at the same time, if congestion
         occurs at the LNG terminal driveways.304 Additionally, Rio Grande proposed to hire
         off-duty police officers to direct traffic during peak commuting hours and install roadway
         warning signs to notify travelers of construction activities.305 Based on Commission
         staff’s updated environmental justice analysis, and given the maintenance of Level of
         Service C or better and with the implementation of mitigation measures, we conclude that
         the traffic impacts on environmental justice communities associated with construction of
         the LNG terminal would be less than significant.

                Environmental justice communities in the study area would experience cumulative
         impacts associated with road traffic from the LNG terminal project, as previously
         described, along with additional impacts from the projects within the cumulative
         geographic scope for traffic;306 however, the impacts with the addition of the project


                302
                      Id. at 4-228.
                303
                 Rio Grande August 22, 2022 Response to Commission staff’s August 16, 2022
         Environmental Information Request at 24.
                304
                      Id. at 26.
                305
                      Id.
                306
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
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        would be less than significant.307 Based on Commission staff’s updated environmental
        justice analysis, we conclude that the overall cumulative road traffic impacts on
        environmental justice communities would be less than significant.

                                             (f)    Marine Traffic

                According to the final EIS, over the seven year construction period for the
         Rio Grande LNG Terminal, Rio Grande anticipates about 880 barge deliveries for the
         LNG terminal site, with marine deliveries at the highest level during the first five years of
         construction (approximately 15 times per month).308 Although these additional trips
         would represent an increase of about 25% in current barge traffic, they would not result
         in significant impacts on the channel, as the barges would not block small vessel traffic,
         the pilots and the Brownsville Harbor Master would manage commercial vessel traffic,
         and the additional vessels would not result in an exceedance of the channel’s traffic
         capacity.309 Therefore, based on Commission staff's updated environmental justice
         analysis, we conclude that users of the channel from environmental justice communities
         would not be significantly impacted during construction.

                According to the final EIS, permanent, increases in marine traffic within the
         Brownsville Ship Channel would occur as the addition of six LNG carriers per week
         would double the current volume of large vessel traffic within the Brownsville Ship
         Channel; however, the U.S. Coast Guard has determined that the waterway is suitable for
         project use. 310 Additionally, increased LNG vessel traffic during construction and
         operation could increase shoreline erosion and suspended sediment concentrations due to
         increased wave action.311 To minimize these impacts, Rio Grande proposes to stabilize
         the channel embankments and slope of the LNG terminal site along the Brownsville Ship
         Channel, the marine loading berths, and the turning basin using rip-rap.312 Rio Grande’s
         mitigation of these impacts are required by the Commission’s authorization. Based on
         Commission staff’s updated environmental justice analysis, we conclude that recreational


                307
                      Final EIS at 4-465.
                308
                      Id. at 4-231.
                309
                      Id.
                310
                      Id. at ES-11.
                311
                      Id. at ES-5.
                312
                   Id. at ES-5. Rip-rap is human-placed rock or other material used to protect
         shoreline structures against scour and water, wave, or ice erosion.
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        boaters and fishers, which include individuals from environmental justice communities,
        would not experience significant changes in marine traffic.

                 Environmental justice communities in the study area would experience cumulative
         impacts associated with marine traffic from the LNG terminal project, as previously
         described, along with additional impacts from the projects within the cumulative
         geographic scope for traffic;313 however, the impacts with the addition of the project
         would be less than significant.314 Based on Commission staff’s updated environmental
         justice analysis, we conclude that the overall cumulative marine traffic impacts on
         environmental justice communities would be less than significant.

                                            (g)    Air Quality

                 Sierra Club and Texas RioGrande Legal Aid, Inc. comment that the Commission’s
         new analysis continues to improperly analyze the impacts of the Rio Grande LNG Project
         on environmental justice communities. Specifically, the commenters argue that: (1) Rio
         Grande’s modeling “arbitrarily applied” the same background concentration within each
         census block group within the 50 kilometer radius of the Rio Grande LNG Terminal
         fenceline; (2) Rio Grande improperly used the significant impact level to determine
         whether a project causes or contributes to exceedances of the NAAQS; (3) the emissions
         from the Rio Grande facility will have disproportionately high and adverse impacts on
         environmental justice communities; and (4) the Commission must explain why Rio
         Grande’s maximum modeled concentration tables are “significantly less” than Texas
         LNG’s modeled maximum concentrations, which “defies logic” given the “vast
         difference” in the quantity of emissions potentially emitted from the respective
         facilities.315

                 Commission staff’s January 6, 2023 Environmental Information Request asked
         Rio Grande and Texas LNG to collaborate to resolve any discrepancies in the modeling
         and ensure consistency in modeling methodologies used. Rio Grande and Texas LNG
         have now applied a consistent approach for determining the maximum concentrations
         attributable to the operation of the Rio Grande LNG Terminal and Texas LNG Terminal,
         and therefore, a consistent methodology to assess the cumulative air quality impact,
         including background concentrations from mobile ship emissions and all other sources



               313
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
               314
                     Final EIS at 4-466.
               315
                     Sierra Club et al. October 19, 2022 Comments.
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        within 50 kilometers, from simultaneous operation of both terminals.316 These findings
        are detailed below.

                                                    (1)   Construction Emissions

                As discussed in the final EIS, construction of the Rio Grande LNG Terminal
         would impact air quality.317 The construction emissions are anticipated from operation of
         construction equipment, operation of the onsite concrete batch plants, deliveries of
         supplies by barge and truck, worker commutes, and land disturbance. Fugitive dust
         emissions would include contributions from general site construction work (acreage
         impacted), earth-moving fugitive dust emissions (quantity of soil moved), and unpaved
         road travel (distance of travel and weight of vehicles). Fugitive dust would be produced
         primarily during the site preparation activities, when the site would be cleared of debris,
         leveled, and graded, including at proposed offsite facilities.318

                The final EIS determined that construction air emissions from the LNG terminal,
         when considered with background concentrations, combined with staged emissions
         impacts from commissioning, start-up, and operations of the LNG terminal, could result
         in an exceedance of the NAAQS in the LNG terminal vicinity for construction years
         when these emissions are taking place concurrently.319 Emissions from construction tend
         to be variable, depending primarily on the number, type, horsepower, and manufacture
         date of equipment, as well as the phase of construction. Construction emissions typically
         have a greater nearby impact due to the lower height of the exhaust, and the ground level
         emission from dust (as PM2.5 and PM10). Therefore, emissions from construction of the
         Rio Grande LNG Terminal would be highly localized and have the largest impact within

                316
                 Rio Grande January 27, 2023 Response to Commission staff’s January 6, 2023
         Environmental Information Request.
                317
                   We note that as part of the remand proceeding, Commission staff issued data
         requests to Rio Grande and Rio Bravo to provide updated construction and operational
         emission estimates for the Rio Grande LNG Terminal and Rio Bravo Pipeline Project (as
         amended), respectively. As indicated in these responses, the updates corrected “a
         mathematical error in a previous calculation.” Although these updates have changed the
         estimated emissions for both projects, we confirm that Kleberg, Jim Wells, Kenedy,
         Willacy, and Cameron counties, within which the terminal and pipeline construction
         would occur, remain in attainment for all NAAQS pollutants. Therefore, as the final EIS
         and Amendment Project EA previously concluded, general conformity requirements do
         not apply to emissions from the projects’ construction.
                318
                      Final EIS at 4-256 & 4-257.
                319
                      Id. at 4-269.
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        a short radius around the LNG terminal construction footprint, but would disperse at
        further distances. Because pollutant concentrations decrease with distance, the dispersal
        of Rio Grande’s construction emissions at the distance of the nearest residences
        (approximately 2.2 miles away) should not result in adverse impacts on air quality. But
        construction emissions could be elevated at recreational areas near the LNG terminal site,
        such as the Laguna Atascosa National Wildlife Refuge, which has a border 211 feet north
        of the LNG terminal.320

                 Rio Grande will implement the following measures to minimize construction
         combustion emissions: use bus transportation where feasible for worker commutes, limit
         engine idling of heavy equipment to less than five minutes to the extent practicable, use
         recent models of construction equipment, and conduct regular inspections and emissions
         testing of construction vehicles. Fugitive dust emissions will be minimized by
         Rio Grande through implementation of the Fugitive Dust Control Plan developed for the
         LNG terminal.321 Nevertheless, these fugitive dust emissions may still have an adverse
         impact and may add to evaluated levels of PM2.5 and PM10 during periods where terminal
         construction, commissioning, and operation are concurrent. Additionally, commissioning
         activities are not steady-state operations and they can have an increased emission
         intensity during start up.

                 Rio Grande plans to commission and begin operations on the first completed
         liquefaction facilities while it continues to construct the remaining facilities; the
         simultaneous construction, commissioning and start-up, and operations at the project will
         result in periods of overlapping construction and operational emissions. As a result,
         Commission staff cannot exclude the possibility of short-term ambient emission
         concentrations of PM2.5, PM10, and NO2 at levels above the NAAQS at nearby public
         recreational areas, such as the Laguna Atascosa National Wildlife Refuge. As such, to
         prevent such occurrences, we are requiring, in Environmental Condition 144 in
         Appendix A of this order, that Rio Grande take action to ensure that concurrent emissions
         during construction, commissioning and start-up, and operation of terminal facilities
         would not exceed the NAAQS.

                Prior to commissioning, Rio Grande shall prepare and file a Project Ambient Air
         Quality Mitigation and Monitoring Plan for reducing the air quality impacts of
         overlapping construction, commissioning, and terminal operations. Such plan could
         include measures such as revising construction and commissioning schedules to reduce
         impacts. Rio Grande shall also include how it will monitor 1-hour NO2, 24-hour PM10,
         and 24-hour PM2.5 during this period. The plan must describe the site selection process


               320
                     Id. at 4-98.
               321
                     Id. at 4-258 & 4-271.
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        for installing air quality monitors, and include procedures for data management and
        reporting. This monitoring will ensure that the mitigation measures implemented are
        effective in keeping emissions below the NAAQS, as specified in 40 C.F.R. pt. 50
        (2022).

                Based on Commission staff’s updated environmental justice analysis, and the
         addition of Environmental Condition 144 in Appendix A of this order, we conclude that
         air quality impacts on environmental justice communities during construction of the
         Rio Grande LNG Terminal would be less than significant.

                                                   (2)    Operational Emissions

                The final EIS concluded that modeled concentrations from operation of the
         Rio Grande LNG Terminal including mobile sources and all six originally proposed
         liquefaction trains, would not cause or significantly contribute to an exceedance of the
         NAAQS.322

                 On August 13, 2020, the Commission-approved Rio Grande LNG Terminal design
         modifications including a reduction in the number of liquefaction trains from six to
         five trains.323 This modification resulted in a reduction in potential emission rates from
         the operation of the Rio Grande LNG Terminal, which is discussed in more detail below.

                                                   (3)    Cumulative Construction and
                                                          Operation Emissions

                Sierra Club and other commenters expressed concerns about general adverse
         health impacts (including asthma) from air emissions from the Rio Grande LNG
         Terminal and Texas LNG Terminal, including impacts on Vecinos para el Bienestar de la
         Comunidad Costera. Numerous commenters state that if both terminals were built, each
         would release toxic pollution that causes cancer, including volatile organic compounds,
         and particulate matter, which makes respiratory illnesses worse in South Texas
         communities that don’t have access to medical care. An updated refined air quality
         analysis for the cumulative impact of emissions from the Rio Grande LNG Terminal and
         Texas LNG Terminal is discussed above.

                 The greatest potential for cumulative construction emissions impacts between the
         Rio Grande LNG and Texas LNG Terminals would be during construction years 2 and 3.
         Simultaneous construction of the Rio Grande LNG and Texas LNG Terminals could
         result in a temporary, moderate to major increase in emissions of criteria pollutants in the

                322
                      Final EIS at 4-266.
                323
                      Commission staff August 13, 2020 Approval of Design Change Proposals.
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        immediate vicinity of the LNG terminal sites.324 In addition, transport of construction
        materials associated with the Rio Grande LNG and Texas LNG Terminals would
        cumulatively add to regional emissions.325 Both Texas LNG and Rio Grande would
        implement similar mitigation measures to minimize construction impacts. As noted
        above, construction emissions are localized, and impacts would be greatest in the
        immediate vicinity of the LNG terminal sites. During the time period when construction
        and operational activities at both facilities are taking place concurrently, there may be
        adverse impacts on air quality.326 Because pollutant concentrations would decrease with
        distance from the project site, concurrent emissions would be unlikely to adversely
        impact air quality in residential areas, which are located 2.2 miles away or further.327 As
        previously described, although residential areas would not likely experience adverse air
        quality impacts, individuals from environmental justice communities fishing or otherwise
        recreating near the terminal may experience adverse air quality impacts. As discussed
        above, we are requiring Rio Grande to prepare a Project Ambient Air Quality Monitoring
        and Mitigation Plan as Environmental Condition 144 in Appendix A of this Order, and a
        similar plan for Texas LNG; thus, we conclude that cumulative construction air quality
        impacts on environmental justice communities would be less than significant.

                In order to assess the cumulative impact of air emissions from the LNG terminal
        on the air quality in environmental justice communities, Commission staff requested that
        Rio Grande provide a cumulative air model of the emissions that accounts for the
        Amendment Project and the elimination of one of the originally proposed six LNG trains,
        and emissions for existing and currently proposed sources within 50 kilometers of the
        LNG terminal, including the Texas LNG Terminal. The model, which used the current
        version of EPA’s American Meteolorogical Society/EPA Regulatory Model (AERMOD),
        provided worst-case concentration scenarios that were then compared to the
        NAAQS. The cumulative model included all emissions from the LNG terminal,
        including mobile ship emissions (LNG carrier, tugs, escort vessels), relevant regional
        monitoring ambient background data, and existing and proposed regional industrial major
        sources within 50 kilometers of the LNG terminal’s fenceline boundary. The model also
        included emissions from the planned Texas LNG Terminal (Docket No. CP16-116-000)
        and its associated vessel emissions. The background inventory data were obtained from
        the Texas Commission on Environmental Quality.


               324
                 Final EIS at 4-473. We note that since issuance of the final EIS, the proposed
         Annova LNG Project, included in the cumulative impact analysis, is no longer proposed.
               325
                     Id.
               326
                     Id. at 4-269.
               327
                     Id.
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                Table 1 shows the results from the cumulative model for the worst-case scenario
         (hoteling scenario which includes combined operation of LNG terminal, LNG vessel, and
         tugboat sources). The highest predicted total concentrations for carbon monoxide (CO),
         nitrogen dioxide (NO2), particulate matter with an aerodynamic diameter less than or
         equal to 2.5 microns (PM2.5), particulate matter with an aerodynamic diameter less than
         or equal to 10 microns (PM10), and sulfur dioxide (SO2) were found to be below the
         NAAQS at all locations within 50 kilometers of the LNG terminal. In addition, the
         maximum radius of impact for the 1-hour NO2 averaging period was found to be
         12.8 kilometers. The Rio Grande LNG Terminal would add to existing background
         concentrations of criteria air pollutants within the regional airshed and would contribute
         to cumulative impacts. Nevertheless, the total concentration of background plus modeled
         emissions from cumulative sources within this 50-kilometer radius, including both the
         Texas LNG and Rio Grande LNG Terminals, would remain under applicable NAAQS
         thresholds, which are meant to protect sensitive populations. The Rio Grande LNG
         Terminal would not result in significant impacts on air quality in the region, nor would
         the Rio Grande LNG Terminal by itself cause an exceedance of any NAAQS.


                                               Table 1
                          Results of Cumulative Impact Air Modeling Analysis
                           Averaging
            Pollutant                                    micrograms per cubic meter (µg/m3)
                            Period
                                                                                           Total
                                                                                         Maximum
                                                               Model
                                                                                       Model Design
                                   Facility     Offsite      (Facility +  Background
                                                                                       Concentration NAAQS
                                 Contribution Contribution    Offsite)   Concentration
                                                                                        within any
                                                           Concentration
                                                                                       Census Block
                                                                                          Group
                        1-hour     0.0213        4,304        4,304          3,779            8,083    40,000
           CO           8-hour      0.018        2,792        2,792          2,176            4,968    10,000
                        1-hour      0.002       106.62        106.62          47.0            153.62    188
          NO2          Annual       0.077        2.58          2.66           3.8              6.46     100
          PM10         24-hour    0.00091        47.59        47.59           60.0            109.59    150
                       24-hour    0.00054        6.33          6.33           28.0            34.33      35
          PM2.5        Annual      0.0071        2.16          2.17           9.7             11.87      12
                        1-hour     0.0011       102.63        102.63          13.1            115.73    196
           SO2          3-hour     0.0011        87.98        87.99           13.1            101.09   1,300



                To account for the Rio Grande LNG Terminal’s current design, Rio Grande
         performed ozone modeling to update the results presented in the final EIS.328 Rio Grande
         calculated secondary impacts using updated estimated ozone emissions from the

                 328
                 Rio Grande November 2, 2022 Supplemental Information Response to
         Commission staff’s August 16, 2022 Environmental Information Request.
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        Rio Grande LNG Terminal following EPA’s current Modeled Emission Rates for
        Precursors guidance and associated databases and estimated the ozone concentration
        associated with the operation of the Rio Grande LNG Terminal to be 1.62 parts per
        billion (ppb). Following Texas Commission on Environmental Quality guidance, this
        estimated impact was added to the existing background ozone concentration of 57 ppb,
        measured at the Harlingen Teege air monitoring station for the years 2018, 2019, and
        2020, which is representative of the Rio Grande LNG Terminal area.329 When the
        estimated project impact of 1.62 ppb is added to the existing ozone concentrations, the
        cumulative impact is 58.6 ppb, which remains below the 8‐hour ozone NAAQS of
        70 ppb.

                Both the Texas LNG and Rio Grande LNG Terminals would be in compliance
         with the NAAQS during operations330 and NAAQS are designated to protect sensitive
         populations.331 The operation of the LNG terminal projects when combined with the
         other projects within the cumulative geographic scope for air quality332 would not cause
         or contribute to a potential exceedance of the NAAQS on a regional or localized basis,333

               329
                     Id.
               330
                  Air quality modeling of criteria pollutants for both LNG terminals reviewed
        impacts on a regional and local scale and did not identify any areas of NAAQS thresholds
        exceedance that would be attributable to the LNG terminals. See Rio Grande January 27,
        2023 Response to Commission staff’s January 6, 2023 Environmental Information
        Request at Rio Grande LNG Project Air Dispersion Modeling Report; Texas LNG
        January 30, 2023 Response to Commission staff’s January 6, 2023 Environmental
        Information Request at tbls. 9-5 & 9-6.
               331
                   The combustion of natural gas produces the criteria pollutants regulated by
         NAAQS as well as volatile organic compounds including hazardous air pollutant
         chemicals known to cause health impacts. Final EIS at 4-243. The Rio Grande LNG
         Terminal is a major source of hazardous air pollutants and must comply with the
         Clean Air Act National Emission Standards for Hazardous Air Pollutants for stationary
         sources at the LNG terminal. The Texas LNG terminal is a minor source of hazardous air
         pollutants and is required to comply with certain general provisions for minor area
         sources under the Clean Air Act.
               332
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
               333
                   See Rio Grande January 27, 2023 Response to Commission staff’s January 6,
         2023 Environmental Information Request at Rio Grande LNG Project Air Dispersion
         Modeling Report; Texas LNG January 30, 2023 Response to Commission staff’s
         January 6, 2023 Environmental Information Request at tbls. 9-5 & 9-6.
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        and therefore would not result in significant adverse air quality impacts on environmental
        justice communities in the region.

                                            (h)   Noise

                 As stated in the final EIS, noise levels above ambient conditions, attributable to
         construction activities, would vary over time and would depend upon the nature of the
         construction activity, the number and type of equipment operating, and the distance
         between sources and receptors.334 The closest noise sensitive areas (NSA) to the Rio
         Grande LNG Terminal located within environmental justice communities are: NSA 1, a
         residence, about 4.3 miles southeast of the center of the LNG terminal site (Census
         Tract 127 Block Group 2); NSA 2, Port Isabel High School, which is adjacent to the
         Laguna Heights residential area, located about 3.7 miles northeast of the center of the
         LNG terminal site (Census Tract 123.04, Block Group 4); NSA 3, residences in Port
         Isabel, about 3.7 miles northeast of the LNG terminal site (Census Tract 123.04 Block
         Group 4); and NSA 4, residences on Long Island, about 3.8 miles east of the center of the
         LNG terminal site (Census Tract 123.05 Block Group 1). 335

                Based upon the construction noise estimates provided by Rio Grande, the
         maximum noise levels generated by construction activities would increase the existing
         daytime noise at the nearest NSAs; however, with the exception of construction at
         NSA 2, combined ambient and construction sound levels would not exceed a day-night
         sound level (Ldn) threshold of 55 A-weighted decibels (dBA).336 The human ear’s
         threshold of perception for noise change is considered to be 3 dBA; 6 dBA is clearly
         noticeable to the human ear; and 10 dBA is perceived as a doubling of noise.337 The
         increased sound from construction at NSA 2 would be less than 3 dB, and therefore
         would not be perceptible. The final EIS included a recommendation (which was included
         as a mandatory condition of the Authorization Order) to address the potential for
         pile-driving activities to exceed the 55 dBA Ldn threshold at the NSAs.338 Nevertheless,
         due to the predicted 0.2 to 5.4 dB increases estimated during construction, the final EIS

               334
                     Final EIS at 4-282.
               335
                     Id. at 4-197.
               336
                     Id. at 4-292.
               337
                     See Bies and Hansen, Engineering Noise Control: Theory and Practice
         at tbl. 2.1 (1988), https://www.semanticscholar.org/paper/ENGINEERING-NOISE-
         CONTROL%3A-Theory-and-Practice-Bies-
         Hansen/23a7741e61d5b42d7da770b857054a50f1380648 (last visited March 2023).
               338
                     Final EIS at 4-292.
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        concluded that impacts on nearby residents within environmental justice communities
        would be less than significant during construction of the LNG terminal.339

                 Operational noise associated with the LNG terminal would be persistent and
         would increase noise levels over ambient between 0.1 and 0.4 dB at the closest NSAs. 340
         Based on these estimates, the noise generated by the operation of the LNG terminal is not
         likely to exceed the 3 dBA threshold for human perception of noise change at nearby
         NSAs within environmental justice communities. In addition, as recommended in the
         final EIS,341 Environmental Conditions 35, 36, and 37 in the Authorization Order require
         Rio Grande to meet sound level requirements. Based on Commission staff’s updated
         environmental justice analysis, Rio Grande’s estimate that operation of the LNG terminal
         will not result in a perceptible increase in sound levels at the nearest NSAs, and given the
         requirements in the Authorization Order for measurement of operational sound levels, we
         conclude that the project would not result in significant noise impacts on local residents
         and the surrounding communities,342 including environmental justice populations.

                Environmental justice communities in the study area would experience cumulative
         impacts associated with noise from the Rio Grande LNG Terminal, as previously
         described, along with additional impacts from the projects within the cumulative
         geographic scope for noise, particularly cumulative impacts related to construction of the
         Texas LNG Terminal.343 The construction and operation of the Rio Grande LNG
         Terminal and Texas LNG Terminal would not result in significant noise impacts on local
         residents and the surrounding communities, including environmental justice populations.
         As stated in the final EIS regarding nighttime construction noise, the only 24-hour
         construction proposed at the Rio Grande LNG Terminal would be dredging, and
         concluded that the estimated sound level from dredging associated with the Rio Grande
         LNG Terminal at the nearest NSAs would be below existing ambient sound levels, and
         noise associated with dredging activities is not expected to be perceptible.344 The final

                339
                      Id.
                340
                      Id. at 4-293.
                341
                      Id. at 5-31 to 5-32.
                342
                      Id. at 4-296.
                343
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
                344
                    We note that the final EIS found that the Annova LNG Project’s nighttime
         pile-driving would result in significantly higher noise levels resulting in significant
         cumulative noise impacts if the Annova LNG Project was constructed concurrent with the
         Rio Grande LNG Terminal’s nighttime dredging activities. Nevertheless, as noted above,
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        EIS determined that the predicted sound level impacts for simultaneous operation of all
        three LNG projects (Rio Grande LNG, Texas LNG, and Annova LNG) are much lower
        than the construction impacts, with potential sound level increases between 0.3 and
        1.5 dBA Ldn at NSAs, resulting in a negligible to minor cumulative impact. Based on
        Commission staff’s updated environmental justice analysis, we conclude that the overall
        cumulative noise impacts on environmental justice communities would be less than
        significant.

                                             (i)    Safety

                The Energy Policy Act of 2005 amended the NGA to require Emergency
         Response Plans and Cost Sharing Plans to be developed by the LNG terminal operator.
         During an incident, response decisions would be made by local emergency responders
         according to conditions as they exist at that time at the facility and in offsite areas. While
         the company may provide advice regarding hazards and potential impacts to the public,
         the emergency responders direct all response tactics, evacuation, sheltering in place, and
         public notification through an Incident Command System.

                In order to further mitigate potential offsite risks,345 Environmental Conditions 53
         and 54 of the Authorization Order require Rio Grande to prepare an Emergency Response
         Plan and Cost Sharing Plan,346 to be approved by Commission staff before Rio Grande
         may receive final approval to begin construction.347 Rio Grande’s Emergency Response

         the authorization for the Annova LNG Project has been vacated, and the Rio Grande
         LNG Terminal’s contribution to cumulative nighttime construction noise would be
         negligible.
                345
                    The Emergency Response Plans are considered the last layer of protection in a
         series of layers of protection evaluated by Commission staff to mitigate potential offsite
         risks. An evaluation of all layers of protection and recommendations to enhance the
         effectiveness and reliability of those safety layers of protection are described in the
         original final EIS. These recommendations were adopted as conditions in the
         Authorization Order.
                346
                  Rio Grande filed an initial Emergency Response Plan and Cost Sharing Plan on
         November 25, 2019, and responses to Commission staff’s data requests on January 22,
         2020, January 27, 2020, and February 14, 2020. In addition, Rio Grande filed updates to
         the Emergency Response Plan on February 20, 2021, November 19, 2021, and May 20,
         2022. These updates included administrative updates, emergency contact updates,
         language and figure revisions that incorporate terminal layout updates, cost-sharing plan
         development updates, and public education and notification materials updates.
                347
                      See 15 U.S.C. § 717b-1(e).
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        Plan is required to be developed in coordination with U.S. Coast Guard, state, county,
        and local emergency planning groups; fire departments; and state and local law
        enforcement. This ensures that Rio Grande works with the local emergency providers to
        identify resource needs based on the hazards that could be present due to the facility. The
        result is pre-incident planning to establish procedures, training, and capabilities that
        would be available to the Incident Commander as they decide how best to address a
        specific incident.

               In response to Commission staff’s data requests on potential safety impacts to
        environmental justice communities, Rio Grande evaluated potential impacts from
        incidents identified along the LNG marine vessel transit route and at the LNG terminal,348
        including potential impacts to individuals with access and functional needs as defined in
        the National Fire Protection Association (NFPA) 1600, Standard on Continuity,
        Emergency, and Crisis Management349 and NFPA 1616, Standard on Mass Evacuation,
        Sheltering, and Re-Entry Programs.350 Separately, Commission staff performed an
        independent analysis351 of potential safety impacts on environmental justice communities
        using conservative, worst-case distances in the modeling assumptions.352 We adopt the
        proposed modified conditions in Appendix A as conditions of this order, which are
        summarized below.


               348
                 Rio Grande August 22, 2022 Response to Commission staff’s August 16, 2022
         Environmental Information Request.
               349
                  NFPA, NFPA 1600: Standard on Continuity, Emergency, and Crisis
         Management, https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-
         codes-and-standards/detail?code=1600 (last visited Jan. 2023).
               350
                  NFPA, NFPA 1616: Standard on Mass Evacuation, Sheltering, and Re-Entry
         Programs, https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-
         codes-and-standards/detail?code=1616 (last visited Jan. 2023).
               351
                 See app. C for additional discussion and details on Commission staff’s
         environmental justice safety analysis.
               352
                   The block groups located within environmental justice communities that
         exceed the thresholds for minority and low income would include Census Tract 142.02
         Block Group 2, Census Tract 127 Block Group 2, Census Tract 123.04 Block Group 2,
         Census Tract 123.04 Block Group 4 (based on the minority and low-income thresholds);
         Census Tract 123.04 Block Group 3 (based on the minority threshold); and Census
         Tract 123.04 Block Group 1 (based on low-income threshold). Minority and low-income
         population percentages for these Census Tract Block Groups are provided in tbl. C.1 of
         Appendix C.
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                In order to ensure Rio Grande’s Emergency Response Plan incorporates any
         special considerations and pre-incident planning for infrastructure and public with access
         and functional needs, including environmental justice communities, and, at a minimum,
         be consistent with the recognized and generally accepted good engineering practices for
         evacuating and sheltering in place,353 we modify Environmental Conditions 53 and 54
         from the Authorization Order in Appendix A of this order. These modified conditions
         specify that Rio Grande’s Emergency Response Plan include public education material,
         including for environmental justice communities, that identifies potential hazards and
         impacts, steps for notification, proposed evacuation, routes, and shelter in place locations.
         The plan must also provide for first responder training, emergency command centers and
         equipment, and public communication methods and devices.354 We also require in
         Appendix A of this order that Rio Grande periodically disseminate public education
         materials and that they be made available in English and Spanish, consistent with
         Rio Grande’s proposal.355

                 We also clarify our expectation that certain Emergency Response Plan information
         be provided as public information. While the Commission has long required that certain
         plan contents be subject to public disclosure, this has been previously interpreted to mean
         the plan could be filed requesting privileged or CEII treatment and that the public could
         access this information through Freedom of Information Act procedures. We clarify the
         intent is for project sponsors to file certain Emergency Response Plan information as
         public so that surrounding communities are informed about the possible steps that an
         Incident Commander may require regarding notification, evacuation, and sheltering in
         place.




                353
                See app. C (citing NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470, and
         NFPA 475).
                354
                     A draft pamphlet was included in Rio Grande’s May 20, 2022 filing and
         provides information on LNG hazards, response planning, communication methods,
         evacuation routes, and shelter/muster locations should an evacuation be necessary. In
         compliance with the Authorization Order, Rio Grande continues to notify Commission
         staff of all planning meetings in advance and to report progress on the development of the
         Emergency Response Plan and Cost Sharing Plan at 3-month intervals.
                355
                    Rio Grande’s May 20, 2022 and September 15, 2022 responses to Commission
         staff data requests state that Rio Grande continues to develop and finalize its community
         outreach and emergency response pamphlet and once complete, the final pamphlet would
         be available to the public in English and Spanish.
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                                               (j)    Visual Impacts

                 As stated in the final EIS, impacts on visual resources may occur during
         construction of the Rio Grande LNG Terminal when large equipment, excavation
         activities, spoil piles, and construction materials are visible to local residents and visitors,
         including individuals from environmental justice communities,356 particularly the
         communities located nearby in Census Tract 142.02, Block Group 2 and Census
         Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census
         Tract 123.05, Block Group 1.

                 Impact on visual resources would also occur during operation to the extent that
         facilities or portions of facilities and their lighting are visible to residents and visitors. 357
         The existing viewshed of the proposed LNG terminal site includes predominately open
         land with scrub-shrub vegetation with the Brownsville Ship Channel and SH-48 framing
         the southern and northern site boundaries.358 The Port of Brownsville and the
         Brownsville Ship Channel support the movement of domestic and foreign products,
         which included about 7.6 million metric tons of cargo with over 1,050 vessel-calls in
         2014.359 As such, the movement of these vessels contributes to the characterization of the
         existing viewshed.360 Visual receptors in the vicinity of the LNG terminal site would
         include individuals from environmental justice communities, particularly the
         communities located nearby in Census Tract 142.02, Block Group 2 and Census
         Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census
         Tract 123.05, Block Group 1, including recreational and commercial users of the
         Brownsville Ship Channel, motorists on SH-48, and visitors to the Laguna Atascosa
         National Wildlife Refuge, and other nearby recreation areas.361 The closest residential
         areas to the LNG terminal within an environmental justice community are about 2.2 miles
         away from the Rio Grande LNG Terminal lease boundary. Given the LNG terminal
         site’s proximity to residential areas, it would be possible to see the LNG terminal from
         some vantage points in Port Isabel and Laguna Heights, in particular elevated sites such
         as the Port Isabel Lighthouse; however, the distance to the LNG terminal site limits its


                356
                      Final EIS at 4-198.
                357
                      Id.
                358
                      Id.
                359
                      Id.
                360
                      Id.
                361
                      Id. at 4-198 to 4-199.
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        visibility and as such it would not be a prominent feature in the viewshed for these
        residences.362

                 Rio Grande has developed mitigation measures that would reduce day and
         nighttime visibility of the aboveground facilities at the LNG terminal site, including the
         selection of grey tank coloring, horticultural plantings, and the construction of a levee
         that would obstruct most construction activities and low-to-ground operational facilities
         from view.363 Several light reduction techniques would also be implemented by
         Rio Grande including limiting the amount of outdoor lighting installed, dimming lights at
         night, and directing lights downward.364 Based on Commission staff’s updated
         environmental justice analysis, we continue to conclude that the LNG terminal project
         would not result in a significant impact on visual resources for residents and visitors in
         the immediate vicinity of the proposed LNG terminal site,365 which would include
         individuals from environmental justice communities. With regard to cumulative visual
         impacts, as stated in the final EIS, the physical facilities of the Rio Grande LNG
         Terminal would result in permanent and moderate changes in the existing viewshed for
         people when they are near the terminal.366 This includes individuals from environmental
         justice communities recreating near the Rio Grande LNG Terminal (e.g., Laguna
         Atascosa National Wildlife Refuges) as well as passersby traveling on SH-48. The final
         EIS concluded because the Texas LNG Terminal has the potential to result in significant
         visual impacts, that cumulative impacts on visual resources from the Rio Grande LNG
         Terminal, when considered with other projects, would be potentially significant.367 We
         have taken into account Commission staff’s updated environmental justice analysis, and
         we continue to conclude, cumulative impacts on visual resources, when considered with
         other projects within the cumulative geographic scope for visual resources, would be
         potentially significant.368



               362
                     Final EIS at 4-199.
               363
                     Id.
               364
                     Id. at 4-199 to 4-200.
               365
                     Id. at 4-202.
               366
                     Id. at 4-459.
               367
                     Id. at 4-459.
               368
                 We continue to reach this conclusion notwithstanding the fact that the cancelled
         Annova LNG project is no longer included in the cumulative analysis.
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                              b.     Rio Bravo Pipeline Project

                                     i.     Compressor Station, Meter Stations, and
                                            Contractor Yards

                 Commission staff’s updated analysis of impacts associated with Compressor
         Station 1, the meter stations and the contractor yards on the identified environmental
         justice communities addresses visual resources, air quality, and noise. Socioeconomic
         and traffic impacts associated with the meter stations and the contractor yards and
         pipeline are addressed in sections ii (e) and (f) below. No wetland, surface water, or
         recreational fishing impacts are associated with the meter stations and contractor yards.
         Cumulative impacts are discussed in section ii below.
                                            (a)    Aboveground Facility Impact Assessment
                                                   Areas

                                                   (1)    Compressor Station

                For the Rio Bravo Pipeline Project, Commission staff established a 50-kilometer
         radius around Compressor Station 1, located in Kleberg County, as the appropriate unit of
         geographic analysis for assessing project impacts on environmental justice communities.
         A 50-kilometer radius for Compressor Station 1 represents a conservative estimate of the
         furthest extent of likely construction and operational impacts on environmental justice
         communities, the furthest of which, as described below, would be associated with noise,
         estimated to not exceed one mile,369 and air quality, for which the furthest radius of
         impact for air quality is approximately 0.6 mile (1kilometer for this facility).370 Air



                369
                   The Guidance Manual for Environmental Report preparation requires an
         acoustical analysis identifying noise impacts from each new or modified compressor
         station within 1 mile of the compressor station. Commission Guidance Manual for
         Environmental Report Preparation for Applications Filed Under the Natural Gas Act
         at 4-132. The nearest noise sensitive area, a hunting lodge, is 5.5 miles to the west of
         Compressor Station 1. Amendment Application, Volume I at app. 2.B (Rio Bravo
         Compressor Station, Kleberg County, Texas: Results of an Updated Acoustical Analysis
         of the new Natural Gas Compressor Station associated with the Amended Rio Bravo
         Pipeline Project). Compressor Station’s noise contribution at one mile would be
         approximately 42 A-weighted decibels (dBA), and would remain in compliance with the
         Commission’s day-night sound level requirement of 55 dBA. Authorization Order,
         169 FERC ¶ 61,131 at Env’t Condition No. 38.
                370
                  Amendment Application, Volume I at 17 (Operation Impacts). In addition to
         emissions levels, factors that determine the radius of impact for a particular facility
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        emissions may further disperse outside this radius of impact; however, beyond the radius
        of impact, air emissions from Compressor Station 1371 would not contribute to adverse
        ambient air quality impacts and would be below the NAAQS.372 Commission staff
        identified 87 environmental justice community block groups within 50 kilometers of
        Compressor Station 1. Of those 87 environmental justice community block groups,
        40 have a minority population that either exceeds 50% or is meaningfully greater than
        their respective counties, one has a low-income population that exceeds the threshold,
        and 46 have both a minority population and a low-income population that exceed the
        respective thresholds.373
                                                   (2)    Meter Stations

                 For the three meter stations located in Kleberg County (Meter Stations HS1, HS2,
         and HS3), and Meter Station HS4 located in Jim Wells County, a one-mile radius around
         the meter station sites is sufficient given construction and operational impacts on
         environmental justice communities. Commission staff determined that a one-mile radius
         for the meter stations represents a conservative estimate of the furthest extent of impacts
         on environmental justice communities, the furthest of which would be associated with
         noise impacts.374 For Meter Stations HS1 and HS2 in Kleberg County, Commission staff
         did not identify environmental justice communities within the one-mile radius of
         analysis. Meter Station HS3 (Kleberg County) is not located within an environmental
         justice block group; Commission staff identified one environmental justice community
         block group within a one-mile radius of the site (Census Tract 9502.02, Block Group 2).
         Meter Station HS4, in Jim Wells County, is located within an environmental justice
         community (Census Tract 9502.02, Block Group 2). The one block group identified



         include the surrounding topography, atmospheric patterns, stack height, and the
         temperature and velocity of the flue gas.
                371
                     The modified Compressor Station 1 would consist of four 43,000-hp natural
         gas-driven turbines, two 55,000-hp electric motor-driven compressor units, one natural
         gas-driven fuel heater, and two natural gas-fired backup generators, and other ancillary
         facilities.
                372
                   Enbridge Rio Bravo Pipeline Company, LLC Environmental Report, Volume I,
         Section 2.1.5.2.3 Operational Impacts, Revised FEIS Table 4.11.1-17 Summary of Air
         Dispersion Modeling at Compressor Station 1 and Comparison to NAAQS.
                373
                      See app. B at tbl. 2.
                374
                      Final EIS at 4-301.
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        within the radius of analysis for Meter Station HS4 has a minority population that either
        exceeds 50% or is meaningfully greater than Jim Wells County.375
                                                   (3)   Contractor Yards

               For the three contractor yards associated with the Rio Bravo Pipeline Project,
        Commission staff determined that a 1-mile radius around the project sites is sufficient
        given construction and operational impacts on environmental justice communities. A
        one-mile radius for the contractor yards represents a conservative estimate of the furthest
        extent of impacts on environmental justice communities, the furthest of which would be
        associated with traffic impacts.

                 Contractor Yards 1, 2, and 3 are proposed for use by Rio Bravo during
         construction only and are located within environmental justice communities (Census
         Tract 9503, Block Group 1, Census Tract 9501, Block Group 1, and Census Tract 144.01,
         Block Group 1, respectively). For the Contractor Yard 1, Commission staff identified
         four environmental justice community block groups within a one-mile radius of the site
         (two based on both the minority threshold and 2 based on both the low income and
         minority thresholds). For the Contractor Yard 2, Commission staff identified one
         environmental justice community block groups within a one-mile radius of the site (based
         on both the low income and minority threshold). For the Contractor Yard 3, Commission
         staff identified seven environmental justice community block groups within a one-mile
         radius of the site (five based on both the minority threshold and 2 based on both the low
         income and minority thresholds).
                                             (b)   Visual Resources

                Compressor Station 1 would not be constructed within an environmental justice
         community; however, environmental justice communities are located within
         50 kilometers of the facility. Compressor Station 1 would not be visible from the closest
         NSA within an environmental justice community, approximately 5.5 miles away.
         Therefore, no visual impacts on environmental justice communities are anticipated.

                As previously mentioned, Rio Bravo will construct and operate two meter stations
        within environmental justice communities. One of the meter stations will be a standalone
        facility along the pipeline Header System in Jim Wells County, Texas. The other will be
        a gas custody transfer meter station collocated at the Rio Grande LNG Terminal in
        Cameron County, Texas. The meter station collocated at the Rio Grande LNG Terminal
        will be part of the terminal viewshed and not a predominant feature on the LNG terminal
        site. The meter station along the pipeline Header System in Jim Wells County will be
        constructed on large parcels of land consisting mostly of open land and agricultural land.

               375
                     See app. B at tbl. 3.
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        This land also contains numerous easements for oil and gas pipelines. Therefore, the
        existing viewshed is characterized, in part, by existing infrastructure associated with
        these systems.

                 Rio Bravo’s three construction contractor yards are located in environmental
         justice communities, and the closest residences to Contractor Yard 1 (189 feet north) may
         experience a change in viewshed during construction, which would be temporary lasting
         the duration of construction. No visual impacts are anticipated for Contractor Yards 2
         and 3 (2,065 feet south and 3,044 feet south, respectively) due to the distance from those
         residences.

                                           (c)    Air Quality

                Construction of Compressor Station 1, Meter Stations HS3 and HS4, and use of
         the three contractor yards would result in a temporary increase in emissions due to the
         combustion of fuel in vehicles and equipment, and dust generated from general
         construction activities. Construction emissions associated with Compressor Station 1 and
         meter station construction would be minimal and localized to the construction area.
         Therefore, based on Commission staff’s updated environmental justice analysis, we
         conclude that environmental justice communities would not experience significant air
         quality impacts during construction of the pipeline facilities.

                Operations emissions associated with Compressor Station 1 would not cause an
         exceedance of the NAAQS. In addition, the radius of impact for Compressor Station 1 is
         approximately 0.6 mile (1 kilometer) for this facility and would not contribute to adverse
         ambient air quality in any environmental justice communities. Outside this radius,
         Commission staff determined that the project would not contribute to adverse ambient air
         quality impacts. Therefore, based on Commission staff’s updated environmental justice
         analysis, we conclude that operation emissions associated with Compressor Station 1
         would not result in a significant impact on air quality in environmental justice
         communities.

                Operations emissions associated with Meter Stations HS3 and HS4 would be due
        to fugitive emissions and natural gas venting and would result in minimal emissions of
        criteria pollutants. Operations emissions associated with these facilities would not cause
        an exceedance of the NAAQS. The three contractor yards would not be used during
        operation. Therefore, based on Commission staff’s updated environmental justice
        analysis, we conclude that operation emissions associated with Meter Stations HS3 and
        HS4 would not result in a significant impact on air quality in environmental justice
        communities.

               Operation of Rio Bravo project aboveground facilities would not cause a NAAQS
         exceedance, and concurrent operations associated with other projects within the
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        geographic scope for air quality are not expected to result in a NAAQS exceedance.376
        Environmental justice communities in the study area would experience cumulative
        impacts on air quality due to impacts previously discussed along with additional impacts
        from the projects within the cumulative geographic scope for air quality; however,
        impacts with the addition of the project would be less than significant.377 Therefore,
        overall cumulative air quality impacts on environmental justice communities would be
        less than significant.

                                              (d)    Noise

                There are no residences or other NSAs within 1 mile of the meter station within
         Jim Wells County or Compressor Station 1. Therefore, based on Commission staff’s
         updated environmental justice analysis, we conclude that no construction or operational
         noise impacts on residences within environmental justice communities would be
         anticipated from these facilities, as any noise impacts would not likely be perceptible at
         these distances.378

                Sound levels resulting from construction equipment at the contractor yards would
         vary over time and would depend upon the number and types of equipment operating, the
         level of operation, and the distance between sources and receptors.379 Construction
         equipment would be operated on an as-needed basis, and environmental justice
         communities near the construction contractor yard areas may experience an increase in
         perceptible noise, but the effect would be temporary and local.380 The closest residences
         to Contractor Yard 1 (189 feet north) may experience noise during construction, which
         would be temporary lasting the duration of construction. No noise impacts are
         anticipated for Contractor Yards 2 and 3 (2,065 feet south and 3,044 feet south,
         respectively) due to the distance to the closest residences.

                                        ii.   Rio Bravo Pipeline

                Finally, for the dual pipeline system itself, Commission staff identified the census
         block groups crossed by the pipelines as the appropriate units of geographic analysis for
         assessing the facilities’ impacts on environmental justice communities because impacts

                376
                      Final EIS at 4-478 to 4-479.
                377
                      Id. at 4-479.
                378
                      Id. at 4-301.
                379
                      Id. at 4-296.
                380
                      Id.
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        related to noise, visual, traffic, and air emissions from construction and operation of the
        pipelines would be localized such that an expanded radius is not warranted.
                 For the Rio Bravo Pipeline Project, as proposed in Rio Bravo’s Amendment
         Project application and approved herein, Commission staff identified 14 environmental
         justice community block groups crossed by the pipelines. Of those 14 environmental
         justice community block groups, seven have a minority population that either exceeds
         50% or is meaningfully greater than their respective counties and seven have both a
         minority population and a low-income population that exceed the respective
         thresholds.381
                 Commission staff’s following updated analysis of pipeline impacts on the
         identified environmental justice communities addresses wetlands, surface water,
         recreational fishing, tourism, socioeconomics, traffic, noise, air quality, and visual
         resources.
                                              (a)   Wetlands

                The final EIS finds that the total impacted wetland area for the pipeline facilities
         (107.3 acres) represents about 0.16% of the approximately 65,495 acres of wetlands
         contained within the HUC 12382 watershed, in which the Rio Bravo Pipeline Project is
         located.383 Rio Bravo would be required to implement the conditions of its CWA
         section 404 permit and section 401 water quality certification to mitigate for wetland
         impacts.

                 All mitigation for the LNG terminal and the pipeline’s facilities would take place
         in the same watersheds,384 located within the Miradores Mitigation site (approximately
         11 miles north of the terminal) and the Loma Ecological Preserve (one mile south of the
         terminal).385 Based on Commission staff’s updated environmental justice analysis, we
         conclude that with the implementation of these mitigation measures, impacts on wetlands
         would be minimized and would not have a significant impact on environmental justice
         communities.



                381
                      See app. B at tbl. 3.
                382
                      Bahia Grande-BSC Hydrologic Unit Code (HUC) 12 Watershed.
                383
                      Final EIS at 4-429.
                384
                      Rio Grande September 27, 2021 Filing.
                385
                      Final EIS at 4-68.
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                Environmental justice communities in the study area would experience cumulative
         impacts on wetlands due to impacts previously discussed, along with additional impacts
         from the projects within the cumulative geographic scope for wetlands; 386 however,
         impacts with the addition of the project would be less than significant.387 Because all
         impacts would be appropriately mitigated, we further conclude that the overall
         cumulative wetland impacts on environmental justice communities would be less than
         significant.

                                             (b)   Recreational and Subsistence Fishing

                 Regarding the Rio Bravo Pipeline Project, sights and sounds from the pipeline
         construction activities may be a nuisance to people fishing in the project vicinity,
         including at the Zapata boat launch, but construction would not prohibit visitors from
         using these areas.388 In general, impacts of construction of the pipeline project on
         recreational fishing would be temporary and limited to the period of active construction,
         which typically would last several days to several weeks in any one area, with the
         exception of the Zapata boat launch, which would be crossed by an HDD that could last
         up to 10 weeks.389 Known or designated fishing areas are not known to occur in the
         inland river and streams that are crossed by the pipeline facilities. Based on Commission
         staff’s updated environmental justice analysis, we conclude that due to the temporary
         nature of impacts associated with pipeline construction and the limited adverse impact on
         recreational and subsistence fishing, recreational and subsistence fishing impacts on
         environmental justice communities associated with construction and operation of the
         pipeline project would not be significant.

                                             (c)   Tourism

                Recreational areas that draw nature-oriented tourists would be crossed by the
         pipelines, including the Great Texas Coastal Birding Trails, a National Historic
         Landmark (King Ranch), the Zapata boat launch, and BND land subject to a wildlife
         crossing conservation easement.390 The Lower Rio Grande Valley and Laguna Atascosa


               386
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
               387
                     Final EIS at 4-430.
               388
                     Id. at 4-220.
               389
                     Id.
               390
                     Id. at 4-218.
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        National Wildlife Refuges would be less than 0.25 mile from the pipeline project.391
        Although pipeline construction would not prohibit visitors from using recreational areas,
        sights and sounds of pipeline construction activities may be a nuisance to visiting tourists,
        and could generally interfere with or diminish the quality of their experience by affecting
        wildlife movement.392

                Given the number of tourism opportunities in the project area, tourists may go to
         other sites so that visitation patterns may change, but the number of visits to the project
         area would likely not. Given the availability of recreational opportunities further from
         the pipeline facility sites, the final EIS concluded that a decrease in visits would not be
         anticipated;393 therefore, based on Commission staff’s updated environmental justice
         analysis which also considers the Amendment Project EA, we conclude that impacts on
         environmental justice communities associated with tourism (e.g., loss of revenue or jobs
         related to tourism) would not be significant.

                 Environmental justice communities in the study area would experience cumulative
         impacts on tourism from the Rio Bravo Pipeline Project,394 as previously described, along
         with additional impacts from the projects within the cumulative geographic scope for
         tourism;395 however, impacts with the addition of the project would be less than
         significant.396 Given the availability of recreational opportunities further from the facility
         sites, we further conclude that the overall cumulative tourism impacts on environmental
         justice communities would be less than significant.

                                              (d)    Socioeconomics

                Construction of the Rio Bravo Pipeline Project facilities would require an average
         workforce of between 760 and 1,240 workers (peak of 1,500 workers) over
         two, non-consecutive 12-month periods, of which a majority would be non-local.397 For

                391
                      Id.
                392
                      Id. at 4-218.
                393
                      Final EIS at 4-218 to 4-219.
                394
                      Id. at 4-467.
                395
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
                396
                      Final EIS at 4-467.
                397
                      Id. at 4-209.
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        the pipeline facilities, 20 new permanent positions would be added during operation,
        which would represent a negligible increase in the local population.398

                During construction and operation of the Rio Bravo Pipeline Project, the
         temporary influx of workers/contractors into the area could increase the demand for
         community services, such as schools, police enforcement, and medical care as well as
         housing.399 As stated in the final EIS, as supplement by the Amendment Project EA,
         impacts on community services would be less than significant.400 In addition, an
         adequate number of housing units are available in the affected area; therefore, impacts on
         the local housing market would be less than significant.401 Based on Commission staff’s
         updated environmental justice analysis, we conclude that the socioeconomic impacts on
         environmental justice communities, due to an increased demand for community services
         and housing, would be less than significant.

                Environmental justice communities in the study area would experience cumulative
         impacts on socioeconomic resources from the Rio Bravo Pipeline Project, as previously
         described, along with additional impacts from the projects within the cumulative
         geographic scope for socioeconomic resources; 402 however, impacts with the addition of
         the project would be less than significant.403 Given that community facilities would
         continue to operate adequately and the availability of housing units in the affected area,
         we further conclude that the cumulative socioeconomic impacts on environmental justice
         communities would be less than significant.

                                             (e)   Road Traffic

                Construction of the Rio Bravo Pipeline Project facilities, including Compressor
         Station 1, Meter Stations HS4 and HS3, and the contractor yards, may temporarily affect
         roadway traffic due to increased vehicle traffic associated with construction workforce



               398
                     Id. at 4-227.
               399
                     Id. at 4-226 to 227.
               400
                     Id. at 4-227.
               401
                     Id. at 4-225.
               402
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
               403
                     Final EIS at 4-463.
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        commutes and the delivery of equipment and materials to the construction work area,404
        which would occur in numerous environmental justice communities.405 To minimize
        impacts on traffic, Rio Bravo would provide adequate parking for workers to ensure that
        parking on the shoulders of major roads is avoided and install warning signs on roadways
        to notify travelers of construction activities.406 If traffic congestion occurs during
        construction, Rio Bravo would consider implementing additional measures, including,
        but not limited to, scheduling truck deliveries between peak commuting times, re-routing
        truck traffic to avoid busy roadways, and implementing temporary traffic signals.407
        Rio Bravo will also file traffic mitigation procedures, developed in consultation with
        applicable transportation authorities, to maintain a Level of Service of C or better on
        roadways proposed for use during construction of the pipeline project.408 Based on
        Commission staff’s updated environmental justice analysis, and given the maintenance of
        Level of Service C or better and with the implementation of mitigation measures, we
        conclude that the traffic impacts on environmental justice communities associated with
        construction of the pipeline project would be less than significant. Only a small number
        of permanent workers would be hired to operate the Rio Bravo Pipeline Project facilities
        and no measurable traffic increase would take place during operation.409 Therefore,
        traffic impacts on environmental justice communities associated with operation of the
        pipeline project would be less than significant.

                Communities in the study area would experience cumulative impacts associated
         with traffic from the Rio Bravo Pipeline Project, as previously described, along with
         additional impacts from the projects within the cumulative geographic scope for traffic;410
         however, impacts from the addition of the project would be less than significant.411
         Based on Commission staff’s updated environmental justice analysis, we further


                404
                      Id. at 4-230.
                405
                      See app. B at tbls. 2 & 3.
                406
                      Final EIS at 4-230.
                407
                      Id.
                408
                      Id.
                409
                      Id.
                410
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
                411
                      Final EIS at 4-465.
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        conclude that the overall cumulative traffic impacts on environmental justice
        communities would be less than significant.

                                              (f)    Noise

                 Sound levels resulting from construction of Rio Bravo Pipeline Project facilities
         (including use of the contractor yards) would vary over time and would depend upon the
         number and types of equipment operating, the level of operation, and the distance
         between sources and receptors.412 Construction equipment would be operated on an
         as-needed basis, and environmental justice communities near the construction areas may
         experience an increase in perceptible noise, but the effect would be temporary and
         local.413 Sound from construction activities near environmental justice communities
         along the dual pipeline system route could be either intermittent or continuous, but would
         occur over a limited duration at any one location; with construction near residences
         limited to the shortest timeframe possible to safely install the facilities.414

                Rio Bravo conducted an HDD acoustical impact assessment, which found that
         sound levels for 24-hour HDD operations would exceed our noise criterion of an Ldn of
         55 dBA at NSAs near four proposed HDDs at mileposts 82.0, 92.0, 93.0, and 118.7
         within environmental justice communities. Rio Bravo will implement the following
         mitigation at HDD locations that would exceed our noise criterion of an Ldn of 55 dBA at
         NSAs: use of temporary sound barriers around the HDD workspace; use of sound
         barriers or an acoustical enclosure around the drilling mud cleaning system; and offer
         temporary housing to residents in the vicinity of HDD operation. In addition, Rio Bravo
         is required as a condition of the Commission’s Authorization Order to prepare a noise
         mitigation plan prior to construction for each HDD where noise would exceed the
         Commission’s noise criterion at the NSAs. Prior to any approval of the plans,
         Commission staff will ensure that the plans include the appropriate mitigation to meet the
         Commission’s noise criteria and ensure that these plans are implemented during
         construction.415

                The final EIS concluded that environmental justice communities in the study area
         would experience cumulative impacts related to noise from the Rio Bravo Pipeline
         Project, as previously described, along with additional impacts from the projects within


               412
                     Id. at 4-296.
               413
                     Id.
               414
                     Id.
               415
                     Id., Condition 38 at 5-32.
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        the cumulative geographic scope for noise;416 however, impact from the addition of the
        project would be less than significant.417 Based on staff’s updated environmental justice
        analysis, we conclude that overall cumulative noise impacts on environmental justice
        communities would be less than significant.


                                               (g)   Air Quality

                As discussed in the final EIS section 4.11.1.3, construction of the Rio Bravo
         Pipeline Project would result in impacts on air quality. The construction emissions are
         anticipated from operation of construction equipment, operation of the onsite concrete
         batch plants, deliveries of supplies, worker commutes, and land disturbance. Fugitive
         dust emissions would include contributions from general site construction work (acreage
         impacted), earth-moving fugitive dust emissions (quantity of soil moved), and unpaved
         road travel (distance of travel and weight of vehicles). Fugitive dust would be produced
         primarily during the site preparation activities, when the site would be cleared of debris,
         leveled, and graded, including at proposed offsite facilities.418

                 Also as discussed in the final EIS section 4.11.1.3, construction of the Rio Bravo
         Pipeline Project would result in a temporary increase in emissions due to the combustion
         of fuel in vehicles and equipment, dust generated from excavation, grading and fill
         activities, and general construction activities (e.g., painting and welding). Construction
         emissions associated with pipeline construction would be minimal and localized to the
         construction area, which would predominantly occur in sparsely populated areas.

                 The increase in diameter of Pipeline 1 would not result in additional construction
         emissions detailed in the Amendment Project EA. The proposed increase in diameter of
         Pipeline 1 would not change the construction emission estimates for the pipeline detailed
         in the final EIS.419 Therefore, based on Commission staff’s updated environmental
         justice analysis, we conclude that environmental justice communities would not
         experience significant air quality impacts during construction of the pipeline facilities.




                416
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
                417
                      Final EIS at 4-494 to 4-495.
                418
                      Id. at 4-256 to 4-257.
                419
                      Amendment Project EA at 25.
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                                              (h)   Visual Impacts

                Rio Bravo will construct and operate its pipeline facilities across large parcels of
         land consisting mostly of open land used for ranching and grazing, as well as agricultural
         land,420 which are partially located within environmental justice communities. This land
         also contains numerous easements for oil and gas pipelines, including at least 50 known
         foreign pipelines that would be crossed by the proposed pipeline project.421 As a result,
         the existing viewshed is characterized, in part, by existing infrastructure associated with
         these systems.

                 Vegetation cover is generally limited at these locations; however, these areas
         include large tracts of land in a rural setting with no residences within sight. Visual
         receptors along the pipeline system route and in proximity to the proposed aboveground
         facilities would include motorists, including those from environmental justice
         communities, on nearby roadways who may be able to view construction workers and
         equipment, as well as the meter and compressor stations themselves during operation;
         however, their view would be short in duration. Based on Commission staff’s updated
         environmental justice analysis, we conclude that the Meter Station HS4, in Jim Wells
         County, would result in short-term localized visual impacts during construction and a
         permanent but less than significant impact during operation.

                Although construction of the pipelines would contribute to cumulative impacts on
         the viewshed, they would generally be temporary to short-term in nature.422 Given the
         lack of visual receptors in the vicinity of aboveground facilities associated with the
         pipeline project, their contribution to cumulative visual impacts would be permanent, but
         minor.423 Following construction, the areas associated with the pipeline project would be
         restored in accordance with the project-specific Upland Erosion Control, Revegetation,
         and Maintenance Plan (Plan) and Procedures.424

                The physical facilities of the LNG terminal and the aboveground facilities
         associated with the pipeline project would result in a permanent and moderate changes in

                420
                      Final EIS at 4-203.
                421
                      Id.
                422
                      Id. at 4-459.
                423
                      Id.
                424
                   The Plan and Procedures are a set of construction and mitigation measures
         developed to minimize the potential environmental impacts of the construction of
         pipeline projects.
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        the existing viewshed for nearby visual receptors,425 including those from environmental
        justice communities. In addition, the Texas LNG Terminal site, which is located
        immediately adjacent to the Rio Grande LNG Terminal site, has the potential to result in
        significant visual impacts.426 Based on Commission staff’s updated environmental
        justice analysis, we conclude that the overall potential significant cumulative visual
        resources impacts on environmental justice communities would occur, along with
        additional impacts from the projects within the cumulative geographic scope for visual;427
        however, the Rio Bravo Pipeline Project’s contribution to these impacts would be less
        than significant.428

                               c.     Environmental Justice Conclusion

               As described in the final EIS and in the above analysis, the Rio Grande LNG
         Terminal and the amended Rio Bravo Pipeline Project will have a range of impacts on the
         environment and individuals living in the vicinity of the project facilities, including
         environmental justice communities.

                 For the Rio Grande LNG Terminal, out of 293 block groups within a 50-kilometer
         radius 286 block groups were considered environmental justice communities. The closest
         environmental justice block groups are Census Tract 142.02, Block Group 2 and Census
         Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census
         Tract 123.05, Block Group 1. For the Brownsville offsite parking location, Commission
         staff identified two environmental justice community block groups within a one-mile
         radius of the site. For the Port Isabel offsite parking location, Commission staff
         identified four environmental justice community block groups within a one-mile radius of
         the site.

                 For the Rio Bravo Pipeline Project, as proposed in Rio Bravo’s Amendment
         Project application and approved herein, Commission staff identified 14 environmental
         justice community block groups crossed by the pipeline. Compressor Station 1 is not
         within an environmental justice block group; however, Commission staff identified
         87 environmental justice community block groups within a 50-kilometer radius of the
         site. Meter Station HS3 (Kleberg County) is not located within an environmental justice
         block group; however, commission staff identified one environmental justice community

               425
                     Final EIS at 4-459.
               426
                     Id.
               427
                 Rio Grande May 20, 2022 Response to Commission staff’s May 2, 2022
         Environmental Information Request at tbl. 4.13.1-2.
               428
                     Final EIS at 4-459.
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        block group within a 1-mile radius of the site (Census Tract 9502.02, Block Group 2).
        Meter Station HS4 (Jim Wells County) is located within an environmental justice
        community (Census Tract 9502.02, Block Group 2). Contractor Yards 1, 2, and 3 are
        located within an environmental justice community (Census Tract 9503, Block Group 1,
        Census Tract 9501, Block Group 1, and Census Tract 144.01, Block Group 1,
        respectively).
                Based on the foregoing analysis, we find that impacts on environmental justice
         populations from construction and operation of the LNG terminal, Meter Station HS4, the
         Meter Station located at the LNG terminal, Contractor Yards 1, 2 and 3, and a majority of
         the 135-mile pipeline would be disproportionately high and adverse because they would
         be predominately borne by environmental justice communities. In addition, based on
         Commission staff’s updated environmental justice analysis above, we conclude that
         environmental justice communities within the Rio Grande LNG Terminal area may
         experience significant cumulative visual impacts when considered with other potential
         projects in the viewshed. Project-related impacts associated with wetlands, surface water,
         recreational and subsistence fishing, tourism, socioeconomics, traffic, visual resources,
         noise, and air quality would be less than significant.

         IV.   Conclusion

                In conformance with the court’s opinion, in this order on remand, we respond to
         the arguments pertaining to whether the use of the social cost of GHGs is required by
         CEQ’s regulations and disclose the social cost of GHG calculations for informational
         purposes, but, as discussed, we do not characterize the significance of the projects’ GHG
         emissions. Additionally, consistent with CEQ and EPA guidance and recommendations,
         the Commission conducted a new environmental justice analysis with updated units of
         geographic analysis for assessing the projects’ impacts on environmental justice
         communities. We conclude that the impacts on environmental justice populations from
         the projects would be disproportionately high and adverse because they would be
         predominately borne by the environmental justice communities identified and,
         specifically, communities in the areas near the Rio Grande LNG Terminal may
         experience significant cumulative visual impacts; but all other impacts would be less than
         significant for both the Rio Grande LNG Terminal and the Rio Bravo Pipeline Project.

                We continue to find that the projects, as conditioned in the Authorization Order
        and as modified herein, are environmentally acceptable actions. We continue to support
        our previous findings of the benefits of these projects. Further, as stated above, we find
        that the Rio Grande LNG Terminal is not inconsistent with the public interest and that the
        Rio Bravo Pipeline Project, as amended, is required by the public convenience and
        necessity, as conditioned in the Authorization Order and as modified herein.

                Compliance with the environmental conditions appended to our orders is integral
         to ensuring that the environmental impacts of approved projects are consistent with those
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        anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
        information submitted. Only when satisfied that the applicant has complied with all
        applicable conditions will a notice to proceed with the activity to which the conditions are
        relevant be issued. We also note that the Commission has the authority to take whatever
        steps are necessary to ensure the protection of environmental resources during
        construction and operation of the project, including authority to impose any additional
        measures deemed necessary to ensure continued compliance with the intent of the
        conditions of the order, as well as the avoidance or mitigation of unforeseen adverse
        environmental impacts resulting from project construction and operation.

                 Any state or local permits issued with respect to the jurisdictional facilities
         authorized herein must be consistent with the conditions of this authorization. The
         Commission encourages cooperation between interstate pipelines and local authorities.
         However, this does not mean that state and local agencies, through application of state or
         local laws, may prohibit or unreasonably delay the construction or operation of facilities
         approved by this Commission.429

                 At a hearing held on April 20, 2023, the Commission on its own motion received
         and made a part of the record in this proceeding all evidence, including the application,
         applicant data responses, and exhibits therein, and all comments, and upon consideration
         of the record.

         The Commission orders:

                (A) The Order Granting Authorizations under Sections 3 and 7 of the Natural
         Gas Act in Docket No. CP16-455-000 is amended, as described and conditioned herein,
         and as more fully described in the application and subsequent filings by the applicant,
         including any commitments made therein.

                (B) Rio Bravo’s revised initial rates and pro forma tariff records are approved,
         as discussed above.

                (C) Rio Bravo shall file actual tariff records that comply with the requirements
         contained in the body of this order at least 30 days but not more than 60 days prior to the


                429
                    See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
         considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
         Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
         authority over the transportation of natural gas is preempted); Dominion Transmission,
         Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and local
         regulation is preempted by the NGA to the extent it conflicts with federal regulation, or
         would delay the construction and operation of facilities approved by the Commission).
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         commencement of interstate service consistent with Part 154 of the Commission’s
         regulations.

                (D) The Commission affirms its earlier determinations that the Rio Grande
         LNG Terminal is not inconsistent with the public interest, and the Rio Bravo Pipeline
         Project, as amended, is required by the public convenience and necessity.

                 (E)    All directives in the Authorization Order remain in effect, except for the
         revision to the requirement to file actual records 60 days before the commencement of
         interstate service, as discussed above.

               (F)    Rio Bravo and Rio Grande shall continue to comply with all applicable
        terms and the environmental conditions set forth in the Appendix to the Authorization
        Order.

               (G) The certificate authority issued in Ordering Paragraphs (A) and (D) is
        conditioned on Rio Bravo’s compliance with the environmental conditions in
        Appendix A to this order.

               (H) The NGA section 3 authorization in Ordering Paragraph (D) is conditioned
        on Rio Grande’s compliance with the environmental conditions in Appendix A to this
        order.

                 (I)     Rio Bravo shall comply with all applicable Commission regulations under
         the NGA, particularly the general terms and conditions set forth in paragraphs (a), (b),
         (c), (e), and (f) of section 157.20 of the regulations.

                (J)   Rio Bravo shall complete construction of the proposed facilities and make
         them available for service within the timeframe conditioned in the Authorization Order,
         in accordance with section 157.20(b) of the Commission’s regulations.

                (K) Rio Grande and Rio Bravo shall notify the Commission’s environmental
         staff by telephone or e-mail of any environmental noncompliance identified by other
         federal, state, or local agencies on the same day that such agency notifies Rio Grande or
         Rio Bravo. Rio Grande and Rio Bravo shall file written confirmation of such notification
         with the Secretary of the Commission within 24 hours.
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               (L)     Sierra Club’s request for a trial-type hearing is denied, as discussed in the
         body of this order.

         By the Commission. Chairman Phillips is concurring with a separate statement
                            attached.
                            Commissioner Clements is dissenting with a separate statement
                            attached.

         (SEAL)


                                                        Debbie-Anne A. Reese,
                                                          Deputy Secretary.
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                                                 Appendix A

                                 Rio Bravo Environmental Conditions

                Rio Bravo shall continue to comply with environmental conditions set forth in the
         Appendix to the Commission’s November 22, 2019 Order Granting Authorizations
         Under Sections 3 and 7 of the Natural Gas Act specific to Docket No. CP16-455-000,
         and those conditions apply to the amended facilities. In addition, as recommended in the
         Environmental Assessment (EA), this authorization includes the following conditions:

         1.    Rio Bravo Pipeline Company, LLC (Rio Bravo) shall follow the construction
               procedures and mitigation measures described in its application and supplements
               (including responses to staff data requests) and as identified in the EA, unless
               modified by the order. Rio Bravo must:

               a.     request any modification to these procedures, measures, or conditions in a
                      filing with the Secretary;

               b.     justify each modification relative to site-specific conditions;

               c.     explain how that modification provides an equal or greater level of
                      environmental protection than the original measure; and

               d.     receive approval in writing from the Director of the Office of Energy
                      Projects (OEP), or the Director’s designee, before using that
                      modification.


         2.    The Director of OEP, or the Director’s designee, has delegated authority to
               address any requests for approvals or authorizations necessary to carry out the
               conditions of the order, and take whatever steps are necessary to ensure the
               protection of environmental resources during construction and operation of the
               project. This authority shall allow:

               a.     the modification of conditions of the order;

               b.     stop-work authority; and

               c.     the imposition of any additional measures deemed necessary to ensure
                      continued compliance with the intent of the conditions of the order as well
                      as the avoidance or mitigation of unforeseen adverse environmental impact
                      resulting from project construction and operation.
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         3.    Rio Bravo shall file a noise survey with the Secretary no later than 60 days after
               the modified Compressor Station 1 is placed in service. If a full load condition
               noise survey is not possible, Rio Bravo shall provide an interim survey at the
               maximum possible horsepower load and provide the full load survey within six
               months. If the noise attributable to the operation of all of the equipment at the
               facility under interim or full horsepower load conditions exceeds a day-night level
               of 55 A-weighted decibels at any nearby noise-sensitive areas, Rio Bravo shall file
               a report on what additional noise controls are needed and shall install the
               additional noise controls to meet the level within one year of the in-service date.
               Rio Bravo shall confirm compliance with the above requirement by filing an
               additional noise survey with the Secretary no later than 60 days after it installs
               the additional noise controls.

         4.    All conditions attached to the water quality certification issued by Texas Railroad
               Commission constitute mandatory conditions of this Authorization Order. Prior
               to construction, Rio Bravo shall file, for review and written approval of the
               Director of OEP, or the Director’s designee, any revisions to its project design
               necessary to comply with the water quality certification conditions.
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                                  Rio Grande Authorization Order
                          Modified Environmental Conditions 53 and 54 and
                             Additional Environmental Condition 144

               Rio Grande shall continue to comply with environmental conditions set forth in
        the Appendix to the Commission’s November 22, 2019 Order Granting Authorizations
        Under Sections 3 and 7 of the Natural Gas Act specific to Docket No. CP16-454-000. In
        addition, as recommended in this order, this order modifies conditions 53 and 54 and
        includes condition 144:

                Prior to construction of final design, Rio Grande shall file with the Secretary,
         for review and approval by the Director of OEP, or their designee, an updated Emergency
         Response Plan, including evacuation and any sheltering and re-entry, and coordinate
         procedures with the U.S. Coast Guard; state, county, and local emergency planning
         groups; fire departments; state and local law enforcement; and other appropriate federal
         agencies. This plan shall be consistent with recommended and good engineering
         practices, as defined in National Fire Protection Association (NFPA) 1600, NFPA 1616,
         NFPA 1620, NFPA 470, NFPA 475, or approved equivalents, and based on potential
         impacts and onsets of hazards from accidental and intentional events along the liquefied
         natural gas (LNG) marine vessel route and potential impacts and onset of hazards from
         accidental and intentional events at the LNG terminal, including but not limited to a
         catastrophic failure of the largest LNG tank. This plan shall address any special
         considerations and pre-incident planning for infrastructure and public with access and
         functional needs and shall include at a minimum:
               a. materials and plans for periodic dissemination of public education and training
                  materials in English and Spanish for potential hazards and impacts, identification
                  of potential hazards, and steps for public notification, evacuation, and shelter in
                  place within any transient hazard areas along the marine vessel route, and within
                  LNG terminal hazard areas;
               b. plans to competently train emergency responders required to effectively and
                  safely respond to hazardous material incidents including, but not limited to, LNG
                  fires and dispersion;
               c. plans to competently train emergency responders to effectively and safely
                  evacuate or shelter public within transient hazard areas along the marine vessel
                  route, and within hazard areas from LNG terminal;
               d. designated contacts with federal, state, and local emergency response agencies
                  responsible for emergency management and response within any transient
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                   hazard areas along the marine vessel route, and within hazard areas from LNG
                   terminal;
               e. scalable procedures for the prompt notification of appropriate local officials and
                  emergency response agencies based on the level and severity of potential
                  incidents;
               f. scalable procedures for mobilizing response and establishing a unified
                  command, including identification, location, and design of any emergency
                  operations centers and emergency response equipment required to effectively
                  and safely respond to hazardous material incidents and evacuate or shelter public
                  within transient hazard areas along the marine vessel route, and within LNG
                  terminal hazard areas;
               g. scalable procedures for notifying public, including identification, location,
                  design, and use of any permanent sirens or other warning devices required to
                  effectively communicate and warn the public prior to onset of debilitating
                  hazards within any transient hazard areas along the LNG marine vessel route and
                  within hazard areas from LNG terminal;
               h. scalable procedures for evacuating the public, including identification, location,
                  design, and use of evacuation routes/methods and any mustering locations
                  required to effectively and safely evacuate the public within any transient hazard
                  areas along the LNG marine transit route and within hazard areas from LNG
                  terminal; and
               i. scalable procedures for sheltering the public, including identification, location,
                  design, and use of any shelters demonstrated to be needed and demonstrated to
                  effectively and safely shelter the public prior to onset of debilitating hazards
                  within transient hazard areas that may better benefit from sheltering in place (i.e.,
                  those within Zones of Concern 1 and 2), along the route of the LNG marine
                  vessel and within hazard areas that may benefit from sheltering in place (i.e.,
                  those within areas of 1,600 BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats from
                  fires with farthest impacts, including from a catastrophic failure of largest LNG
                  tank) of the LNG terminal.
               Rio Grande shall notify Commission staff of all planning meetings in advance and
               shall report progress on the development of its Emergency Response Plan at
               3‑month intervals. Rio Grande shall file with the Secretary public versions of
               offsite emergency response procedures for public notification, evacuation, and
               shelter in place.
               Prior to construction of final design, Rio Grande shall file with the Secretary for
         review and written approval by the Director of the Office of Energy Projects, or the
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         Director’s designee, an updated Cost-Sharing Plan identifying the mechanisms for
         funding all Project-specific security/emergency management costs that would be imposed
         on state and local agencies. This comprehensive plan shall include funding mechanisms
         for the capital costs associated with any necessary security/emergency management
         equipment and personnel base. This plan shall include sustained funding of any
         requirement or resource gap analysis identified to effectively and safely evacuate and
         shelter public and to effectively and safely respond to hazardous material incidents
         consistent with recommended and good engineering practices. Rio Grande shall notify
         Commission staff of all planning meetings in advance and shall report progress on the
         development of its Cost Sharing Plan at 3-month intervals.
         144. Prior to commissioning, Rio Grande shall file with the Secretary, for review and
         written approval by the Director of the Office of Energy Projects, or the Director’s
         designee, a Project Ambient Air Quality Mitigation and Monitoring Plan for periods
         when construction, commissioning and start-up, and operation of the LNG terminal occur
         simultaneously. To ensure that concurrent emissions during construction, commissioning
         and start-up, and operation of terminal facilities are effectively mitigated, the plan’s
         thresholds for concentrations of particulate matter (PM2.5 and PM10) and nitrogen oxide
         (NO2) must be established based on the National Ambient Air Quality Standards
         (NAAQS), as specified in 40 C.F.R. Part 50 and shall:
               a. include a monitoring plan for PM2.5, PM10, and NO2, including a description of
                  the site selection process for the proposed locations for air quality monitors; data
                  management; reporting; and protocols to manage any potential exceedances of
                  the NAAQS for PM2.5, PM10, and NO2 that may be observed during the
                  monitoring activities;
               b. detail what measures Rio Grande will implement should the levels of PM2.5 or
                  PM10 exceed the NAAQS 24-hour limit or should the levels of NO2 exceed the
                  NAAQS 1-hour limit as specified in 40 C.F.R. Part 50; and
               c. provide that Rio Grande will file weekly reports during periods when the plan is
                  in use, documenting the duration of any exceedances, reasons for elevated levels
                  of PM2.5, PM10, or NO2, actual measured values, and to the extent there are
                  exceedances, what minimization or mitigation measures Rio Grande
                  implemented to reduce these levels and documentation of a reduction to or below
                  the threshold(s).
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                                              Figure 2
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                                              Figure 4
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                                              Figure 6
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                                                 Appendix C


            Commission Staff’s Environmental Justice Analysis of Potential Public Safety
            Impacts and Emergency Response Plans for Rio Grande LNG Terminal and
                          Liquefied Natural Gas (LNG) Marine Vessels


                A.       Onsite and Offsite Emergency Response Plans

                 Rio Grande continues to develop a comprehensive Emergency Response Plan with
         local, state, and federal agencies and emergency response officials and would continue
         these collaborative efforts during the development, design, and construction of the
         project. As required by Environmental Condition 53, Rio Grande must file an
         Emergency Response Plan covering the terminal and ship transit for review and approval
         by Commission staff prior to construction. Commission staff would also review and
         approve final design information related to the various layers of protection that would
         enhance the safety and security of the Rio Grande LNG Terminal and would be in
         accordance with recommended and generally accepted good engineering practices.
         These reviews go above the minimum federal requirements required by the Pipeline and
         Hazardous Materials Safety Administration (PHMSA) and U.S. Coast Guard (USCG)
         regulations for the LNG facility,1 and USCG regulations for the LNG marine vessel.2 In
         addition, for LNG marine vessels, the 2004 Sandia Report describes the risk and
         consequences within each Zone of Concern with risk management strategies to mitigate
         risk to infrastructure and the public.3 The layers of protection and risk management
         strategies reduce public incident impacts to less than significant levels, including impacts
         to those with access and functional needs and environmental justice communities.

               The Emergency Response Plan and Cost Sharing Plan requirements are required
         by Environmental Conditions 53 and 54 as modified in Appendix A of this order.
         However, in order to mitigate the potential offsite risks from a catastrophic incident from
         an LNG marine vessel or at the Rio Grande LNG Terminal to people with access and

                1
                 49 C.F.R.§ 193 (PHMSA Regulations); 33 C.F.R. §§ 105, 127 (USCG
         Regulations).
                2
                    33 C.F.R. § 104 (2022); 46 C.F.R. § 154 (2022).
                3
                 See U.S. DOE, Office of Scientific and Technical Information, 2004 Sandia
         Report, 1.3.1 and 1.3.2, https://www.osti.gov/servlets/purl/882343/ (last visited Dec.
         2022).
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         functional needs, Rio Grande would need to consider additional identified elements of
         recommended and generally accepted good engineering practices for emergency response
         plans and resource requirements, including, but not limited to consistency with the
         following National Fire Protection Association (NFPA) codes and standards: NFPA
         1600,4 NFPA 1616,5 NFPA 1620,6 NFPA 470,7 and NFPA 4758 or approved equivalents.
         Specifically, NFPA 1600 (2019 edition) provides provisions for the planning and design
         process of an emergency management program and includes the following provisions:

             Section 5.2.2 specifies a risk assessment to be conducted evaluating the likelihood
              and severity of hazards, including accidental and intentional events that may result
              in hazardous material releases, explosions, and fires as well as consideration of
              specific causes and preceding events, such as geological events (e.g., subsidence,
              earthquakes, tsunamis, volcanic, etc.) and meteorological events (e.g., extreme
              temperatures, hurricanes, tornadoes, floods, snow and ice storms, and wildland
              fires, etc.), as discussed in the final EIS.9

             Section 5.2.2.2 specifies the vulnerability of people, property, operations,
              environment, and supply chain operations to be evaluated.


               4
                 NFPA, NFPA 1600: Standard on Continuity, Emergency, and Crisis
         Management, https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-
         codes-and-standards/detail?code=1600 (last visited Jan. 2023).
               5
                 NFPA, NFPA 1616: Standard on Mass Evacuation, Sheltering, and Re-Entry
         Programs, https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-
         codes-and-standards/detail?code=1616 (last visited Jan. 2023).
               6
                  NFPA, NFPA 1620: Standard for Pre-Incident Planning,
         https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
         standards/detail?code=1620 (last visited Jan. 2023).
               7
                 NFPA, NFPA 470: Hazardous Materials/Weapons of Mass Destruction (WMD)
         Standard for Responders, https://www.nfpa.org/codes-and-standards/all-codes-and-
         standards/list-of-codes-and-standards/detail?code=470 (last visited Jan. 2023).
               8
                 NFPA, NFPA 475: Recommended Practice for Organizing, Managing, and
         Sustaining a Hazardous Materials/Weapons of Mass Destruction Response Program,
         https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
         standards/detail?code=475 (last visited Jan. 2023).
               9
                   Final EIS at 4-339 – 4-351.
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             Section 5.2.3 specifies the analysis of the impacts of the hazards identified in
              section 5.2.2 on the health and safety of persons in the affected area and personnel
              responding to the incident as well as impacts to properties, facilities, and critical
              infrastructure.

             Section 5.2.4 specifies an analysis of the escalation of impacts over time.

             Section 5.2.5 specifies evaluation of incidents that could have cascading impacts.

             Section 5.2.6 specifies the risk assessment to evaluate the adequacy of existing
              prevention and mitigation measures.

                Chapter 6 of NFPA 1600 (2019 edition) covers the implementation of the plans,
         including health and safety of personnel, roles and responsibilities of internal and
         external entities, lines of authority, process for delegation of authority, liaisons with
         external entities, and logistics support and resource requirements.

             Section 6.3.1 specifies the implementation of a mitigation strategy that includes
              measures to limit or control the consequences, extent, or severity of an incident
              that cannot be prevented based on the results of hazard identification and risk
              assessment and analysis of impacts.

             Section 6.9.2 specifies that emergency response plans should identify actions to be
              taken to protect people, including people with disabilities and other access and
              functional needs.10

             Sections 6.6 and 6.9.4 stipulate an emergency response plan include warning,
              notification, and communication should be determined and be reliable, redundant,
              and interoperable and tested and used to alert stakeholders potentially at risk from
              an actual or impending incident.

             Section 6.8 specifies the development of an incident management system to direct,
              control, and coordinate response, continuity, and recovery operations.




                10
                NFPA 1600 defines “access and functional need” as “Persons requiring special
         accommodations because of health, social, economic, or language challenges.”
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             Section 6.8.1 stipulates primary and alternate emergency operations centers be
              established capable of managing response, continuity, and recovery operations and
              may be physical or virtual.

                In addition, NFPA 1600 (2019 edition) Chapter 7 provides specifications for
         execution of the plan, Chapter 8 provides for training and education provisions, Chapter 9
         provides for exercises and tests to be conducted periodically, and Chapter 10 provides for
         its continued maintenance and improvement.

                NFPA 1616 (2020 edition) covers organizing, planning, implementing, and
         evaluating a program for mass evacuation, sheltering, and re-entry. Similar to NFPA
         1600, the following sections of NFPA 1616 stipulate:

             Section 4.5 stipulates similar hazard identification, risk assessment, and
              requirements analysis as NFPA 1600.

             Section 5.1 stipulates plans to address the health and safety of personnel including
              persons with disabilities and access and functional needs.11

             Section 5.6 specifies a requirements analysis in sub-section 5.6.1 that is based
              upon the threat, hazard identification, and risk assessment. Sub-section 5.6.2(1)
              specifies the requirements analysis include characteristics of the potentially
              affected population, including persons with disabilities and other access and
              functional needs. In addition, sub-section 5.6.2(2) stipulates consideration of
              existing mandatory evacuation laws and expected enforcement of those laws.
              Sub-section 5.6.2(3) stipulates the requirements analysis to include characteristics
              of the incident that trigger consideration for evacuation based on weather, season,
              and ambient conditions, speed of onset, magnitude, location and direction,
              duration, resulting damages to essential functions, risk for cascading effects and
              secondary disasters, and capability of transportation routes and systems to


                11
                   NFPA 1616 defines “People with Access and Functional Needs” as “Persons
         with disabilities and other access and functional needs include those from religious,
         racial, and ethnically diverse backgrounds; people with limited English proficiency;
         people with physical, sensory, behavioral and mental health, intellectual, developmental
         and cognitive disabilities, including individuals who live in the community and
         individuals who are institutionalized; older adults with and without disabilities; children
         with and without disabilities and their parents; individuals who are economically or
         transportation disadvantaged; women who are pregnant; individuals who have acute and
         chronic medical conditions; and those with pharmacological dependency.”
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                transport life-sustaining materials (e.g., water, medical supplies, etc.) into the
                affected area.

             Section 5.6.3 stipulates the determination if evacuation or sheltering-in-place is
              appropriate to the situation and resources available based on 1) the anticipated
              impact and duration of the event, 2) the distance to appropriate sheltering
              facilities, 3) the availability of and access to transportation to those facilities, and
              4) the ability to communicate with the affected population within the required
              timeframe.

             Section 5.6.4 stipulates the 1) establishment of a single or unified command, 2)
              development of information system to notify public and provide an assessment of
              the time needed to reach people with the information, 3) identification of
              appropriate sheltering facilities by location, size, types of services available,
              accessibility, and building safety, and 4) identification of the modes and routes for
              evacuee transportation and the time needed to reach them, sources of evacuee
              support services, and manpower requirements based on various potential shelters.

             Section 5.8 also has stipulations for dissemination of information on evacuation,
              shelter in place, and re-entry before, during, and after an incident to personnel and
              to the public.

             Section 5.9 has stipulations for warning, notification, and communication needs
              that are reliable and interoperable and redundant where feasible that takes into
              account persons with disabilities and other access and functional needs.

               Similar to NFPA 1600, NFPA 1616 has requirements in Chapter 6 on
         Implementation, Chapter 7 on Training and Education, Chapter 8 on Exercises, and
         Chapter 9 on Program Maintenance and Improvement with additional specifics for mass
         evacuation, sheltering in place, and re-entry.

                 NFPA 1620 (2020 edition) specifies the characteristics of the facility and
         personnel onsite that should be within a pre-incident plan, such as emergency contact
         information, including those with knowledge of any supervisory, control, and data
         acquisition systems, communication systems, emergency power supply systems, and
         facility access controls as well as personnel accountability and assistance for people with
         self-evacuation limits, means of egress, emergency response capabilities, spill
         containment systems, water supply and fire protection systems, hazardous material
         information (e.g., safety datasheets), special considerations for responding to hazardous
         materials (e.g., firewater may exacerbate LNG fires, boiling-liquid-expanding-vapor
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         explosion (BLEVE)12 potential, etc.), and access to emergency action plans developed by
         the facility. Similar to NFPA 1600 and NFPA 1616, NFPA 1620 section 8.5.2 also
         addresses the implementation of an incident management system for the duration of the
         event and Chapter 10 establishes maintenance of a pre-incident plan.

                 NFPA 1600, NFPA 1616, and NFPA 1620 provisions for threat, hazard
         identification, and risk assessment provisions and identification of resource requirements
         and gaps are also consistent with Department of Homeland Security FEMA’s
         Comprehensive Preparedness Guide 101, Developing and Maintaining Emergency
         Operations Plans, Version 3.0, September 2021, and Comprehensive Preparedness Guide
         201, Threat and Hazard Identification and Risk Assessment and Stakeholder
         Preparedness Review Guide, Third Edition, May 2018, and other FEMA guidance.

                NFPA 470 covers the competencies and job performance requirements for
         emergency response personnel to incidents involving hazardous materials, including
         awareness level personnel (i.e., personnel onsite that would call for emergency
         responders and secure the scene), operations level responders (i.e., personnel responding
         to incident for implementing supporting actions to protection public), hazardous material
         technicians (i.e., personnel responding to incident for analyzing and implementing
         planned response), hazardous materials officers, hazardous materials safety officers,
         emergency medical services (EMS) personnel, incident commanders, and other specialist
         employees. The standard covers competencies and Job Performance Requirements ,
         including the ability to identify hazardous material releases and hazardous materials in
         volved and identifying surrounding conditions, such as topography, weather conditions,
         public exposure potential, possible ignition sources, land use and adjacent land use,
         overhead and underground wires and pipelines, rail lines, and highways, bodies of water,
         storm and sewer drains, and building information (e.g., ventilation ducts and air returns).
         Part of the standard also describes the ability and requirement to estimate potential
         outcomes in order to properly plan response strategies and tactics, and the selection and



                12
                  The American Institute of Chemical Engineers Center for Chemical Process
        Safety defines a boiling-liquid-expanding-vapor-explosion or BLEVE as a “type of rapid
        phase transition in which a liquid contained above its atmospheric boiling point is rapidly
        depressurized, causing a nearly instantaneous transition from liquid to vapor with a
        corresponding energy release. A BLEVE of flammable material is often accompanied by
        a large aerosol fireball, since an external fire impinging on the vapor space of a pressure
        vessel is a common cause. However, it is not necessary for the liquid to be flammable to
        have a BLEVE occur.” Center for Chemical Process Safety, Boiling-Liquid-Expanding-
        Vapor Explosion (BLEVE), https://www.aiche.org/ccps/resources/glossary/process-
        safety-glossary/boiling-liquid-expanding-vapor-explosion-bleve, (last visited April 2023).
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         use of proper personnel protective equipment (PPE). Many of these provisions are
         similar and synergistic with NFPA 1600, NFPA 1616, and NFPA 1620.

                NFPA 475 covers the organization, management, and sustainability of a hazardous
         material response program, including identifying facilities with hazardous materials,
         analyzing the risk of hazardous material incidents, including identifying hazardous
         materials at each location, (e.g., quantity, concentration, hazardous properties, etc.), type
         and design of containers; surrounding population and infrastructure, including vulnerable
         populations and critical facilities (e.g., schools, hospitals, businesses, etc.). NFPA 475
         similarly calls for analyzing the risk of an incident based on the consequences of a release
         and predicting its behavior and estimating the probability for an incident to take place and
         potential for cascading incidents. NFPA 475 Chapter 7 also has provisions for resource
         management, including the identification, acquisition, and management of personnel,
         equipment, and supplies to support hazardous material response programs. NFPA 475
         Chapter 8 expands upon staffing requirements and use of different staffing models and
         Chapter 9 expands upon training program with reference and similarities to NFPA 470.

                 In accordance with these recommended and generally accepted good engineering
         practices, Commission staff evaluated the potential impacts from incidents caused by a
         range of natural hazards, accidental events, intentional events, and potential for cascading
         damage at the LNG terminal, including scenarios that would lead to a potential
         catastrophic failure of a tank required to be accounted in emergency response plans by
         PHMSA regulations in 49 C.F.R. § 193.2509, and along the LNG carrier route using the
         Zones of Concern referenced in USCG Navigation and Vessel Inspection Circular
         (NVIC) 01-11.13 In addition, Commission staff identified potential emergency response
         needs based on the potential impacts to and characteristics of the population and
         infrastructure for potential intentional and accidental incidents along the LNG marine
         vessel route and at the LNG terminal. Consistent with these practices, Commission staff
         evaluated the potential hazards from incidents, the potential impacts to areas from
         incidents and the evaluation of characteristics of population, including those with
         potential access and functional needs, and infrastructure that require special
         considerations in pre-incident planning, including but not limited to:

             daycares;

             elementary, middle, and high schools and other educational facilities;



                13
                  USCG, NVIC 01-11, (Jan. 24, 2011),
         https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
         1-2011%20Final.pdf.
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             elderly centers and nursing homes and other boarding and care facilities;

             detention and correctional facilities;

             stadiums, concert halls, religious facilities, and other areas of assembly;

             densely populated commercial and residential areas, including high rise buildings,
              apartments, and hotels;

             hospitals and other health care facilities;

             police departments, stations, and substations;

             fire departments and stations;

             military or governmental installations and facilities;

             major transportation infrastructure, including evacuation routes, major highways,
              airports, rail, and other mass transit facilities as identified in external impacts
              section; and

             industrial facilities that could exacerbate the initial incident, including power
              plants, water supply infrastructure, and hazardous facilities with quantities that
              exceed thresholds in EPA RMP and/or OSHA PSM standards as identified in
              external impacts section.

                 Many of these facilities are also identified and defined in NFPA 101, Life Safety
         Code, and require emergency action plans. NFPA 101 is currently used by every U.S.
         state and adopted statewide in in 43 of the 50 states.14 Texas adopted and follows NFPA
         101 (2015 edition) without amendments.15,16 These areas are also similar to “identified
         sites” defined in 49 C.F.R. § 192 that define high consequence areas and those identified


                  14
                  NFPA, NFPA 101 Fact Sheet, (July 27, 2009),
         https://www.nfpa.org/assets/files/AboutTheCodes/101/NFPA101FactSheet0809.pdf.
                  15
                       Up Codes, Texas Building Codes, https://up.codes/codes/texas (last visited Jan.
         2023).
                  16
                  Texas Department of Insurance: Texas State Fire Marshal, Standards of
         Inspection, https://www.tdi.texas.gov/fire/fmfsinotices.html (last visited Jan. 2023).
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         within Pipelines and Informed Planning Alliance (PIPA) for special land use planning
         considerations near pipelines.17

                B.     Potential Hazards

                An incident can result in various potential hazards and are initiated by a potential
         liquid and/or gaseous release with the formation of vapor at the release location, as well
         as from any liquid that pooled. The fluid released may present low or high temperature
         hazards and may result in the formation of toxic or flammable vapors. The type and
         extent of the hazard will depend on the material released, the storage and process
         conditions, and the volumes and durations released.

                Exposure to either cold liquid or vapor could cause freeze burns and depending on
         the length of exposure, more serious injury or death. However, spills would be contained
         to on-site areas and the cold state of these releases would be greatly limited due to the
         continuous mixing with the warmer air. The cold temperatures from the release would
         not present a hazard to the public, which would not have access to onsite areas. The cold
         temperatures may also quickly cool any materials contacted by the liquid on release,
         causing extreme thermal stress in materials not specifically designed for such conditions.
         These thermal stresses could subsequently subject the material to brittleness, fracture, or
         other loss of tensile strength and result in cascading failures. However, regulatory
         requirements and Environmental Conditions in the Authorization Order would ensure that
         these effects would be accounted for in the design of equipment and structural supports.

                A rapid phase transition (RPT) can occur when a cryogenic liquid is spilled onto
         water and changes from liquid to gas, virtually instantaneously. Unlike an explosion that
         releases energy and combustion products from a chemical reaction, an RPT is the result
         of heat transferred to the liquid inducing a change to the vapor state. RPTs have been
         observed during LNG test spills onto water. In some test cases, the overpressures
         generated were strong enough to damage test equipment in the immediate vicinity of the
         LNG release point. The sizes of the overpressure events have been generally small and
         are not expected to cause significant damage. Six of the 18 Coyote spills18 produced RPT

                17
                   U.S. DOT: Pipelines and Informed Planning Alliance, Partnering to Further
         Enhance Pipeline Safety in Communities through Risk-Informed Land Use Planning,
         Final Report of Recommended Practices, (Nov. 2010)
         https://primis.phmsa.dot.gov/comm/publications/PIPA/PIPA-Report-Final-
         20101117.pdf#pagemode=bookmarks.
                18
                   Goldwire, H.C., et al., Coyote Series Data Report LLNL/NWC 1981 LNG Spill
         Tests Dispersion, Vapor Burn, and Rapid Phase Transition, Volume 1 (1983). In 1981, a
         series of LNG spill experiments were performed at the Naval Weapons Center, located at
         China Lake, California; they are commonly referred to as the Coyote series. There was a
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         explosions. Most were early RPTs that occurred immediately with the spill, and some
         continued for the longer periods. Including RPTs near the end of the spills on three tests.
         LNG composition, water temperature, spill rate and depth of penetration all seem to play
         a role in RPT development and strength. The maximum strength RPT yielded equivalent
         to up to 6.3 kilograms of TNT free-air point source at the maximum spill rate of
         18 m3/min (4,750 gpm). This would produce an approximate 1 psi overpressures less
         than 100 feet from the spill source. These events are typically limited to the area within
         the spill and are not expected to cause damage outside of the area engulfed by the LNG
         pool. However, a RPT may affect the rate of pool spreading and the rate of vaporization
         for a spill on water.

                C.     Vapor Dispersion

               Depending on the size and product of the release, liquids may form a liquid pool
        and vaporize. Additional vaporization would result from exposure to ambient heat
        sources, such as water or soil. The vapor may form a toxic or flammable cloud
        depending on the material released. The dispersion of the vapor cloud will depend on the
        physical properties of the cloud, the ambient conditions, and the surrounding terrain and
        structures. Generally, a denser-than-air vapor cloud would sink to the ground and would
        travel with the prevailing wind, while a lighter-than-air vapor cloud would rise and travel
        with the prevailing wind. The density will depend on the material releases and the
        temperature of the material. For example, an LNG release would initially form a denser
        than-air vapor cloud and transition to lighter-than-air vapor cloud as the vapor disperses
        downwind and mixes with the warm surrounding air. However, experimental
        observations and vapor dispersion modeling indicate an LNG vapor cloud would not
        typically be warm, or buoyant, enough to lift off from the ground before the LNG vapor
        cloud disperses below its lower flammable limit (LFL).

                A vapor cloud formed following an accidental release would continue to be
         hazardous until it dispersed below toxic levels and/or flammable limits. Toxicity is
         primarily dependent on the airborne concentration of the toxic component and the
         exposure duration, while flammability of the vapor cloud is primarily dependent just on
         the concentration of the vapor when mixed with the surrounding air. In general, higher
         concentrations within the vapor cloud would exist near the spill, and lower concentrations
         would exist near the edge of the cloud as it disperses downwind.

               Toxicity is defined by several different agencies for different purposes. Acute
         Exposure Guideline Level (AEGL) and Emergency Response Planning Guidelines
         (ERPG) can be used for emergency planning, prevention, and response activities related

         total of ten Coyote series experiments, which included the study of vapor dispersion and
         burning vapor clouds and rapid-phase transition explosions. Id.
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         to the accidental release of hazardous substances. Other federal agencies, such as the U.S.
         Department of Energy (DOE), EPA, and National Oceanic and Atmospheric
         Administration (NOAA), use AEGLs and ERPGs as the primary measure of toxicity.

                There are three AEGLs and three ERPGs, which are distinguished by varying
         degrees of severity of toxic effects with AEGL-1 and ERPG-1 (level 1) being the least
         severe to AEGL-3 and ERPG-3 (level 3) being the most severe.

             AEGL-1 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              notable discomfort, irritation, or certain asymptomatic non sensory effects.
              However, these effects are not disabling and are transient and reversible upon
              cessation of the exposure.

             AEGL-2 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              irreversible or other serious, long lasting adverse health effects or an impaired
              ability to escape.

             AEGL-3 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              life-threatening health effects or death.

                The EPA directs the development of AEGLs in a collaborative effort consisting of
         committee members from public and private sectors across the world. Commission staff
         uses AEGLs preferentially as they are more inclusive and provide toxicity levels at
         various exposure times (10 minutes, 30 minutes, 1 hour, 4 hours, and 8 hours). The use
         of AEGLs is also preferred by the DOE and NOAA. Under the EPA RMP regulations in
         40 C.F.R. § 68, the EPA currently requires the determination of distances to toxic
         concentrations based on ERPG-2 levels. ERPG levels have similar definitions but are
         based on the maximum airborne concentration below which it is believed nearly all
         individuals could be exposed for up to 1 hour without experiencing similar effects
         defined in each of the AEGLs. The EPA provides ERPGs (1 hour) for a list of chemicals.
         These toxic concentration endpoints are comparable to AEGLs endpoints.

                In addition, any non-toxic release that does not contain oxygen would be classified
         as simple asphyxiants and may pose extreme health hazards, including death, if inhaled in
         significant quantities within a limited time. Very cold methane and heavier hydrocarbons
         vapors may also cause freeze burns. However, the locations of concentrations where cold
         temperatures and oxygen-deprivation effects could occur are greatly limited due to the
         continuous mixing with the warmer air surrounding the spill site. For that reason,
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         exposure injuries from contact with releases of methane, nitrogen, and heavier
         hydrocarbons normally represent negligible risks to the public.

               Flammable vapors can develop when a flammable material is above its flash point
         and concentrations are between the LFL and the upper flammable limit (UFL).
         Concentrations between the LFL and UFL can be ignited, and concentrations above the
         UFL or below the LFL would not ignite.

                  The extent of the affected area and the severity of the impacts on objects within a
         vapor cloud would primarily be dependent on the material, quantity, and duration of the
         initial release, the surrounding terrain, and the weather (e.g., wind speed and direction,
         temperature, humidity, etc.) present during the dispersion of the cloud.

                D.     Flammable Vapor Ignition

                 If the flammable portion of a vapor cloud encounters an ignition source, a flame
         would propagate through the flammable portions of the cloud. In most circumstances, the
         flame would be driven by the heat it generates. This process is known as a deflagration,
         or a flash fire, because of its relatively short duration. However, exposure to a
         deflagration, or flash fire, can cause severe burns and death, and can ignite combustible
         materials within the cloud. If the deflagration in a flammable vapor cloud accelerates to a
         sufficiently high rate of speed, pressure waves that can cause damage would be
         generated. As a deflagration accelerates to super-sonic speeds, the large shock waves
         produced, rather than the heat, would begin to drive the flame, resulting in a detonation.
         The flame speeds are primarily dependent on the reactivity of the fuel, the ignition
         strength and location, the degree of congestion and confinement of the area occupied by
         the vapor cloud, and the flame travel distance. Once a vapor cloud is ignited, the flame
         front may propagate back to the spill site if the vapor concentration along this path is
         sufficiently high to support the combustion process. When the flame reaches vapor
         concentrations above the UFL, the deflagration will transition to a pool or jet fire back at
         the source. If ignition occurs soon after the release begins, a fireball may occur near the
         source of the release and would be of a relatively short duration compared to an ensuing
         jet or pool fire. The extent of the affected area and the severity of the impacts on objects
         in the vicinity of a fire would primarily be dependent on the material, quantity, and
         duration of the fire, the surrounding terrain, and the ambient conditions present during the
         fire.

                E.     Overpressures

                 If the deflagration in a flammable vapor cloud accelerates to a sufficiently high
         rate of speed, pressure waves that can cause damage would be generated. As a
         deflagration accelerates to super-sonic speeds, large pressure waves are produced, and a
         shock wave is created. In this scenario, the shock wave, rather than the heat, would drive
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         the flame, resulting in a detonation. Deflagrations or detonations are generally
         characterized as “explosions” as the rapid movement of the flame and pressure waves
         associated with them cause additional damage beyond that from the heat. The amount of
         damage an explosion causes is dependent on the amount the produced pressure wave is
         above atmospheric pressure (i.e., an overpressure) and its duration (i.e., pulse). For
         example, a 1 psi overpressure, often cited as a safety limit in NFPA 59A (2019 edition)
         and U.S. regulations, is associated with glass shattering and traveling with velocities high
         enough to lacerate skin.

                 Flame speeds and overpressures are primarily dependent on the reactivity of the
         fuel, the ignition strength and location, the degree of congestion and confinement of the
         area occupied by the vapor cloud, and the flame travel distance.

                The potential for unconfined LNG vapor cloud detonations was investigated by
         the USCG in the late 1970s at the Naval Weapons Center in China Lake, California.
         Using methane, the primary component of natural gas, several experiments were
         conducted to determine whether unconfined LNG vapor clouds would detonate.
         Unconfined methane vapor clouds ignited with low-energy ignition sources (13.5 joules),
         produced flame speeds ranging from 12 to 20 mph. These flame speeds are much lower
         than the flame speeds associated with a deflagration with damaging overpressures or a
         detonation.

                To examine the potential for detonation of an unconfined natural gas cloud
         containing heavier hydrocarbons that are more reactive, such as ethane and propane, the
         USCG conducted further tests on ambient-temperature fuel mixtures of methane-ethane
         and methane-propane. The tests indicated that the addition of heavier hydrocarbons
         influenced the tendency of an unconfined natural gas vapor cloud to detonate. Less
         processed natural gas with greater amounts of heavier hydrocarbons would be more
         sensitive to detonation.

                 Although it has been possible to produce damaging overpressures and detonations
         of unconfined LNG vapor clouds, the feed gas stream proposed for the project would
         have lower ethane and propane concentrations than those that resulted in damaging
         overpressures and detonations. The substantial amount of initiating explosives needed to
         create the shock initiation during the limited range of vapor-air concentrations also
         renders the possibility of detonation of these vapors at an LNG plant as unrealistic.
         Ignition of a confined LNG vapor cloud could result in higher overpressures. To prevent
         such an occurrence, Rio Grande would take measures to mitigate the vapor dispersion
         and ignition into confined areas, such as buildings. Rio Grande would install hazard
         detection devices at all combustion and ventilation air intake equipment to enable
         isolation and deactivation of any combustion equipment whose continued operation could
         add to, or sustain, an emergency. In general, the primary hazards to the public from an
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         LNG spill that disperses to an unconfined area, either on land or water, would be from
         dispersion of the flammable vapors or from radiant heat generated by a pool fire.

                In comparison with LNG vapor clouds, there is a higher potential for unconfined
         propane clouds to produce damaging overpressures. This has been shown by multiple
         experiments conducted by the Explosion Research Cooperative to develop predictive
         blast wave models for low, medium, and high reactivity fuels and varying degrees of
         congestion and confinement. The experiments used methane, propane, and ethylene, as
         the respective low, medium, and high reactivity fuels. In addition, the tests showed that
         if methane, propane, or ethylene are ignited within a confined space, such as in a
         building, they all have the potential to produce damaging overpressures.

                 Fires and overpressures may also cause failures of nearby storage vessels, piping,
         and equipment if not properly mitigated. These failures are often termed cascading
         events or domino effects and can exceed the consequences of the initial hazard. The
         failure of a pressurized vessel could cause fragments of material to fly through the air at
         high velocities, posing damage to surrounding structures and a hazard for operating staff,
         emergency personnel, or other individuals in proximity to the event. In addition, failure
         of a pressurized vessel when the liquid is at a temperature significantly above its normal
         boiling point could result in a BLEVE. BLEVEs can produce overpressures when the
         superheated liquid rapidly changes from a liquid to a vapor upon the release from the
         vessel. BLEVEs of flammable fluids may also ignite upon its release and cause a
         subsequent fireball.

                F.       Potential Infrastructure Impacts from LNG Facilities

                The final EIS for the Rio Grande LNG Terminal assessed potential impacts to the
        public and whether the project would operate safely, reliably, and securely.19 The Rio
        Grande LNG Terminal would be subject to design requirements and would include
        mitigation to meet regulation requirements and the conditions of the Authorization
        Order.20 Although the likelihood of incidents and hazards described in the final EIS are
        extremely low due to the mitigation required by regulations and Environmental
        Conditions, potential impacts from these hazards could impact onsite personnel and
        offsite public.21


                19
                     See Final EIS at 4-304 – 4-380.
                20
                     See Authorization Order, 169 FERC ¶ 61,131 at app.
                21
                  Specific distances of potential impacts from incidents at an LNG terminal have
         not been provided at this time to try and balance the potential security interests in
         releasing such information. Specific distances for various hazards described would be
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                 Commission staff evaluated a range of releases to evaluate the potential impacts to
         populations and infrastructure within vicinity of the plant. Impacts would vary based on
         the initiating event and subsequent release characteristics (e.g., size, location, direction,
         process conditions, etc.), hazard (i.e., vapor dispersion, overpressures, fires, BLEVE and
         pressure vessel bursts), weather conditions, and surrounding terrain. Distances to radiant
         heats of 5 kW/m2 (or approximately 1,600 BTU/ft2-hr) from fires produced by accidental
         and intentional acts could impact onsite personnel or offsite public. For example, section
         2.2.2.2 in NFPA 59A-2001, incorporated by reference in PHMSA regulations in 49
         C.F.R. § 193, requires spill containments, serving vaporization, process, or LNG transfer
         area, to contain liquid releases from 2-inch diameter holes and guillotine releases of
         piping less than 6-inches in diameter. Additionally, PHMSA siting regulations for
         flammable vapor dispersion and thermal radiation exclusion zones limit the dispersion of
         flammable vapors and 1,600 BTU/ft2-hr radiant heat from LNG pool fires in those spill
         containment systems in certain weather conditions from extending beyond the control of
         the operator or government agency and prevent it from extending onto areas accessible
         by the public. The Authorization Order requires spill containment systems to capture all
         liquid from guillotine ruptures of the single largest line and largest vessel(s) to limit their
         pool spread and vaporization. This effectively limits the extent of the 1,600 BTU/ft2-hr
         radiant heat from pool fires to onsite for even the largest releases from a single source
         and considerably reduces the dispersion distances to flammable vapors. However,
         ignition of releases larger than those used in the siting analyses can result in 1,600
         BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats from jet and pool fires that extend offsite
         onto publicly accessible areas.

                 The only offsite infrastructure that could be impacted by 10,000 BTU/ft2-hr
         radiant heat from a fire would be a portion of Texas State Highway 48 with no impacts to
         nearby communities. The offsite infrastructure that could be impacted by 1,600 BTU/ft2-
         hr radiant heat from a fire would be the authorized Texas LNG Terminal facility22 and the
         infrastructure within the 10,000 BTU/ft2-hr radiant heat with no impact to nearby
         communities. The unignited vapor dispersion from a catastrophic failure of an LNG
         storage tanks is extremely unlikely but, if it occurred, could extend farther offsite and
         could impact the following critical infrastructure: commercial areas including the Port
         Isabel-San Benito Navigation District, and the Space X assembly facility, numerous local
         government buildings including the Port Isabel Police Department, Cameron County

         provided in emergency response plans for reference and use by emergency responders,
         Further, potential hazards have been described and potential impacts to communities are
         disclosed to balance the importance of public disclosure and transparency on the balance
         of potentially releasing information that has not been previously released and could be
         used by intentional actors.
                22
                     Tex. LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019).
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         Precinct 1 Constable’s Office, Port Isabel City Fire Department, Cameron County Tax
         Assessor-Collector Office, Port Isabel City Hall, and Port Isabel City Social Worker
         Office; two health care facilities including the Port Isabel Health Clinic, and the Luna
         Medical Clinic, and several major roadways, including the Queen Isabel Causeway,
         Texas State Highway 100, and Texas State Highway 48. Several communities within the
         extent of the unignited vapor release from a catastrophic failure of one of the LNG
         storage tanks could include multiple residential homes, apartment complexes, several
         schools including Garriga Elementary School, Derry Elementary School, Port Isabel
         Junior High School, Port Isabel High School, several child-care facilities including the
         Little Learners Academy, Esperanza B. Garza Head Start, and Beacon Bay Head Start,
         hotels, and places of worship.

                  G.       Potential Infrastructure Impacts Along LNG Marine Vessel Route

                As LNG marine vessels proceed along the intended transit route, the estimated
        impacts would extend onto populated areas and infrastructure. These distances are
        provided as Zones of Concern in the publicly available guidance document Navigation
        and Vessel Inspection Circular (NVIC) 01-1123 used by the USCG and correspond to
        37.5 kW/m2 (approximately 12,000 BTU/ft2-hr) radiant heats from fires for Zone 1,
        5 kW/m2 (approximately 1,600 BTU/ft2-hr) radiant heats from fires for Zone 2, and
        flammable vapor dispersion distances for Zone 3. The areas, including a description of
        the infrastructure and communities, impacted by the three different hazard zones were
        provided for accidental and intentional events in the final EIS.24

                  H.       Potential Impacts on People with Access and Functional Needs and
                           Environmental Justice Communities

                Commission staff used EJScreen25 as an initial screening tool to identify the
         potential impacts from incidents along the LNG marine vessel transit route and at the
         LNG terminal, including potential impacts to people with access and functional needs as
         defined in NFPA 1600 and 1616. Table C.1 shows the resultant percentages of people



                  23
                  USCG, NVIC 01-11, (Jan. 24, 2011),
         https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
         1-2011%20Final.pdf.
                  24
                       Final EIS, 4-317 at Fig. 4.12.1.3-1; 4.12.1.3-2.
                  25
                       EPA, EJScreen (Version 2.1), https://ejscreen.epa.gov/mapper/ (last visited Dec.
         2022).
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         with potential access and functional needs based on 2016-2020 U.S. Census Bureau,
         American Community Survey (ACS), as follows.26




               26
                  Based on EPA, EJScreen User Guide Version 2.1, 2022, the impact area would
        aggregate appropriate portions of the intersecting block groups, weighted by population,
        to create a representative set of data for the entire ring area, honoring variation and
        dispersion of the population in the block groups within it. For each indicator, the result is
        a population-weighted average, which equals the block group indicator values averaged
        over all residents who are estimated to be inside the impact area. A weight factor for
        each block group is determined by summing each block point population percentage for
        that block group. If the impact area touches part of a neighboring block group that
        contains no block points, nothing will be aggregated; if an impact area intersects a
        number of block groups, EJScreen indices will be aggregated within each block group
        based on the affiliated block points. The aggregation is done by using factor-weighted
        block points.
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                                                          TABLE C.1

                         People With Access and Functional Needs within Potential Impact Areas
                                 Population                                                                Linguistically
                                                                                             Age 65+
      Potential Incident          Density                      1   Housing     Age 0-4                        Isolated
                                                Households                                  (percent)
          Impact Area           (per square                         Units1    (percent)1        1           Households
                                   mile) 1                                                                 (percent)1, 2, 3
             Zone 1
     (LNG marine vessel -             0                 0             0           0%           0%                0%
           Accidental)
             Zone 2
     (LNG marine vessel -           319                75            397          2%          34%                0%
           Accidental)
             Zone 3
     (LNG marine vessel -           168              237            1,255         2%          34%                0%
           Accidental)
             Zone 1
     (LNG marine vessel -             0                 0             0           0%           0%                0%
           Intentional)
             Zone 2
     (LNG marine vessel -           183              195            1,033         2%          34%                0%
           Intentional)
             Zone 3
     (LNG marine vessel -           194             1,558           4,095         5%          22%              14.9%
           Intentional)
       10,000 BTU/ft2-hr
                                      0                 0             0           0%           0%                0%
        (LNG Terminal)
        1,600 BTU/ft2-hr
                                      0                 0             0           0%           0%                0%
         (LNG Terminal)
   Flammable Vapor Cloud
                                    186             2,995           5,470         9%          19%              13.6%
        (LNG Terminal)
   1
     American Community Survey, 2016-2020, ACS Estimates
   2
     Households in which no one 14 and over speaks English “very well” or speaks English only.
   3
     Calculated by dividing the number of linguistically isolated households by the total number of households multiplied by
   100.



                 The worst-case distances from these potential incidents would potentially impact
          six census block groups, all of which are considered environmental justice communities.
          The block groups located with environmental justice communities that exceed the
          thresholds for minority and low income would include Census Tracts 142.02 Block
          Group 2, 127 Block Group 2, 123.04 Block Group 2, 123.04 Block Group 4 (based on the
          minority and low-income thresholds); Census Tract 123.04 Block Group 3 (based on the
          minority threshold); and Census Tract 123.04 Block Group 1 (based on low-income
          threshold).

                  I.      Emergency Response Plans and Mitigation

               In order to mitigate these potential offsite risks, this order modifies, in
          Appendix A, the Emergency Response Plan and Cost Sharing Plan Environmental
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         Conditions 53 and 54 from the Authorization Order. The modified language specifies
         emergency response and cost sharing considerations related to public education materials,
         including those with access and functional needs and environmental justice communities,
         on proposed evacuation routes and shelter in place locations, first responder training,
         emergency command centers and equipment, and public communication methods and
         devices. These revisions are made by Commission staff to further enhance the safety and
         security measures beyond that which would normally be required at the LNG terminal by
         the minimum standards for LNG safety promulgated in PHMSA regulations under 49
         C.F.R. § 193 and USCG regulations under 33 C.F.R. §§ 105 and 127.

                  As stated in Sandia National Laboratories Report, Guidance on Risk Analysis and
         Safety Implications of a Large LNG Spill Over Water, SAND2004-6258, which was the
         basis for the Zones of Concern and referenced in NVIC 01-011, Zone 1 represents “risks
         and consequences of an LNG spill could be significant and have severe negative impacts”
         and radiant heat demarked by this zone “poses a severe public safety and property hazard,
         and can damage or significantly disrupt critical infrastructure.” Subsequently, the Sandia
         report concludes that for accidental Zone 1 impacts, “risk management strategies for
         LNG operations should address both vapor dispersion and fire hazards” and the most
         rigorous deterrent measures, such as vessel security zones, waterway traffic management,
         and establishment of positive control over vessels are options to be considered as
         elements of the risk management process.” Zone 1 is based upon a 37.5 kW/m2 radiant
         heat from a fire, which would cause significant damage to equipment and structures that
         are located within 1,640 feet.27 Sandia recommends that “incident management and
         emergency response measures should be carefully evaluated to ensure adequate resources
         (i.e., firefighting, salvage, etc.) are available for consequence and risk mitigation.”

                 Sandia indicates Zone 2 represents where radiant heat “transitions to less severe
         hazard levels to public safety and property” and the consequence of an accidental LNG
         spill are reduced and risk reduction and mitigation approaches and strategies can be less
         extensive.” Zone 2 is based upon a 5 kW/m2 radiant heat, which would cause significant
         impacts to individuals, but would not be expected to significantly impact most
         structures.28 Sandia concludes that for accidental Zone 2 impacts, “risk management
         strategies for LNG operations should focus on approaches dealing with both vapor
         dispersion and fire hazards” and “should include incident management and emergency
         management and emergency response measures, such as ensuring areas of refuge (e.g.,
         enclosed areas, buildings) are available, development of community warning signals, and
         community education programs to ensure persons know what precautions to take.”


               27
                    See Final EIS at 4-315 (specific description of Sandia Zone 1 impacts).
               28
                    See id. (specific description of Sandia Zone 2 impacts).
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                Sandia indicates Zone 3 represents “risks and consequences to people and property
         of an accidental LNG spill over water are minimal” and radiant heat “poses minimal risks
         to public safety and property.” Zone 3 is based upon the dispersion distance to
         flammable vapors under worst-case wind conditions.29 In the rare circumstance that the
         flammable vapors are not ignited until later, there could be flash fires or explosions
         depending on congestion, confinement, and ignition strength and location. Subsequent
         pool fires that would be demarked from the Zone 1 and 2 fire hazard distances, Sandia
         concludes that for accidental Zone 3 impacts, “risk reduction and mitigation strategies
         can be significantly less complicated or extensive” and “should concentrate on incident
         management and emergency response measures that are focused on dealing with vapor
         cloud dispersion...,” such as ensuring “areas of refuge are available, and community
         education programs...to ensure that persons know what to do in the unlikely event of a
         vapor cloud.” Sandia makes similar recommendations for the Zones of Concern for
         intentional acts. The modified Emergency Response Plan and Cost Sharing Plan
         Environmental Condition Nos. 53 and 54 in Appendix A of this order incorporate the
         considerations from the Sandia recommendations and would be consistent with the
         recognized and generally accepted good engineering practices for evacuating and
         sheltering in place, such as NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470, and NFPA
         475.

                As described in the final EIS, Commission staff evaluated Rio Grande’s
        application with a focus on potential hazards from within the terminal and near the site,
        including external events, which may have the potential to cause damage or failure to the
        project facilities. Based on these potential hazards, staff examined the project’s
        engineering design features that would mitigate potential hazards and any risk to safety
        and reliability.30 When reviewing an applicant’s engineering design for a project, the
        Commission requires it to be site-specific and developed to the extent that further
        detailed design would not result in significant changes to the siting considerations, basis
        of design, operating conditions, major equipment selections, equipment design
        conditions, or safety system designs. The engineering design that staff evaluated
        included: process design; mechanical design; hazard mitigation design for the spill
        containment design; spacing and plant layout design; ignition control design; hazard
        detection; emergency shutdown and depressurization system design; hazard control
        design; passive cryogenic and fire protection design; firewater system design;
        geotechnical and structural design, including natural hazards design; and onsite and
        offsite emergency response plans.31


               29
                    See id. (specific description of Sandia Zone 3 impacts).
               30
                    Id. at 4-322 to 4-323.
               31
                    Id. at 4-323 to 4-341 (detailing staff’s evaluation of the project’s engineering
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                To analyze the reliability and safety of these designs, staff considered the
         occurrence and likelihood of potential hazards and the likely severity of consequences
         based on past incidents and validated hazard modeling. As part of its review, staff
         recommended 93 mitigation measures in the final EIS, which were adopted as conditions
         in the Authorization Order.32 In addition to the earlier review, staff reevaluated the
         potential impacts along the LNG marine vessel transit route and at the LNG terminal as
         described above.33 This review resulted in modifications to Environmental Conditions 53
         and 54 from the Authorization Order related to emergency response and cost sharing
         plans in order to further mitigate potential offsite risks.34 Based on these reviews,
         Commission staff determined that the risk (i.e., likelihood and consequence) of accidental
         and intentional events would be less than significant with implementation of the
         previously adopted safety and security conditions of the Authorization Order and the
         proposed ERP and Cost Sharing Plan recommendations herein. These measures further
         enhance the safety and security measures above what is required at the LNG terminal by
         PHMSA regulations under 49 C.F.R. § 193 and USCG regulations under 33 C.F.R. §§
         105 and 127, and those required for the LNG marine vessel by USCG regulations under
         33 C.F.R. § 104 and 46 C.F.R. § 154.

                 The Energy Policy Act of 2005 requires LNG terminal operator’s Emergency
         Response Plan be developed in consultation with the USCG and State and local agencies
         and be approved by the Commission prior to final approval to begin construction. Rio
         Grande has already filed initial drafts of Emergency Response Plans prior to initial site
         preparation and has committed to providing public education materials in English and
         Spanish. However, the Emergency Response Plans continue to be under development.
         Appendix A of this order modifies Environmental Conditions 53 and 54 from the
         Authorization Order, providing , that prior to construction of final design, Rio Grande
         shall file with the Secretary, for review and written approval by the Director of the Office
         of Energy Projects, or their designee, an updated Emergency Response Plan (ERP),
         including evacuation and any sheltering and re-entry. The ERP must be developed and
         coordinated with the USCG; state, county, and local emergency planning groups; fire
         departments; state and local law enforcement; and other appropriate federal agencies.
         This plan must be consistent with recommended and good engineering practices, as
         defined in NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470, NFPA 475, or approved
         equivalents, and based on potential impacts and onsets of hazards from accidental and

         design).
                32
                     Authorization Order, 169 FERC ¶ 61,131 at Env’t Conditions 49-139.
                33
                     See supra at C-19 & C-20.
                34
                     See supra Order on Remand and Amending Certificate at P 156.
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         intentional events along the LNG marine vessel route and potential impacts and onset of
         hazards from accidental and intentional events at the LNG terminal, including but not
         limited to a catastrophic failure of the largest LNG tank. The plan must also address any
         special considerations and pre-incident planning for infrastructure and public with access
         and functional needs and include at a minimum:

            a.        materials and plans for periodic dissemination of public education and training
                      materials in English and Spanish for potential hazards and impacts, identification
                      of potential hazards, and steps for public notification, evacuation, and shelter in
                      place within any transient hazard areas along the marine vessel route, and within
                      LNG terminal hazard areas;
                 b.      plans to competently train emergency responders required to effectively and
                         safely respond to hazardous material incidents including, but not limited to,
                         LNG fires and dispersion;
                 c.      plans to competently train emergency responders to effectively and safely
                         evacuate or shelter public within transient hazard areas along the marine
                         vessel route, and within hazard areas from LNG terminal;
                 d.      designated contacts with federal, state, and local emergency response
                         agencies responsible for emergency management and response within any
                         transient hazard areas along the marine vessel route, and within hazard areas
                         from LNG terminal;
                 e.      scalable procedures for the prompt notification of appropriate local officials
                         and emergency response agencies based on the level and severity of potential
                         incidents;
                 f.      scalable procedures for mobilizing response and establishing a unified
                         command, including identification, location, and design of any emergency
                         operations centers and emergency response equipment required to effectively
                         and safely respond to hazardous material incidents and evacuate or shelter
                         public within transient hazard areas along the marine vessel route, and within
                         LNG terminal hazard areas;
                 g.      scalable procedures for notifying public, including identification, location,
                         design, and use of any permanent sirens or other warning devices required to
                         effectively communicate and warn the public prior to onset of debilitating
                         hazards within any transient hazard areas along the LNG marine vessel route
                         and within hazard areas from LNG terminal;
                 h.      scalable procedures for evacuating the public, including identification,
                         location, design, and use of evacuation routes/methods and any mustering
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                      locations required to effectively and safely evacuate the public within any
                      transient hazard areas along the LNG marine transit route and within hazard
                      areas from LNG terminal; and
               i.     scalable procedures for sheltering the public, including identification,
                      location, design, and use of any shelters demonstrated to be needed and
                      demonstrated to effectively and safely shelter the public prior to onset of
                      debilitating hazards within transient hazard areas that may better benefit from
                      sheltering in place (i.e., those within Zones of Concern 1 and 2), along the
                      route of the LNG marine vessel and within hazard areas that may benefit
                      from sheltering in place (i.e., those within areas of 1,600 BTU/ft2-hr and
                      10,000 BTU/ft2-hr radiant heats from fires with farthest impacts, including
                      from a catastrophic failure of largest LNG tank) of the LNG terminal.
               Modified Environmental Condition No. 53 requires Rio Grande to notify
         Commission staff of all planning meetings in advance and to report progress on the
         development of its Emergency Response Plan at 3-month intervals.

                The Energy Policy Act of 2005 requires LNG terminal operators develop a cost-
         sharing plan to reimburse direct costs to state and local agencies. To satisfy this
         requirement, Commission staff also includes revised Environmental Condition No. 54 for
         Rio Grande to provide a Cost Sharing Plan that includes sustained funding of any
         requirement or resource gap analysis identified above to be needed and to effectively and
         safely evacuate and shelter public and required to effectively and safely respond to
         hazardous material incidents. Once submitted by Rio Grande, Commission staff would
         evaluate the revised Emergency Response Plan and Cost Sharing Plan in accordance with
         recommended and good engineering practices such as, but not limited to, NFPA 1600,
         NFPA 1616, NFPA 1620, NFPA 470 and NFPA 475, or approved equivalents.

                Based on our preliminary analysis of the hazards from the LNG facilities and
         along the LNG marine vessel route and the Environmental Conditions set forth in the
         Authorization Order and modified Environmental Conditions herein, Rio Grande must
         provide additional information, for review and approval, on development of emergency
         response plans prior to construction of final design. Rio Grande will also have to file
         three dimensional drawings, for review and approval, under the current conditions in its
         Authorization Order that demonstrate there is a sufficient number of access and egress
         locations at the LNG terminal. Rio Grande is also required under current conditions in its
         Authorization Order to coordinate with local, state, and federal agencies on the
         development of an emergency response plan and cost sharing plan. Rio Grande has
         provided and must continue to provide periodic updates on the development of these
         plans for review and approval, and ensure they are in place prior to introduction of
         hazardous fluids. In addition, the project facilities would be subject to regular
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         inspections throughout the life of the facility and would continue to require companies to
         file updates to the Emergency Response Plan.
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Rio Grande LNG, LLC                                          Docket Nos. CP16-454-003
                                                                                  CP16-454-000
         Rio Bravo Pipeline Company, LLC                                          CP16-455-000
                                                                                  CP16-455-002
                                                                                  CP20-481-000


                                            (Issued April 21, 2023)


         PHILLIPS, Chairman, concurring:

                 I concur in today’s orders.1 In Vecinos para el Bienestar de la Comunidad
         Costera v. FERC,2 the U.S. Court of Appeals for the District of Columbia Circuit held
         that “the Commission's analyses of the [Rio Bravo and Texas LNG projects’] impacts on
         climate change and environmental justice communities were deficient,” and directed the
         Commission on remand to “revisit its determinations of public interest and convenience
         under Sections 3 and 7 of the NGA” after adequately considering those issues. With
         today’s order, we have provided a full response to both deficiencies identified by the
         Court.


               First, with respect to climate change, the Court held that the Commission did not
         adequately respond to arguments regarding why it should deploy the Social Cost of
         Carbon.3 In response, consistent with recent precedent, we have included the Social Cost
         of Carbon figures in today’s order.


                Second, with respect to environmental justice, the Court held that the Commission
         did not adequately explain its method for identifying environmental justice communities
         potentially affected by the projects. In response, we have conducted a full review of the

               1
                I enter the same concurrence in this case as Texas LNG Brownsville LLC, 183
         FERC ¶ 61,047 (2023).
               2
                   6 F.4th 1321, 1331 (D.C. Cir. 2021).
               3
                   Id. at 1328-30.
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         projects’ impacts on environmental justice communities. Throughout 2022, Commission
         staff issued multiple data requests to gather information on the projects’ potential impacts
         on environmental communities with 50 kilometers of the facilities. In addition, we
         provided all stakeholders an opportunity to comment on the information submitted in
         those data requests, including what that information meant for environmental justice
         communities. While I recognize that certain of my colleagues would have preferred more
         process or less, I believe that the record assembled throughout the last year is an
         appropriate middle ground that represents an adequate basis to fully consider the issues
         the Court remanded to us in Vecinos nearly two years ago.

                 And we did just that. Today’s order conducts a full environmental justice
         examination using our current methods, which are consistent with EPA and CEQ
         guidance. As part of that investigation, and in direct response to the Court, we identified
         all environmental justice communities within 50 kilometers of the projects, as opposed to
         just those within the 2-mile radius considered in the initial orders.4 We then analyzed
         each project’s impacts on affected EJ communities. As part of that full examination and
         due to required mitigation, we affirmed our earlier conclusion that the projects’ impacts
         would be less than significant.

                To that point, today’s order takes an unprecedented and bipartisan step to protect
         environmental justice communities from potential concerns about the projects’ effects on
         air quality. Because portions of the projects will enter service before construction is
         entirely completed, there is the potential that those overlapping activities could, in
         connection with other background emissions, contribute to an exceedance of the National
         Ambient Air Quality Standards (NAAQS) for certain pollutants. To mitigate that
         concern, the Commission is, for the first time, sua sponte, requiring the projects’
         sponsors to file a plan to ensure that the overlapping construction and operation of project
         do not cause any exceedance of the NAAQS. That measure allows the Commission to
         conclude that the projects will not have any significant air quality impacts on
         environmental justice communities.

                In addition, at a broader level, this mitigation illustrates how the Commission is
         making progress on the critically important issue of cumulative impacts. At the
         Commission’s March 29, 2022 Roundtable on Environmental Justice and Equity in
         Infrastructure Permitting, we heard from several stakeholders, including community
         groups, about the importance of considering cumulative impacts—i.e., not just the air
         emissions directly caused by a particular project, but also those emissions in conjunction
         with the emissions from other sources within the region. Today’s order takes a critical
         step toward addressing that concern by requiring that the project sponsors develop a plan

                4
                  The underlying orders identified only communities within in two miles or over
         three kilometers of the facility.
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         to ensure that incremental emissions impacts associated with these projects, on top of all
         sources, do not cause a NAAQS exceedance, thereby helping to protect communities,
         including environmental justice communities, that may venture near the projects.


                For these reasons, I respectfully concur.


                ______________________________
                Willie L. Phillips
                Chairman
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Rio Grande LNG, LLC                                            Docket Nos. CP16-454-003
                                                                                    CP16-454-000
         Rio Bravo Pipeline Company, LLC                                            CP16-455-000
                                                                                    CP16-455-002
                                                                                    CP20-481-000

                                              (Issued April 21, 2023)

         CLEMENTS, Commissioner, dissenting:

                 I dissent from the Order1 because (1) the Commission was required to prepare a
         supplemental environmental impact statement (EIS) and its failure to do so renders the
         Order’s significance determinations unsupportable; (2) the Commission should have
         granted the requests it received to hold public meetings addressing the Commission’s
         new analyses of environmental and other impacts;2 and (3) I disagree with the Order’s
         explanation for why the Commission is not determining the significance of greenhouse
         gas (GHG) emissions associated with the Rio Grande LNG Terminal and Rio Bravo
         Pipeline projects.3 The Commission’s failure to prepare a supplemental EIS for the two
         projects and the proposed amendment to the Rio Bravo Pipeline certificate, and to take
         public comment on the supplement, leaves the Commission with a fundamentally flawed
         record that cannot support a public interest determination for either project. I therefore
         dissent from the Order’s ultimate conclusions that the Rio Bravo Pipeline, as amended,4
         is in the public convenience and necessity and that the Rio Grande LNG Terminal is not
         inconsistent with the public interest.5



                1
                    Rio Grande LNG, LLC, 183 FERC ¶ 61,046 (2023) (Order).
                2
                    See Order at PP 83, 85.
                3
                    See Order at PP 92-93, 101.
                4
                  Given my conclusion that the Rio Bravo Pipeline project as a whole cannot be
         found to be in the public convenience and necessity, by extension the proposed changes
         to the project cannot be found to be in the public convenience and necessity. The
         Commission should have prepared a supplemental EIS addressing the Rio Bravo Pipeline
         and the proposed revisions to the project together.
                5
                    Order at P 207.
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                 In performing the expanded review of EJ impacts required by the D.C. Circuit’s
         remand decision in Vecinos,6 the Commission identified 282 additional EJ communities
         in the area around the Rio Grande LNG Terminal that could be impacted by the project,
         beyond the four identified in the Commission’s original analysis. It also identified 85
         additional EJ communities in the area around the Rio Bravo Pipeline project, beyond the
         21 identified in the Commission’s original analysis. The Commission has not provided
         members of these 367 newly identified EJ communities any meaningful opportunity to
         comment on the impacts the projects may have on them or what mitigation measures
         would help prevent or minimize any adverse impacts. For the reasons explained below,
         the Commission should have issued the new environmental and safety analyses included
         in the body and appendices of the Order as a supplemental EIS, issued targeted notices of
         the supplemental EIS to potentially affected EJ communities, and allowed a reasonable
         period for public comment on the supplemental EIS, including oral comments at the town
         hall style meetings that commenters have requested. The Commission’s failure to do so
         leaves us with an incomplete administrative record with respect to potential adverse
         impacts on newly identified EJ communities, the significance of those impacts, and
         mitigation measures to address them. In short, we lack the foundation for reasoned
         decision-making on these vital issues.

                The National Environmental Policy Act (NEPA) requires agencies to prepare an
         EIS for “major Federal actions significantly affecting the quality of the human
         environment.”7 The Commission did so before approving the Rio Grande LNG Terminal
         and Rio Bravo Pipeline projects. However, that was not enough to meet our obligations
         under NEPA. According to the Council on Environmental Quality’s (CEQ) regulations
         implementing NEPA, an agency must prepare a supplemental EIS if “there are significant
         new circumstances or information relevant to environmental concerns and bearing on the
         proposed action or its impacts.”8 Since issuing the original EIS for the Rio Grande


                6
                  Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
         (D.C. Cir. 2021). The Court instructed that, on remand, the Commission must explain
         why it used only a two-mile radius for its analysis of EJ impacts or use a different radius.
         Id. at 1331. The Commission correctly chose to use the 50-kilometer radius in its
         analysis on remand because that was the only rational choice given that the Commission
         uses that radius for analysis of air quality impacts. See Order at P 118 & n.292.
         (explaining 50 kilometers is the distance that the U.S. Environmental Protection Agency
         uses for cumulative air modeling for major stationary sources under its Prevention of
         Significant Deterioration Program).
                7
                    42 U.S.C. § 4332(2)(C).
                8
               40 C.F.R. § 1502.9(d)(1)(ii). The Commission’s regulations implementing
         NEPA provide that the Commission will comply with CEQ’s regulations. See 18 C.F.R.
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         Terminal and Rio Bravo Pipeline projects, and following the remand in Vecinos, the
         Commission has identified hundreds of additional potentially affected EJ communities.
         Under any reasonable interpretation of CEQ’s regulation, this is significant new
         information “relevant to environmental concerns.” For that reason alone, the
         Commission should have issued its new analyses as a supplemental EIS and provided an
         opportunity for public comment on it.9

                The other reasons a supplemental EIS is required are equally plain. In the Order,
         the Commission finds that, even with Rio Grande’s proposed mitigation measures, during
         periods when construction, operation, and commissioning activities occur at the same
         time at the LNG terminal, the Clean Air Act National Air Ambient Quality Standards
         (NAAQS) may be exceeded for certain air pollutants.10 The Order imposes a new air
         pollution and monitoring condition that may prevent or reduce NAAQS violations.11
         Although I agree that imposing this condition is a beneficial step to take, I cannot
         conclude that it will be sufficient to reduce cumulative air emissions to an insignificant
         level because the condition itself is vague12 and we have had no public comment on
         whether it will be effective or what additional mitigation may be needed. The Order also
         finds that cumulative visual impacts associated with the Rio Grande Terminal “would be


         § 380.1.
                9
                  CEQ’s regulations provide that an agency “shall prepare, publish, and file a
         supplement to a[n EIS] . . . as a draft and final statement.” 40 C.F.R. § 1502.9(3).
         Although the regulation does not say so explicitly, the only purpose for publishing a draft
         would be for the public to comment on it. Consistent with the regulation, the
         Commission has provided for public comment on draft supplemental EIS’s. See, e.g.,
         Magnolia LNC, LLC; Notice of Availability of the Draft Environmental Impact Statement
         for the Proposed Magnolia Production Capacity Amendment, 84 Fed. Reg. 52,881 (Oct.
         3, 2019); Florida Southeast Connection, LLC; Transcontinental Gas Pipe Line Company,
         LLC; Sabal Trail Transmission, LLC; Notice of Availability of the Draft Supplemental
         Environmental Impact Statement for the Southeast Market Pipelines Project, 82 Fed.
         Reg. 16,233 (Oct. 4, 2017).
                10
                     Order at PP 139, 141.
                11
                     Id. at PP 141-42.
                12
                   The new condition describes the basic components of the monitoring and
         mitigation plan that Rio Grande must file for approval, but it leaves it to the company to
         flesh out the specific monitoring protocol and corrective actions to be employed. In
         particular, the condition does not say what Rio Grande must do in response to a NAAQS
         exceedance or how quickly it must do it. See Order, App. A, Condition 144.
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         potentially significant.”13 However, it imposes no new mitigation measures to minimize
         those impacts. These findings in the Order themselves indicate a supplemental EIS is
         necessary.

                 The need for a supplemental EIS does not hinge on a definitive finding that
         environmental impacts will be significant. To the contrary, NEPA requires that an
         agency prepare an EIS where there “might” be “any” significant environmental impacts.14
         Moreover, “the decision whether to prepare a supplemental EIS is similar to the decision
         whether to prepare an EIS in the first instance.”15 Since the Commission has determined
         that there may be significant air pollution and visual impacts associated with the Rio
         Grande Terminal, it was required to prepare a supplemental EIS.

                The procedures employed here run counter to NEPA’s fundamental purposes. As
         the Supreme Court has explained, the statute’s EIS requirement “ensures that the agency,
         in reaching its decision, will have available, and will carefully consider, detailed
         information concerning significant environmental impacts.”16 NEPA’s public
         participation requirements ensure that “relevant information will be made available to the
         larger audience that may also play a role in both the decisionmaking process and the
         implementation of that decision.”17 Publishing an EIS “provides a springboard for public
         comment.”18 By failing to issue a supplemental EIS for public comment prior to today’s

                13
                     Id. at P 163 (emphasis added).
                14
                  Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1039
         (D.C. Cir. 2021) (quoting Grand Canyon Tr. v. FAA, 290 F.3d 339, 340 (D.C. Cir.
         2002)); see also Sierra Club v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983).
                15
                 Stand Up for California! v. U.S. Dep’t of the Interior, 994 F.3d 616, 628 (D.C.
        Cir. 2021) (quoting Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 374 (1989)) (internal
        quotation marks omitted).
                16
                     Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
         (emphasis added); see also Marsh, 490 U.S. at 371 (“[B]y focusing Government and
         public attention on the environmental effects of proposed agency action . . . NEPA
         ensures that the agency will not act on incomplete information, only to regret its decision
         after it is too late to correct.”) (internal citations omitted); 40 C.F.R. § 1500.1(a) (“The
         purpose and function of NEPA is satisfied if Federal agencies have considered relevant
         environmental information, and the public has been informed regarding the decision-
         making process.”).
                17
                     Robertson, 490 U.S. at 349.
                18
                     Id.
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         Order, the Commission deprived the public of any meaningful opportunity to participate.
         That, in turn, prevented the Commission from reflecting in its decision today essential
         information the public generally and affected EJ communities otherwise could have
         provided on the Commission’s new environmental and safety analyses.

                 Embedding the Commission’s new environmental and safety analyses in the Order
         and its appendices is no substitute for the public notice and comment process under
         NEPA. The Commission does not send out notices of its orders to the mailing list
         compiled for purposes of the original EIS process. And it certainly does not send targeted
         notices to members of newly identified EJ communities. Consequently, the hundreds of
         EJ communities potentially impacted by the Rio Grande LNG Terminal and Rio Bravo
         Pipeline projects have no practical way of even discovering that they are within the
         projects’ potential impact zone.

                 Failing to allow meaningful public participation is not just some technical error.
         Rather, public input provides the foundation for an agency’s substantive decisions. The
         procedures used here not only violated NEPA, but also undermined the Commission’s
         ability to engage in reasoned decision-making, as it is required to do under the
         Administrative Procedure Act (APA).19 That is because the Commission does not have a
         complete record reflecting input from the hundreds of newly identified EJ communities,
         or from the public generally, on the new environmental and safety analyses.

                Even if the Commission were not legally required to issue a supplemental EIS for
         public comment, doing so would be the right way to implement the applicable Executive
         Orders (EOs) and guidance on EJ.20 These documents call for identification, analysis,
         and mitigation of impacts on EJ communities. Where agencies have identified potentially


               19
                  5 U.S.C. § 706(2)(A); see also Motor Vehicle Mfrs. Ass’n of the U.S. v. State
         Farm Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983) (requiring that an agency’s explanation
         be a “product of reasoned decisionmaking” under the APA); Vecinos, 6 F.4th at 1330
         (“[A] petitioner may challenge an agency’s environmental justice analysis as arbitrary
         and capricious under NEPA and the APA.”); Coliseum Square Ass’n v. Jackson, 465 F.3d
         215, 232 (5th Cir. 2006) (finding an agency’s environmental justice considerations
         reviewable under the “arbitrary and capricious” standard of the APA).
               20
                 The Commission states that it complies with the relevant EOs and guidance.
         See Order at PP 103-04; see generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (1994)
         (1994 EJ EO); Presidential Memorandum, Executive Order on Federal Actions to
         Address Environmental Justice in Minority Populations and Low-income Populations, 1
         Pub. Papers 241 (Feb. 11, 1994) (1994 EJ Memo); Federal Interagency Working Group
         on Environmental Justice and NEPA Committee, Promising Practices for EJ
         Methodologies in NEPA Reviews (2016) (Promising Practices Guidance).
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         affected minority and/or low income communities, the identification “should trigger” an
         “enhanced outreach effort to assure that low-income and minority populations are
         engaged in public participation.”21 Section 5-5 of the 1994 EJ EO states that agencies
         “shall work to ensure that public documents, notices, and hearings relating to human
         health or the environment are concise, understandable, and readily accessible to the
         public.”22 Furthermore, the 1997 CEQ Guidance specifically instructs that agencies
         “should develop effective public participation strategies” and “overcome linguistic,
         cultural, institutional, geographic, and other barriers to meaningful participation.”23 The
         sad fact is that the Commission has made no effort to inform potentially affected EJ
         communities of its new environmental and safety analyses, let alone make the analyses
         “readily accessible” to them. Rather than implementing an “effective public participation
         strategy,” the Commission has shut the door on public participation by embedding its
         new analyses in the Order.

               I am particularly troubled that neither the general public nor the newly identified
         EJ communities will have a meaningful opportunity to comment on the Commission’s
         new air monitoring and mitigation condition or other potential mitigation measures.
         CEQ’s guidance on EJ specifically instructs that “members of the affected communities
         should be consulted” when an agency is “identifying and developing potential mitigation
         measures to address environmental justice concerns.”24

                To give credit where it is due, the Commission did provide an opportunity for
         comment on the project sponsors’ responses to certain of Commission staff’s
         environmental information requests (EIRs).25 However, there was no opportunity to
         comment on critical air modeling information used in the Commission staff’s cumulative
         air impacts analysis because that information was submitted after the comment period
         closed.26 The necessity for, and value of, allowing public comment on the new analyses

                21
                 Council on Envtl. Quality, Guidance for Incorporating Environmental Justice
         Concerns in EPA’s NEPA Compliance Analysis 28 (1998) (1998 CEQ Guidance).
                22
                  1994 EJ EO § 5-5(c) (emphasis added); see also 1994 EJ EO § 5-5(b) (stating
         that meeting this public accessibility standard may require, “whenever practicable and
         appropriate,” “translat[ing] crucial public documents, notices, and hearings related to
         human health or the environment for limited English speaking populations”).
                23
                  CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 9 (1997) (1997 CEQ Guidance) (emphasis added).
                24
                     1998 CEQ Guidance at 36.
                25
                     See Order at P 83.
                26
                     See id. at P 87 (“[O]n January 20 and 27, 2023, Rio Grande submitted additional
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         is evinced by the fact that Vecinos para el Bienestar de la Comunidad Costera and Sierra
         Club submitted a joint comment letter identifying discrepancies in Texas LNG’s and Rio
         Grande LNG’s cumulative air impacts modeling that led staff to direct the companies to
         reconcile their analyses and submit new cumulative air impact modeling.27

                At the Commission’s March 29, 2023, Roundtable on Environmental Justice and
         Equity in Infrastructure Permitting, all Commissioners acknowledged the importance of
         appropriately addressing EJ concerns in our proceedings. In this of all cases, where the
         D.C. Circuit remanded our inadequate EJ analysis, we should translate our good
         intentions into action and provide EJ communities a meaningful opportunity to
         participate. Considering our discussion at the Roundtable of how to facilitate EJ
         communities’ full participation, it is especially disheartening that the Order rejects
         requests to hold public meetings, with Spanish translation, to hear communities’ concerns
         about the projects and our new analyses.28

                 I am sensitive to the comments in the record, from project sponsors and others,
         that the Commission has unduly delayed its response to the court’s remand in Vecinos
         and that the delay may postpone benefits the projects offer, including local employment
         opportunities. More generally, I desire to efficiently process applications for approval of
         natural gas and LNG projects, as well as the Commission’s response to any court
         directives relating to project approvals. No member of the current Commission had
         control over the process for, or timing of, the Commission’s response to the Vecinos
         court’s remand. The question now is what to do with the hand we have been dealt.
         Taking procedural shortcuts is the wrong answer. In failing to meet its statutory and
         regulatory obligations, the Commission invites litigation challenging the Order,
         potentially leading to further delay. For the sake of all stakeholders, including project
         sponsors and communities impacted by our decisions, we must do better.

                 Finally, I dissent from the Commission’s explanation of why it cannot determine
         the significance of GHG emissions associated with the Rio Grande LNG Terminal and
         Rio Bravo Pipeline.29 This section of the Order could be interpreted as the Commission’s
         definitive conclusion that the Social Cost of GHGs protocol is inherently unsuitable for
         determining the significance of GHG emissions associated with natural gas and LNG

         information regarding the air modeling discrepancies."), P 83 (“[I]nitial comments were
         due no later than October 21, 2022, and reply comments not later than November 4,
         2022.”).
                27
                     See id. at PP 87, 137.
                28
                     See id. at P 85.
                29
                     See id. at PP 92-93, 101.
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         infrastructure projects. Moreover, the Order suggests that there is no other “currently
         scientifically accepted method that would enable the Commission to determine the
         significance of reasonably foreseeable GHG emissions.”30 In other recent certificate
         orders, the Commission has explained that it is not determining the significance of GHG
         emissions because the issue of how to do so is under consideration in the docket for the
         Commission’s draft GHG Policy Statement.31 This Order does not say that. Readers
         therefore might wonder whether this Order has effectively decided some of the central
         issues raised in the GHG Policy Statement docket.32

                 I do not know whether the Social Cost of GHGs protocol or another tool can or
         should be used to determine significance. That is because the Commission has not
         seriously studied the answer to that question. The majority has simply decided the
         method does not work, with no explanation of why the Commission departs from the
         approach so recently taken in other certificate orders.33 We have yet to address the
         voluminous record in the GHG Policy Statement docket, including comments that speak
         to this question. What I do know is that we should decide the important unresolved
         issues relating to our assessment of GHG emissions through careful deliberation in a
         generic proceeding with full transparency.

               For the foregoing reasons, I respectfully dissent.



         ________________________
         Allison Clements
         Commissioner




               30
                    Id. at P 93.
               31
                  See, e.g., Transcon. Gas Pipe Line Co., 182 FERC ¶ 61,006, at P 73 & n.174
         (2023); Columbia Gas Transmission, LLC, 182 FERC ¶ 61,171, at P 46 & n.93 (2023).
               32
                    See Docket No. PL21-3.
               33
                  To depart from prior precedent without explanation violates the Administrative
         Procedure Act. See, e.g., West Deptford Energy, LLC v. FERC, 766 F.3d 10, 17 (D.C.
         Cir. 2014) (“[T]he Commission cannot depart from [prior] rulings without providing a
         reasoned analysis.”) (citations omitted).
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